    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 1 of 153 PageID 1


                              UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF TEXAS

                                       DALLAS DIVISION

  ALYSON BOTTONI, Derivatively on     )               Case No.
  Behalf of FLUOR CORPORATION,        )
                                      )
                    Plaintiff,        )               VERIFIED STOCKHOLDER
        v.                            )               DERIVATIVE COMPLAINT FOR
                                      )               VIOLATION OF SECURITIES LAW,
  CARLOS M. HERNANDEZ,                )               BREACH OF FIDUCIARY DUTY,
  D. MICHAEL STEUERT, ROBIN K.        )               WASTE OF CORPORATE ASSETS,
  CHOPRA, MATTHEW J. MCSORLEY,        )               UNJUST ENRICHMENT, AND TO
                                      )               COMPEL AN ANNUAL MEETING OF
  PETER J. FLUOR, ALAN L.             )               STOCKHOLDERS
  BOECKMANN, PETER K. BARKER,         )
  ROSEMARY T. BERKERY, ALAN M.        )
  BENNETT, ARMANDO J. OLIVERA,        )
  DEBORAH D. MCWHINNEY,               )
  MATTHEW K. ROSE, JAMES T.           )
  HACKETT, DAVID E. CONSTABLE,        )
                                      )
  THOMAS C. LEPPERT, DAVID T.         )
  SEATON, BRUCE A. STANSKI, BIGGS )
  C. PORTER, GARY G. SMALLEY,         )
  NADER H. SULTAN, LYNN C. SWANN, )
  SAMUEL J. LOCKLEAR III, and         )
  JOSEPH W. PRUEHER,                  )
                                      )
                    Defendants,       )
                                      )
        -and-                         )
                                      )
  FLUOR CORPORATION, a Delaware       )
  Corporation,                        )
                                      )
                   Nominal Defendant. )
                                      )               DEMAND FOR JURY TRIAL

       Plaintiff, by her attorneys, submits this Verified Stockholder Derivative Complaint for

Violation of Securities Law, Breach of Fiduciary Duty, Waste of Corporate Assets, Unjust

Enrichment, and to Compel an Annual Meeting of Stockholders. Plaintiff alleges the following

on information and belief, except as to the allegations specifically pertaining to plaintiff which are

based on personal knowledge. This complaint is also based on the investigation of plaintiff's



                                                -1-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 2 of 153 PageID 2



counsel, which included, among other things, a review of public filings with the U.S. Securities

and Exchange Commission ("SEC") and a review of news reports, press releases, and other

publicly available sources.

                        NATURE AND SUMMARY OF THE ACTION

       1.      This is a stockholder derivative action brought by plaintiff on behalf of nominal

defendant Fluor Corporation ("Fluor" or the "Company") against certain of its officers and

directors for violation of securities law, breach of fiduciary duty, waste of corporate assets, unjust

enrichment, and to compel an Annual Meeting of Stockholders. These wrongs resulted in billions

of dollars in damages to Fluor's reputation, goodwill, and standing in the business community.

Moreover, these actions have exposed Fluor to billions of dollars in potential liability for violations

of state and federal law.

       2.      Fluor is one of the largest engineering and construction companies in the United

States. Through its subsidiaries, the Company designs, constructs, and maintains large-scale

projects in a variety of industries for public and private clients, both domestic and foreign. As a

contractor, Fluor submits bids while competing with other contractors in hopes of winning project

awards. In a fixed-price, lump-sum setting, Fluor submits bids for a set price that includes the

estimated costs to complete the underlying project. If awarded, Fluor's compensation is capped at

that set price. Fixed-price contracts are inherently risky because, unlike reimbursable contracts,

the Company cannot recover project costs that exceed the estimated costs in the underlying bid.

These fixed-price, lump-sum contracts are vital to the Company, as they represent nearly half of

Fluor's business.

       3.      Estimating project costs with accuracy was imperative to the Company's

operational viability and compliance with applicable law and regulation. Specifically, without




                                                 -2-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 3 of 153 PageID 3



being able to actually estimate project costs, the Company will not know how much it can bid and

still make a profit. Further, U.S. Generally Accepted Accounting Principles ("GAAP") required

Fluor to estimate the costs to complete a project with a high degree of precision, and reassess and

update those costs on an ongoing basis, at least every quarter.

       4.      Despite the importance of cost estimations and their associated risks, however, from

2012 to at least 2018, the Individual Defendants (as defined herein) directed or permitted the

Company to systematically submit fixed-price bids with underestimated costs in order to win

awards and secure lucrative executive bonuses. Then, these fiduciaries made or caused Fluor to

make a series of improper statements that hid these actions. Specifically, from August 14, 2013

to February 14, 2018, the period of wrongdoing, the Individual Defendants represented that Fluor

was executing its projects in-line with expectations due to its "conservative" and "selective"

bidding practices, that its internal controls over financial reporting were effective, and that its

reported earnings complied with GAAP. When the Company was forced to take charges on certain

of its fixed-price projects in order to bring its aggressive bids and inflated profitability closer to

reality, the Individual Defendants assured stockholders that they had identified and resolved any

existing issues regarding cost estimation, concealing the drastic extent of the underestimation and

bidding issues for as long as possible.

       5.      The damage stemming from Fluor's improper bidding practices first started to

appear through a series of incremental charges on four gas-fired power plants—the Brunswick

County Plant, the Greensville County Plant, the Anderson County Plant, and the Citrus County

Plant (all as defined herein, and collectively, the "Gas-Fired Plants"). On May 3, 2018, Fluor

announced that its financial results had been adversely impacted by a $125 million charge relating

to "forecast revisions" on one of its Gas-Fired Plants, and that it was in the process of exiting the




                                                -3-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 4 of 153 PageID 4



gas-fired power plant market. The Individual Defendants also admitted there were "fatal flaws in

the bidding process of all [the Gas-Fired Plants]" and that "estimating [was] materially different

than the original baseline expectations." On this news, Fluor's market capitalization fell more than

22%, or $13.23 per share on May 4, 2018, to close at $45.76 per share, compared to the previous

day's closing of $58.99 per share, erasing $1.8 billion in market capitalization in a single day. The

fallout would have been worse if stockholders had known the full truth.

       6.      The Individual Defendants prevented these revelations from fully coming to light

by representing there would be no further charges on the Gas-Fired Plants, claiming that those

projects have been "de-risked," that there were no problems at any of its other fixed-price projects,

and that its internal controls were effective.

       7.      To minimize the damaging impact on the Company's earnings resulting from the

Gas-Fired Plants charges, Fluor artificially inflated its financial results by improperly recognizing

claim revenue. This claim revenue was generated through change forms requesting additional

funds from the Company's fixed-price clients that the clients were not contractually obligated to

pay. Without any reasonable basis to conclude the client's approval of the request was probable,

Fluor would improperly record the claim as revenue in violation of GAAP, resulting in inflated

financial statements and subsequently forcing the Company to take charges on certain "unapproved

change orders."

       8.      On October 10, 2018, Fluor announced an additional $35 million charge resulting

from forecast revisions on the Citrus County Plant, breaking the promise that there would be no

further charges on the Gas-Fired Plants. On this news, Fluor's market capitalization fell more than

17%, or $9.69 per share on October 11, 2018, to close at $46.53 per share, compared to the previous

day's closing of $56.22 per share, erasing $1.3 billion in market capitalization in a single day. The




                                                 -4-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 5 of 153 PageID 5



Individual Defendants, however, continued to conceal the additional charges on its fixed-price

projects, including the Gas-Fired Plants, while also inflating the Company's financial statements

and claiming that its internal controls were effective.

       9.      Then on May 2, 2019, Fluor announced the abrupt resignation of its Chief

Executive Officer ("CEO"), defendant David T. Seaton ("Seaton"), as it further disclosed yet

another $26 million charge on a Gas-Fired Plant, as well as a $53 million charge resulting from

"forecast revisions" on a non-Gas-Fired Plant fixed-price project. While the Individual Defendants

remained tight-lipped on the full extent of the remaining issues and even promised improvement

in the following months, Fluor's market capitalization fell more than 24%, or $9.43 per share on

May 2, 2019, to close at $39.72 per share, compared to the previous day's closing of $39.15 per

share, erasing $1.3 billion in market capitalization in a single day.

       10.     On August 1, 2019, Fluor revealed $714 million in charges related to several fixed-

price projects throughout its business segments. On the same day, the Individual Defendants

admitted "there are a few significant and common issues in many of our challenged projects."

However, they continued to conceal the full extent of the issues in its fixed-price projects and the

problems in its internal controls. On this news, Fluor's market capitalization fell by more than

26%, or $8.24 per share on August 2, 2019, to close at $22.67 per share, compared to the previous

day's closing of $30.91 per share, erasing $1.1 billion in market capitalization in a single day.

       11.     The truth fully emerged on February 18, 2020, when Fluor announced that the SEC

had launched a probe into its past accounting practices, financial reporting, and charges.

Additionally, Fluor announced that it was conducting its own internal review of its previous

financial reports and internal controls while revealing that there may be material errors in its

financial statements. The press release further stated that, "[g]iven the ongoing internal review




                                                -5-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 6 of 153 PageID 6



and recent developments on two projects, the Company does not expect to complete and file its

annual report on Form 10-K prior to the end of February." On this news, Fluor's market

capitalization plunged more than 24%, or $4.75 per share, on February 18, 2020, to close at $14.79

per share, compared to the previous trading day's closing of $19.54 per share, erasing $655.8

million in market capitalization in a single day.

          12.   In total, the Company's stock price plummeted by 80%, from its January 2014 high

of $83.65 per share to its December 2019 low of $16.10 per share. On March 18, 2020, the

Company's stock price sunk to a low of just $3.40 per share, representing an evaporation of 95%,

or $13.1 billion in Fluor's market capitalization since January 2014.

          13.   Before the full truth was revealed, between November 2013 and November 2018,

while the Company's stock price was inflated due to the improper statements, Fluor repurchased

27.3 million shares of its own common stock. This repurchase of inflated stock cost the Company

over $1.6 billion.

          14.   While the wrongdoing detailed herein has devastated Fluor's credibility and caused

the Company to incur substantial damages, defendants did not fare nearly as poorly. Certain of

the Individual Defendants unlawfully reaped over $43 million from selling their personally held

Company stock based on material, nonpublic information, while it traded at artificially inflated

prices.     In addition, the Individual Defendants received millions of dollars in executive

compensation and directors' fees not justified by Fluor's actual performance while under their

stewardship. Indeed, certain Officer Defendants (as defined herein) collectively pocked tens of

millions dollars in bonus compensation directly linked to Fluor's underbids and damaging contract

awards.




                                                -6-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 7 of 153 PageID 7



       15.     Since the emergence of the full truth, investor confidence has only been further

ruined, as Fluor still has not filed its Annual Report for 2019. In addition, on May 8, 2020, Fluor

disclosed that it had received a subpoena from the U.S. Department of Justice ("DOJ") seeking

information relating to its charges and accounting practices.

       16.     In addition to the SEC and DOJ investigations, the Individual Defendants' unlawful

course of conduct has also caused Fluor to become the subject of at least two federal securities

class action lawsuits filed in the U.S. District Court for the Northern District of Texas (the

"Securities Class Actions").

       17.     Further, the Company has not held an Annual Meeting of Stockholders since May

2, 2019, thirteen months ago. Defendants' failure to hold such a meeting is a violation of title 8,

section 211 of the Delaware General Corporation Law Code ("Section 211"). Due to this failure,

the Company's stockholders have not received updates directly from Fluor's Board of Directors

(the "Board") and they have been unable to voice their frustrations at an annual meeting or

withhold their votes for these faithless fiduciaries.

       18.     Plaintiff brings this action to hold the Individual Defendants accountable for their

wrongdoing, force the annual stockholder meeting, and correct the other wrongs these defendants

wrought.

                                 JURISDICTION AND VENUE

       19.     Pursuant to 28 U.S.C. §1331 and section 27 of the Securities Exchange Act of 1934

(the "Exchange Act"), this Court has jurisdiction over the claim asserted herein for violations of

section 10(b) of the Exchange Act and SEC Rule 10b-5 promulgated thereunder. This Court has

supplemental jurisdiction over the remaining claims under 28 U.S.C. §1367. Jurisdiction is also




                                                 -7-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 8 of 153 PageID 8



conferred by 28 U.S.C. §1332. Complete diversity among the parties exists and the amount in

controversy exceeds $75,000, exclusive of interests and costs.

        20.     This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in this District,

or is an individual who has sufficient minimum contacts with this District to render the exercise

of jurisdiction by the District courts permissible under traditional notions of fair play and

substantial justice.

        21.     Venue is proper in this Court in accordance with 28 U.S.C. §1391 because:

(i) Fluor maintains its principal place of business in this District; (ii) one or more of the defendants

either resides in or maintains executive offices in this District; (iii) a substantial portion of the

transactions and wrongs complained of herein, including the defendants' primary participation in

the wrongful acts detailed herein, and aiding and abetting and conspiracy in violation of fiduciary

duties owed to Fluor, occurred in this District; and (iv) defendants have received substantial

compensation in this District by doing business here and engaging in numerous activities that had

an effect in this District.

                                           THE PARTIES

Plaintiff

        22.     Plaintiff Alyson Bottoni was a stockholder of Fluor at the time of the wrongdoing

complained of, has continuously been a stockholder since that time, and is a current Fluor

stockholder. Plaintiff is a citizen of New Jersey.

Nominal Defendant

        23.     Nominal defendant Fluor is a Delaware corporation with principal executive offices

located at 6700 Las Colinas Boulevard, Irving, Texas. Accordingly, Fluor is a citizen of Delaware




                                                 -8-
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 9 of 153 PageID 9



and Texas. Fluor is a holding company that owns the stock of a number of subsidiaries, as well as

interests in joint ventures.   Through its subsidiaries, the Company provides engineering,

procurement, construction, fabrication and modularization, operations, maintenance and asset

integrity, and project management services.      As of December 31, 2018, Fluor had 53,349

employees.

Defendants

       24.     Defendant Carlos M. Hernandez ("Hernandez) is Fluor's CEO and a director and

has been since May 2019. Defendant Hernandez was also Fluor's Interim CEO in May 2019;

Executive Vice President, Chief Legal Officer and Secretary from at least March 2014 to May

2019; and Senior Vice President, Chief Legal Officer and Secretary from October 2007 to at least

February 2014. Defendant Hernandez is named as a defendant in the Securities Class Actions that

allege he violated sections 10(b) and 20(a) of the Exchange Act. Defendant Hernandez knowingly,

reckless, or with gross negligence caused or allowed Fluor to: (i) operate with inadequate internal

controls; (ii) systematically underestimate project costs in order to win contract awards that were

directly linked to executive compensation; (iii) violate GAAP by failing to adequately estimate

and update project costs and by improperly recognizing claim revenue; (iv) overstate the

Company's earnings; (v) make improper statements in the Company's press releases and public

filings concerning the Company's business, operations, and future prospects; (vi) repurchase the

Company's stock at artificially inflated prices; and (vii) pay excessive compensation to the

Individual Defendants who breached their fiduciary duties to the Company. While in possession

of material, nonpublic information concerning Fluor's true business health, defendant Hernandez

sold 44,054 shares of his personally held Fluor stock for proceeds of $2,893,912. Fluor paid

defendant Hernandez the following compensation as an executive:




                                               -9-
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 10 of 153 PageID 10



                                                   Non-Equity
                        Stock       Option       Incentive Plan       All Other
 Year    Salary        Awards       Awards       Compensation       Compensation        Total
 2018   $651,346      $2,942,476      -             $334,200          $124,827       $4,052,849
 2017   $630,032      $1,588,728   $643,788         $278,500          $117,117       $3,258,165
 2016   $630,032      $1,533,437      -             $380,300          $120,558       $2,664,327
 2015   $650,724      $1,474,183   $726,046         $562,300          $116,370       $3,529,623
 2014   $607,084      $1,340,212   $660,062         $613,500          $109,373       $3,336,578
 2013   $582,632      $1,000,099   $499,990         $559,800          $102,811       $2,745,332

Defendant Hernandez is a citizen of Texas.

        25.    Defendant D. Michael Steuert ("Steuert") is Fluor's Executive Vice President and

Chief Financial Officer ("CFO") and has been since June 2019. Defendant Steuert was also Fluor's

Senior Vice President and CFO from May 2001 to May 2012. Defendant Steuert is named as a

defendant in the Securities Class Actions that allege he violated sections 10(b) and 20(a) of the

Exchange Act. Defendant Steuert knowingly, reckless, or with gross negligence caused or allowed

Fluor to: (i) operate with inadequate internal controls; (ii) violate GAAP by failing to adequately

estimate and update project costs and by improperly recognizing claim revenue; (iii) overstate the

Company's earnings; (iv) make improper statements in the Company's press releases and public

filings concerning the Company's business, operations, and future prospects; (v) repurchase the

Company's stock at artificially inflated prices; and (vi) pay excessive compensation to the

Individual Defendants who breached their fiduciary duties to the Company. Defendant Steuert is

a citizen of Texas.

        26.    Defendant Robin K. Chopra ("Chopra") is Fluor's Senior Vice President, Principal

Accounting Officer and Controller and has been since March 2016. Defendant Chopra was also

Fluor's Vice President and Controller, Commercial Operations and Controller, Asia Pacific from

September 2014 to February 2016; Vice President, Internal Audit from March 2008 to August

2014; and held various other positions within the Company from 1991 to March 2008. Defendant




                                              - 10 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 11 of 153 PageID 11



Chopra is named as a defendant in the Securities Class Actions that allege he violated sections

10(b) and 20(a) of the Exchange Act. Defendant Chopra knowingly, recklessly, or with gross

negligence caused or allowed Fluor to: (i) operate with inadequate internal controls; (ii)

systematically underestimate project costs in order to win contract awards that were directly linked

to executive compensation; (iii) violate GAAP by failing to adequately estimate and update project

costs and by improperly recognizing claim revenue; (iv) overstate the Company's earnings; (v)

make improper statements in the Company's press releases and public filings concerning the

Company's business, operations, and future prospects; (vi) repurchase the Company's stock at

artificially inflated prices; and (vii) pay excessive compensation to the Individual Defendants who

breached their fiduciary duties to the Company. While in possession of material, nonpublic

information concerning Fluor's true business health, defendant Chopra sold 11,242 shares of his

personally held Fluor stock for proceeds of $640,506. Upon information and belief, defendant

Chopra is a citizen of Texas.

       27.     Defendant Matthew J. McSorley ("McSorley") is Fluor's Executive Vice President,

Project Support Services and has been since February 2018. Defendant McSorley was also Fluor's

Group President, Project Support Services from August 2017 to February 2018; Senior Vice

President, Execution & Resources from 2015 to 2017; President, Power Business Line from 2013

to 2015; and held various other positions within the Company from 1991 to 2013. Defendant

McSorley is named as a defendant in a related securities class action complaint that alleges he

violated sections 10(b) and 20(a) of the Exchange Act.           Defendant McSorley knowingly,

recklessly, or with gross negligence caused or allowed Fluor to: (i) operate with inadequate internal

controls; (ii) systematically underestimate project costs in order to win contract awards that were

directly linked to executive compensation; (iii) violate GAAP by failing to adequately estimate




                                               - 11 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 12 of 153 PageID 12



and update project costs and by improperly recognizing claim revenue; (iv) overstate the

Company's earnings; (v) make improper statements in the Company's press releases and public

filings concerning the Company's business, operations, and future prospects; (vi) repurchase the

Company's stock at artificially inflated prices; and (vii) pay excessive compensation to the

Individual Defendants who breached their fiduciary duties to the Company. Defendant McSorley

is a citizen of Texas.

        28.       Defendant Peter J. Fluor ("P. Fluor") is Fluor's Lead Independent Director and has

been since February 2003 and a director and has been since 1984. Defendant P. Fluor was also

Fluor's Non-Executive Chairman of the Board from January 1998 to July 1998. Defendant P.

Fluor knowingly, in bad faith, or in conscious disregard for his duties caused or allowed the

Company to: (i) operate with inadequate internal controls; (ii) systematically underestimate project

costs in order to win contract awards that were directly linked to executive compensation; (iii)

violate GAAP by failing to adequately estimate and update project costs and by improperly

recognizing claim revenue; (iv) overstate the Company's earnings; (v) make improper statements

in the Company's press releases and public filings concerning the Company's business, operations,

and future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii)

pay excessive compensation to the Individual Defendants who breached their fiduciary duties to

the Company. The Company paid defendant P. Fluor the following compensation as a director:

         Fiscal          Fees Earned or                         All Other
          Year            Paid in Cash      Stock Awards      Compensation          Total
         2018               $175,000          $155,046            $140            $330,186
         2017               $165,000          $167,537            $140            $332,677
         2016               $160,000          $150,042           $5,140           $315,182
         2015               $160,000          $135,014            $153            $295,167
         2014               $160,000          $135,066           $1,153           $296,219
         2013               $160,000          $135,008           $6,623           $301,631

Defendant P. Fluor is a citizen of Texas.



                                                - 12 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 13 of 153 PageID 13



       29.     Defendant Alan L. Boeckmann ("Boeckmann") is Fluor's Chairman of the Board

and a director and has been since May 2019. Defendant Boeckmann was also Fluor's Non-

Executive Chairman of the Board from February 2011 to February 2012; a director from March

2001 to February 2012; Chairman and CEO from February 2002 to February 2011; President and

Chief Operating Officer from February 2001 to February 2002; President and CEO of Fluor

Daniel, a wholly owned subsidiary of the Company from March 1999 to February 2001; Group

President, Energy and Chemicals from 1996 to March 1999; President, Plastics and Fibers from

1994 to 1996; and held various other positions within the Company from 1979 to 1996 and from

1974 to 1977. Defendant Boeckmann knowingly, in bad faith, or in conscious disregard for his

duties caused or allowed Fluor to: (i) operate with inadequate internal controls; (ii) systematically

underestimate project costs in order to win contract awards that were directly linked to executive

compensation; (iii) violate GAAP by failing to adequately estimate and update project costs and

by improperly recognizing claim revenue; (iv) overstate the Company's earnings; (v) make

improper statements in the Company's press releases and public filings concerning the Company's

business, operations, and future prospects; (vi) repurchase the Company's stock at artificially

inflated prices; and (vii) pay excessive compensation to the Individual Defendants who breached

their fiduciary duties to the Company. Defendant Boeckmann is a citizen of Texas.

       30.     Defendant Peter K. Barker ("Barker") is a Fluor director and has been since June

2007. Defendant Barker is a member of the Company's Audit Committee and has been since at

least March 2013, and was the Chair of that committee from at least March 2016 to at least March

2019. Defendant Barker knowingly, in bad faith, or in conscious disregard for his duties caused

or allowed Fluor to: (i) operate with inadequate internal controls; (ii) systematically underestimate

project costs in order to win contract awards that were directly linked to executive compensation;




                                               - 13 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 14 of 153 PageID 14



(iii) violate GAAP by failing to adequately estimate and update project costs and by improperly

recognizing claim revenue; (iv) overstate the Company's earnings; (v) make improper statements

in the Company's press releases and public filings concerning the Company's business, operations,

and future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and

(vii) pay excessive compensation to the Individual Defendants who breached their fiduciary duties

to the Company. Fluor paid defendant Barker the following compensation as a director:

        Fiscal        Fees Earned or                           All Other
         Year          Paid in Cash       Stock Awards       Compensation          Total
        2018             $145,000           $155,046            $5,140           $305,186
        2017             $140,000           $167,537            $5,140           $312,677
        2016             $135,000           $150,042            $5,140           $290,182
        2015             $130,000           $135,014            $5,153           $270,167
        2014             $115,000           $135,066            $5,153           $255,219
        2013             $115,000           $135,008           $23,199           $273,207
Defendant Barker is a citizen of California.

       31.       Defendant Rosemary T. Berkery ("Berkery") is a Fluor director and has been since

June 2010. Defendant Berkery is a member of the Company's Audit Committee and has been

since at least March 2020. Defendant Berkery knowingly, in bad faith, or in conscious disregard

for her duties caused or allowed Fluor to: (i) operate with inadequate internal controls; (ii)

systematically underestimate project costs in order to win contract awards that were directly linked

to executive compensation; (iii) violate GAAP by failing to adequately estimate and update project

costs and by improperly recognizing claim revenue; (iv) overstate the Company's earnings; (v)

make improper statements in the Company's press releases and public filings concerning the

Company's business, operations, and future prospects; (vi) repurchase the Company's stock at

artificially inflated prices; and (vii) pay excessive compensation to the Individual Defendants who

breached their fiduciary duties to the Company. Fluor paid defendant Berkery the following

compensation as a director:




                                               - 14 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 15 of 153 PageID 15



        Fiscal        Fees Earned or                           All Other
         Year          Paid in Cash       Stock Awards       Compensation          Total
        2018             $125,000           $155,046            $5,140           $285,186
        2017             $120,000           $167,537           $11,449           $298,986
        2016             $115,000           $150,042            $5,140           $270,182
        2015             $115,000           $135,014            $5,153           $255,167
        2014             $115,000           $135,066            $5,153           $255,219
        2013             $115,000           $135,008           $19,827           $269,835
Defendant Berkery is a citizen of New York.

       32.       Defendant Alan M. Bennett ("Bennett") is a Fluor director and has been since

November 2011. Defendant Bennett is Chair of the Company's Audit Committee and has been

since at least March 2020, and a member of that committee and has been since at least March 2013.

Defendant Bennett knowingly, in bad faith, or in conscious disregard for his duties caused or

allowed Fluor to: (i) operate with inadequate internal controls; (ii) systematically underestimate

project costs in order to win contract awards that were directly linked to executive compensation;

(iii) violate GAAP by failing to adequately estimate and update project costs and by improperly

recognizing claim revenue; (iv) overstate the Company's earnings; (v) make improper statements

in the Company's press releases and public filings concerning the Company's business, operations,

and future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii)

pay excessive compensation to the Individual Defendants who breached their fiduciary duties to

the Company. Fluor paid defendant Bennett the following compensation as a director:

        Fiscal        Fees Earned or                           All Other
         Year          Paid in Cash       Stock Awards       Compensation          Total
        2018             $140,000           $155,046            $7,460           $302,506
        2017             $135,000           $167,537            $7,510           $310,047
        2016             $130,000           $150,042            $5,140           $285,182
        2015             $130,000           $135,014            $5,153           $270,167
        2014             $126,250           $135,066            $5,153           $266,469
        2013             $115,000           $135,008            $5,153           $255,161
Defendant Bennett is a citizen of Connecticut.




                                               - 15 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 16 of 153 PageID 16



       33.        Defendant Armando J. Olivera ("Olivera") is a Fluor director and has been since

August 2012. Defendant Olivera is a member of the Company's Commercial Strategies and

Operational Risk Committee and has been since at least March 2020, and was a member of the

Audit Committee from at least March 2013 to at least March 2015. Defendant Olivera knowingly,

in bad faith, or in conscious disregard for his duties caused or allowed Fluor to: (i) operate with

inadequate internal controls; (ii) systematically underestimate project costs in order to win contract

awards that were directly linked to executive compensation; (iii) violate GAAP by failing to

adequately estimate and update project costs and by improperly recognizing claim revenue; (iv)

overstate the Company's earnings; (v) make improper statements in the Company's press releases

and public filings concerning the Company's business, operations, and future prospects; (vi)

repurchase the Company's stock at artificially inflated prices; and (vii) pay excessive compensation

to the Individual Defendants who breached their fiduciary duties to the Company. Fluor paid

defendant Olivera the following compensation as a director:

         Fiscal        Fees Earned or                           All Other
          Year          Paid in Cash         Stock Awards     Compensation           Total
         2018             $125,000             $155,046          $5,140            $285,186
         2017             $120,000             $167,537          $5,140            $292,677
         2016             $115,000             $150,042          $5,140            $270,182
         2015             $115,000             $135,014          $5,153            $255,167
         2014             $115,000             $135,066          $5,153            $255,219
         2013             $115,000             $135,008           $153             $250,161

Defendant Olivera is a citizen of Florida.

       34.        Defendant Deborah D. McWhinney ("McWhinney") is a Fluor director and has

been since February 2014.        Defendant McWhinney is a member of the Company's Audit

Committee and has been since at least March 2019, and was also a member of that committee from

at least February 2014 to at least March 2017. Defendant McWhinney knowingly, in bad faith, or

in conscious disregard for her duties caused or allowed Fluor to: (i) operate with inadequate



                                                - 16 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 17 of 153 PageID 17



internal controls; (ii) systematically underestimate project costs in order to win contract awards

that were directly linked to executive compensation; (iii) violate GAAP by failing to adequately

estimate and update project costs and by improperly recognizing claim revenue; (iv) overstate the

Company's earnings; (v) make improper statements in the Company's press releases and public

filings concerning the Company's business, operations, and future prospects; (vi) repurchase the

Company's stock at artificially inflated prices; and (vii) pay excessive compensation to the

Individual Defendants who breached their fiduciary duties to the Company. Fluor paid defendant

McWhinney the following compensation as a director:

        Fiscal        Fees Earned or                          All Other
         Year          Paid in Cash       Stock Awards      Compensation         Total
        2018             $125,000           $155,046           $5,140          $285,186
        2017             $120,000           $167,537           $5,140          $292,677
        2016             $115,000           $150,042           $5,140          $270,182
        2015             $115,000           $135,014           $5,153          $255,167
        2014             $115,000           $135,066            $140           $250,206

Defendant McWhinney is a citizen of New York.

       35.       Defendant Matthew K. Rose ("Rose") is a Fluor director and has been since April

2014. Defendant Rose is a member of the Company's Audit Committee and has been since April

2014. Defendant Rose knowingly, in bad faith, or in conscious disregard for his duties caused or

allowed Fluor to: (i) operate with inadequate internal controls; (ii) systematically underestimate

project costs in order to win contract awards that were directly linked to executive compensation;

(iii) violate GAAP by failing to adequately estimate and update project costs and by improperly

recognizing claim revenue; (iv) overstate the Company's earnings; (v) make improper statements

in the Company's press releases and public filings concerning the Company's business, operations,

and future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and

(vii) pay excessive compensation to the Individual Defendants who breached their fiduciary duties

to the Company. Fluor paid defendant Rose the following compensation as a director:


                                              - 17 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 18 of 153 PageID 18



        Fiscal        Fees Earned or                           All Other
         Year          Paid in Cash       Stock Awards       Compensation          Total
        2018             $125,000           $155,046             $140            $280,186
        2017             $120,000           $167,537            $5,140           $292,677
        2016             $115,000           $150,042             $140            $265,182
        2015             $115,000           $135,014             $153            $250,167
        2014              $86,250           $135,066            $5,102           $226,418

Defendant Rose is a citizen of Texas.

       36.       Defendant James T. Hackett ("Hackett") is a Fluor director and has been since

August 2016, and was previously a director from March 2001 to April 2015. Defendant Hackett

is a member of the Company's Commercial Strategies and Operational Risk Committee and has

been since at least March 2020. Defendant Hackett was also the Chair of the Company's Audit

Committee from at least March 2014 to April 2015, and a member of that committee from at least

March 2013 to April 2015. Defendant Hackett knowingly, in bad faith, or in conscious disregard

for his duties caused or allowed Fluor to: (i) operate with inadequate internal controls; (ii)

systematically underestimate project costs in order to win contract awards that were directly linked

to executive compensation; (iii) violate GAAP by failing to adequately estimate and update project

costs and by improperly recognizing claim revenue; (iv) overstate the Company's earnings; (v)

make improper statements in the Company's press releases and public filings concerning the

Company's business, operations, and future prospects; (vi) repurchase the Company's stock at

artificially inflated prices; and (vii) pay excessive compensation to the Individual Defendants who

breached their fiduciary duties to the Company. Fluor paid defendant Hackett the following

compensation as a director:

        Fiscal        Fees Earned or                           All Other
         Year          Paid in Cash       Stock Awards       Compensation          Total
        2018             $125,000           $155,046            $5,140           $285,186
        2017             $120,000           $167,537            $5,140           $292,677
        2016              $57,500               -               $3,809            $61,309
        2015              $67,500               -              $50,051           $117,551
        2014             $135,000           $135,066            $5,153           $275,219



                                               - 18 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 19 of 153 PageID 19



         2013           $130,000              $135,008             $153            $265,161

Defendant Hackett is a citizen of Texas.

       37.      Defendant David E. Constable ("Constable") is a Fluor director and has been since

September 2019. Defendant Constable is the Chair of the Company's Commercial Strategies and

Operational Risk Committee and has been since September 2019.                  Defendant Constable

knowingly, in bad faith, or in conscious disregard for his duties caused or allowed Fluor to: (i)

operate with inadequate internal controls; (ii) systematically underestimate project costs in order

to win contract awards that were directly linked to executive compensation; (iii) violate GAAP by

failing to adequately estimate and update project costs and by improperly recognizing claim

revenue; (iv) overstate the Company's earnings; (v) make improper statements in the Company's

press releases and public filings concerning the Company's business, operations, and future

prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii) pay

excessive compensation to the Individual Defendants who breached their fiduciary duties to the

Company. Defendant Constable is a citizen of Florida.

       38.      Defendant Thomas C. Leppert ("Leppert") is a Fluor director and has been since

September 2019. Defendant Leppert is a member of the Company's Commercial Strategies and

Operational Risk Committee and has been since September 2019, and was a member of the

Company's Audit Committee in at least September 2019. Defendant Leppert knowingly, in bad

faith, or in conscious disregard for his duties caused or allowed Fluor to: (i) operate with

inadequate internal controls; (ii) systematically underestimate project costs in order to win contract

awards that were directly linked to executive compensation; (iii) violate GAAP by failing to

adequately estimate and update project costs and by improperly recognizing claim revenue;

(iv) overstate the Company's earnings; (v) make improper statements in the Company's press

releases and public filings concerning the Company's business, operations, and future prospects;


                                                - 19 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 20 of 153 PageID 20



(vi) repurchase the Company's stock at artificially inflated prices; and (vii) pay excessive

compensation to the Individual Defendants who breached their fiduciary duties to the Company.

Defendant Leppert is a citizen of Texas.

       39.     Defendant Seaton was Fluor's Chairman of the Board from February 2012 to May

2019; CEO from February 2011 to May 2019; a director from February 2011 to May 2019; Chief

Operating Officer from November 2009 to February 2011; Senior Group President, Energy &

Chemicals, Power and Government from March 2009 to November 2009; Group President, Energy

& Chemicals from March 2007 to March 2009; Senior Vice President, Sales for Energy &

Chemicals from September 2005 to March 2007 and from March 2002 to October 2004; and Senior

Vice President, Chemical Business Line from October 2004 to September 2005; and held various

other positions within the Company from 1985 to March 2002. Defendant Seaton is named as a

defendant in the Securities Class Actions that allege he violated sections 10(b) and 20(a) of the

Exchange Act. Defendant Seaton knowingly, recklessly, or with gross negligence caused or

allowed Fluor to: (i) operate with inadequate internal controls; (ii) systematically underestimate

project costs in order to win contract awards that were directly linked to executive compensation;

(iii) violate GAAP by failing to adequately estimate and update project costs and by improperly

recognizing claim revenue; (iv) overstate the Company's earnings; (v) make improper statements

in the Company's press releases and public filings concerning the Company's business, operations,

and future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii)

pay excessive compensation to the Individual Defendants who breached their fiduciary duties to

the Company. While in possession of material, nonpublic information concerning Fluor's true

business health, defendant Seaton sold 471,745 shares of his personally held Fluor stock for




                                               - 20 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 21 of 153 PageID 21



proceeds of $30,968,576.01. Fluor paid defendant Seaton the following compensation as an

executive:

                                                       Non-Equity
                       Stock         Option          Incentive Plan     All Other
 Year     Salary      Awards        Awards           Compensation     Compensation       Total
 2018   $1,328,029   $9,606,359     $500,016            $921,000        $318,197      $12,673,601
 2017   $1,295,029   $5,626,512    $2,200,021           $836,000        $296,225      $10,253,787
 2016   $1,295,029   $5,866,758         -              $1,150,000       $357,004      $8,668,791
 2015   $1,333,302   $5,896,024    $2,904,033          $1,900,000       $253,085      $12,286,444
 2014   $1,228,310   $5,628,271    $2,772,039          $2,100,000       $238,781      $12,011,493
 2013   $1,185,611   $5,467,084    $2,733,099          $1,750,000       $243,221      $12,541,298
Defendant Seaton is a citizen of Texas.

        40.    Defendant Bruce A. Stanski ("Stanski") was Fluor's Executive Vice President and

CFO from August 2017 to June 2019. Defendant Stanski was also Fluor's Group President,

Government from August 2009 to August 2017. Defendant Stanski is named as a defendant in the

Securities Class Actions that allege he violated sections 10(b) and 20(a) of the Exchange Act.

Defendant Stanski knowingly, recklessly, or with gross negligence caused or allowed Fluor to: (i)

operate with inadequate internal controls; (ii) systematically underestimate project costs in order

to win contract awards that were directly linked to executive compensation; (iii) violate GAAP by

failing to adequately estimate and update project costs and by improperly recognizing claim

revenue; (iv) overstate the Company's earnings; (v) make improper statements in the Company's

press releases and public filings concerning the Company's business, operations, and future

prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii) pay

excessive compensation to the Individual Defendants who breached their fiduciary duties to the

Company. While in possession of material, nonpublic information concerning Fluor's true

business health, defendant Stanski sold 63,488 shares of his personally held Fluor stock for

proceeds of $4,249,001.40. Fluor paid defendant Stanski the following compensation as an

executive:


                                                - 21 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 22 of 153 PageID 22



                                                       Non-Equity
                     Stock                           Incentive Plan      All Other
 Year    Salary     Awards       Option Awards       Compensation      Compensation         Total
 2018   $714,861   $2,419,791           -               $373,200         $110,713        $3,618,565
 2017   $647,111   $1,007,390      $401,257             $291,600         $106,183        $2,673,541
 2016   $600,018   $1,010,108           -               $520,200          $87,067        $2,217,393

Defendant Stanski is a citizen of Texas.

        41.    Defendant Biggs C. Porter ("Porter") was Fluor's Executive Vice President and

CFO from May 2012 to August 2017. Defendant Porter is named as a defendant in a related

securities class action complaint that alleges he violated sections 10(b) and 20(a) of the Exchange

Act. Defendant Porter knowingly, recklessly, or with gross negligence caused or allowed Fluor

to: (i) operate with inadequate internal controls; (ii) systematically underestimate project costs in

order to win contract awards that were directly linked to executive compensation; (iii) violate

GAAP by failing to adequately estimate and update project costs and by improperly recognizing

claim revenue; (iv) overstate the Company's earnings; (v) make improper statements in the

Company's press releases and public filings concerning the Company's business, operations, and

future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii) pay

excessive compensation to the Individual Defendants who breached their fiduciary duties to the

Company. While in possession of material, nonpublic information concerning Fluor's true

business health, defendant Porter sold 58,974 shares of his personally held Fluor stock for proceeds

of $3,382,461.07. Fluor paid defendant Porter the following compensation as an executive:

                                                       Non-Equity
                     Stock                           Incentive Plan      All Other
 Year    Salary     Awards       Option Awards       Compensation      Compensation         Total
 2017   $841,318   $1,824,711      $746,290                 -            $131,508        $3,543,827
 2016   $841,318   $1,723,396           -               $450,600         $133,572        $3,148,886
 2015   $868,965   $1,340,081      $660,023             $751,000         $128,330        $3,748,399
 2014   $812,240   $1,340,212      $660,062             $784,600         $106,401        $3,703,515
 2013   $788,597   $1,466,873      $733,294             $728,100          $84,264        $3,801,128




                                               - 22 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 23 of 153 PageID 23



Defendant Porter is a citizen of Texas.

       42.     Defendant Gary G. Smalley ("Smalley") was Fluor's Senior Vice President and

Controller from March 2008 to July 2015. Defendant Smalley was also Fluor's Vice President of

Internal Audit from September 2002 to March 2008, and held various other positions within the

Company from 1991 to September 2002. Defendant Smalley is named as a defendant in a related

securities class action complaint that alleges he violated sections 10(b) and 20(a) of the Exchange

Act. Defendant Smalley knowingly, recklessly, or with gross negligence caused or allowed Fluor

to: (i) operate with inadequate internal controls; (ii) systematically underestimate project costs in

order to win contract awards that were directly linked to executive compensation; (iii) violate

GAAP by failing to adequately estimate and update project costs and by improperly recognizing

claim revenue; (iv) overstate the Company's earnings; (v) make improper statements in the

Company's press releases and public filings concerning the Company's business, operations, and

future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii) pay

excessive compensation to the Individual Defendants who breached their fiduciary duties to the

Company. While in possession of material, nonpublic information concerning Fluor's true

business health, defendant Smalley sold 15,400 shares of his personally held Fluor stock for

proceeds of $1,064,925.45. Defendant Smalley is a citizen of California.

       43.     Defendant Nader H. Sultan ("Sultan") was a Fluor director from August 2009 to

August 2019. Defendant Sultan was a member of the Company's Audit Committee from at least

March 2017 to at least March 2019. Defendant Sultan knowingly, in bad faith, or in conscious

disregard for his duties caused or allowed Fluor to: (i) operate with inadequate internal controls;

(ii) systematically underestimate project costs in order to win contract awards that were directly

linked to executive compensation; (iii) violate GAAP by failing to adequately estimate and update




                                               - 23 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 24 of 153 PageID 24



project costs and by improperly recognizing claim revenue; (iv) overstate the Company's earnings;

(v) make improper statements in the Company's press releases and public filings concerning the

Company's business, operations, and future prospects; (vi) repurchase the Company's stock at

artificially inflated prices; and (vii) pay excessive compensation to the Individual Defendants who

breached their fiduciary duties to the Company. Fluor paid defendant Sultan the following

compensation as a director:

        Fiscal        Fees Earned or                          All Other
         Year          Paid in Cash       Stock Awards      Compensation          Total
        2018             $125,000           $155,046            $140            $280,186
        2017             $120,000           $167,537            $140            $287,677
        2016             $115,000           $150,042            $140            $265,182
        2015             $115,000           $135,014            $153            $250,167
        2014             $115,000           $135,066            $153            $250,219
        2013             $115,000           $135,008            $153            $250,161

Upon information and belief, defendant Sultan is a citizen of Kuwait.

       44.       Defendant Lynn C. Swann ("Swann") was a Fluor director from October 2013 to

August 2019. Defendant Swann was a member of the Company's Audit Committee from at least

March 2017 to at least March 2019. Defendant Swann knowingly, in bad faith, or in conscious

disregard for his duties caused or allowed Fluor to: (i) operate with inadequate internal controls;

(ii) systematically underestimate project costs in order to win contract awards that were directly

linked to executive compensation; (iii) violate GAAP by failing to adequately estimate and update

project costs and by improperly recognizing claim revenue; (iv) overstate the Company's earnings;

(v) make improper statements in the Company's press releases and public filings concerning the

Company's business, operations, and future prospects; (vi) repurchase the Company's stock at

artificially inflated prices; and (vii) pay excessive compensation to the Individual Defendants who

breached their fiduciary duties to the Company. Fluor paid defendant Swann the following

compensation as a director:



                                              - 24 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 25 of 153 PageID 25



         Fiscal        Fees Earned or                           All Other
          Year          Paid in Cash       Stock Awards       Compensation           Total
         2018             $125,000           $155,046            $1,140            $281,186
         2017             $120,000           $167,537            $5,140            $292,677
         2016             $115,000           $150,042             $140             $265,182
         2015             $115,000           $135,014             $153             $250,167
         2014             $115,000           $135,066             $153             $250,219
         2013              $28,750               -                 $26              $28,776

Upon information and belief, defendant Swann is a citizen of California.

       45.        Defendant Samuel J. Locklear III ("Locklear") was a Fluor director from February

2017 to August 2019. Defendant Locklear was a member of the Company's Audit Committee

from at least March 2017 to at least March 2019. Defendant Locklear knowingly, in bad faith, or

in conscious disregard for his duties caused or allowed Fluor to: (i) operate with inadequate internal

controls; (ii) systematically underestimate project costs in order to win contract awards that were

directly linked to executive compensation; (iii) violate GAAP by failing to adequately estimate

and update project costs and by improperly recognizing claim revenue; (iv) overstate the

Company's earnings; (v) make improper statements in the Company's press releases and public

filings concerning the Company's business, operations, and future prospects; (vi) repurchase the

Company's stock at artificially inflated prices; and (vii) pay excessive compensation to the

Individual Defendants who breached their fiduciary duties to the Company. Fluor paid defendant

Locklear the following compensation as a director:

         Fiscal        Fees Earned or                           All Other
          Year          Paid in Cash       Stock Awards       Compensation           Total
         2018             $125,000           $155,046            $1,867            $281,913
         2017             $120,000           $167,537            $4,601            $292,138

Defendant Locklear is a citizen of Maryland.

       46.        Defendant Joseph W. Prueher ("Prueher") was a Fluor director from 2003 to May

2018. Defendant Prueher knowingly, in bad faith, or in conscious disregard for his duties caused

or allowed Fluor to: (i) operate with inadequate internal controls; (ii) systematically underestimate


                                                - 25 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 26 of 153 PageID 26



project costs in order to win contract awards that were directly linked to executive compensation;

(iii) violate GAAP by failing to adequately estimate and update project costs and by improperly

recognizing claim revenue; (iv) overstate the Company's earnings; (v) make improper statements

in the Company's press releases and public filings concerning the Company's business, operations,

and future prospects; (vi) repurchase the Company's stock at artificially inflated prices; and (vii)

pay excessive compensation to the Individual Defendants who breached their fiduciary duties to

the Company. Fluor paid defendant Prueher the following compensation as a director:

        Fiscal        Fees Earned or                           All Other
         Year          Paid in Cash        Stock Awards      Compensation          Total
        2018              $67,500                -              $2,682            $70,182
        2017             $130,000            $167,537           $8,106           $305,643
        2016             $125,000            $150,042           $5,140           $280,182
        2015             $125,000            $135,014            $153            $260,167
        2014             $122,500            $135,066           $5,153           $262,719
        2013             $115,000            $135,008          $27,766           $277,774

Defendant Prueher is a citizen of Virginia.

       47.       The defendants identified in ¶¶24-27, 39-42 are referred to herein as the "Officer

Defendants." The defendants identified in ¶¶24, 28-39, 43-46 are referred to herein as the

"Director Defendants." The defendants identified in ¶¶30, 32-36, 38, 43-45 are referred to herein

as the "Audit Committee Defendants." The defendants identified in ¶¶24, 26, 39-42 are referred

to herein as the "Insider Selling Defendants." Collectively, the defendants identified in ¶¶24-46

are referred to herein as the "Individual Defendants."

                        DUTIES OF THE INDIVIDUAL DEFENDANTS

Fiduciary Duties

       48.       By reason of their positions as officers and directors of the Company, each of the

Individual Defendants owed and owe Fluor and its stockholders fiduciary obligations of trust,

loyalty, good faith, and due care, and were and are required to use their utmost ability to control



                                               - 26 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 27 of 153 PageID 27



and manage Fluor in a fair, just, honest, and equitable manner. The Individual Defendants were

and are required to act in furtherance of the best interests of Fluor and not in furtherance of their

personal interest or benefit.

       49.     To discharge their duties, the officers and directors of Fluor were required to

exercise reasonable and prudent supervision over the management, policies, practices, and controls

of the financial affairs of the Company. By virtue of such duties, the officers and directors of Fluor

were required to, among other things:

               (a)     ensure that the Company was operated in a diligent, honest, and prudent

manner in compliance with all applicable laws, rules, and regulations;

               (b)     ensure that the Company complied with its legal obligations and

requirements—including requirements involving the filing of accurate financial and operational

information with the SEC—and refrain from engaging in insider trading and other deceptive

conduct;

               (c)     conduct the affairs of the Company in an efficient, business-like manner in

compliance with all applicable laws, rules, and regulations so as to make it possible to provide the

highest quality performance of its business, to avoid wasting the Company's assets, and to

maximize the value of the Company's stock;

               (d)     remain informed as to how Fluor conducted its operations, and, upon receipt

of notice or information of imprudent or unsound conditions or practices, make reasonable inquiry

in connection therewith, and take steps to correct such conditions or practices and make such

disclosures as necessary to comply with applicable laws; and

               (e)     truthfully and accurately guide investors and analysts as to the business

operations of the Company at any given time.




                                                - 27 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 28 of 153 PageID 28



       50.        In addition, the Company has adopted a Code of Business Conduct and Ethics for

Members of the Board of Directors (the "Code") outlining the responsibilities of the Director

Defendants. The Code stresses that "[t]he Board represents the interests of shareholders, as owners

of a corporation, in optimizing long-term value by overseeing management performance on the

shareholders' behalf." To satisfy their responsibilities, the Code provides that the Director

Defendants were required to "make inquiries about potential problems that come to their attention

and follow up until they are reasonably satisfied that management is addressing them

appropriately."

Additional Duties of the Audit Committee Defendants

       51.        In addition to these duties, the Audit Committee Defendants, defendants Barker,

Bennett, Olivera, McWhinney, Rose, Hackett, Leppert, Sultan, Swann, and Locklear, owed and

owed specific duties to Fluor to assist the Board in overseeing: (i) "the accounting, reporting and

financial practices of the Company, including the integrity of the Company's financial statements";

and (ii) "the Company's compliance with legal and regulatory requirements."

       52.        With respect to overseeing the integrity of Fluor's accounting and financial

reporting, the Audit Committee Charter charges these defendants with reviewing the Company's

annual and quarterly financial statements and related disclosures. The Charter also imposes an

obligation on the Audit Committee Defendants to review the Company's earnings press releases

and guidance. In addition, under the Charter, these defendants are required to review Fluor's

internal audit reports, as well as assess "the adequacy and effectiveness of the [Company's] internal

controls." Specifically, the Audit Committee Charter states these defendants are required to:

       Meet to review and discuss with the independent auditor and management the
       annual audited and quarterly financial statements of the Company, and the
       independent auditor's reports related to the financial statements, including




                                               - 28 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 29 of 153 PageID 29



       reviewing the Company's specific disclosures under "Management's Discussion
       and Analysis of Financial Condition and Results of Operations."

                                    *       *            *

       Obtain and review, prior to each meeting, a summary of internal audit reports
       completed and in process and a progress report on the internal audit plan and
       management's responses.

       Oversee and review, with the input of the independent auditor, the performance of
       the internal audit function of the Company, including its independence and
       objectivity, the reasonableness of the proposed internal audit plan for the coming
       year, the coordination of the internal audit plan with the independent auditor and
       the adequacy of staffing and budget to accomplish the internal audit plan.

       Meet periodically and separately with the independent auditor, internal audit and
       management to review and discuss the adequacy and effectiveness of the internal
       controls of the Company (with particular emphasis on the scope and performance
       of the internal audit function).

       Review and discuss with the independent auditor and management any major issues
       regarding the adequacy and effectiveness of the Company's internal controls and
       any significant changes in internal controls.

       Review and discuss the adequacy and effectiveness of the Company's disclosure
       controls and procedures with the independent auditor, internal audit and
       management.

                                        *         *          *

       Review earnings press releases and discuss, in a general manner, the types of
       information to be disclosed and the type of presentation to be made in the
       Company's earnings press releases (paying particular attention to any use of "pro
       forma," or "adjusted" non-GAAP, information), as well as financial information
       and earnings guidance provided to analysts and rating agencies.

       53.    With respect to overseeing Fluor's legal and regulatory requirements, the Audit

Committee Defendants are required to monitor and review the Company's compliance policies and

procedures. In addition, the Audit Committee Charter charges these defendants with reviewing

the major risks facing the Company, including risks associated with its financial reporting and




                                                - 29 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 30 of 153 PageID 30



legal and regulatory compliance, as well as the effectiveness of Fluor's risk mitigation strategies.

In particular, the Charter states the Audit Committee defendants are required to:

       Oversee the Company's compliance program with respect to legal and regulatory
       requirements and review the Company's policies and procedures for monitoring
       compliance.

       Review and assess the Company's codes of conduct and ethics that are applicable
       to employees and management, at least annually, and recommend proposed
       material changes to the Board of Directors for approval.

                                         *       *       *

       Review and discuss with management: (a) the Company's most significant risks,
       including operational and strategic risks; (b) risk issues associated with the
       Company's overall financial reporting, disclosure process, legal matters, regulatory
       compliance, cybersecurity and information technology, as well as accounting risk
       exposure; and (c) the Company's methods of risk assessment, risk mitigation
       strategies and the overall effectiveness of the Company's guidelines, policies and
       systems with respect to risk assessment and management, including policies and
       procedures for derivative and foreign exchange transactions and insurance
       coverage.

Breaches of Duties

       54.     The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as officers and directors of Fluor, the absence of good

faith on their part, and a reckless disregard for their duties to the Company that the Individual

Defendants were aware or reckless in not being aware posed a risk of serious injury to the

Company.

       55.     The Individual Defendants breached their duty of loyalty and good faith by

allowing defendants to cause, or by themselves causing, the Company to: (i) operate with

inadequate internal controls; (ii) disseminate improper statements to the public; and (iii) pay

improper compensation to certain defendants. These improper practices wasted the Company's

assets and caused Fluor to incur substantial damage.




                                               - 30 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 31 of 153 PageID 31



       56.     The Audit Committee Defendants breached their duty of loyalty and good faith by

approving the improper statements detailed herein and failing to properly see Fluor's public

statements and internal control functions.

       57.     The Individual Defendants, because of their positions of control and authority as

officers and/or directors of Fluor, were able to and did, directly or indirectly, exercise control over

the wrongful acts complained of herein. The Individual Defendants also failed to prevent the other

Individual Defendants from taking such illegal actions. As a result, and in addition to the damage

the Company has already incurred, Fluor has expended, and will continue to expend, significant

sums of money.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       58.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their common plan or design. In addition to the

wrongful conduct herein alleged as giving rise to primary liability, the Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties.

       59.     During all times relevant hereto, the Individual Defendants, collectively and

individually, initiated a course of conduct that was designed to and did: (i) deceive the investing

public, including stockholders of Fluor, regarding the Individual Defendants' management of

Fluor's operations and the Company's financial condition and compliance policies; (ii) facilitate

the Insider Selling Defendants' illicit sale of their personally held shares while in possession of

material, nonpublic information; and (iii) enhance the Individual Defendants' executive and

directorial positions at Fluor and the profits, power, and prestige that the Individual Defendants

enjoyed as a result of holding these positions. In furtherance of this plan, conspiracy, and course




                                                - 31 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 32 of 153 PageID 32



of conduct, the Individual Defendants, collectively and individually, took the actions set forth

herein.

          60.   The Individual Defendants engaged in a conspiracy, common enterprise, and/or

common course of conduct. During this time, the Individual Defendants caused the Company to

issue improper financial statements.

          61.   The purpose and effect of the Individual Defendants' conspiracy, common

enterprise, and/or common course of conduct was, among other things, to disguise the Individual

Defendants' violations of securities law, breaches of fiduciary duty, waste of corporate assets,

unjust enrichment, and to compel an Annual Meeting of Stockholders; and to conceal adverse

information concerning the Company's operations, financial condition, and future business

prospects.

          62.   The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company to purposefully or recklessly release

improper statements. Because the actions described herein occurred under the authority of the

Board, each of the Individual Defendants was a direct, necessary, and substantial participant in the

conspiracy, common enterprise, and/or common course of conduct complained of herein.

          63.   Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each Individual Defendant acted with

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was aware of his or her overall contribution to and furtherance of the wrongdoing.




                                               - 32 -
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20              Page 33 of 153 PageID 33



               APPLICABLE LAW AND REGULATION: GAAP AND SOX

       64.     Consistent with their duties to safeguard the Company's legal and regulatory

compliance, the Individual Defendants were required to ensure that Fluor's accounting practices

complied with GAAP.1 In order to recognize revenue on fixed-price projects under GAAP, these

fiduciaries needed to identify and estimate project costs with a high degree of precision. In

addition, the provisions of the Sarbanes-Oxley Act of 2002 ("SOX") and the SEC rules imposed

an obligation on the Individual Defendants to maintain internal controls sufficient to ensure that

the costs for each fixed-price project were appropriately accounted for and reported in the

Company's quarterly financial statements.

GAAP Requirements for Fixed-Price Project Accounting

       65.     The Individual Defendants stated in the Company's public filings that the

percentage-of-completion method used to record revenue from construction contracts is one of

Fluor's most "critical accounting policies." To record revenue under the percentage-of-completion

method, Fluor was required to prepare and assess updated quarter-end estimates of the total costs

to complete each of its in-progress, fixed-price projects.     The quarter-end cost-to-complete

estimate, Fluor explained, determines the amount of revenue it can recognize on fixed-price

contracts. Specifically, Fluor stated:

       Engineering and Construction Contracts Contract revenue is recognized on the
       percentage-of-completion method based on contract cost incurred to date compared
       to total estimated contract cost. Contracts are generally segmented between types
       of services, such as engineering and construction, and accordingly, gross margin
       related to each activity is recognized as those separate services are rendered. The
       percentage-of-completion method of revenue recognition requires the company
       to prepare estimates of cost to complete for contracts in progress. In making such


1
 The SEC has delegated its authority to promulgate GAAP for public companies to the Financial
Accounting Standards Board ("FASB"). The FASB's standards are generally contained within the
FASB Accounting Standards Codification ("ASC").



                                              - 33 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 34 of 153 PageID 34



       estimates, judgments are required to evaluate contingencies such as potential
       variances in schedule and the cost of materials, labor cost and productivity, the
       impact of change orders, liability claims, contract disputes and achievement of
       contractual performance standards. Changes in total estimated contract cost and
       losses, if any, are recognized in the period they are determined.

       66.     As noted above, Fluor's use of the percentage-of-completion method required the

Company to make quarter-end estimates of the costs to complete its fixed-price projects which, in

turn, dictated the amount of revenue Fluor could recognize. These estimates therefore impacted

billions of dollars revenue Fluor recognized on its fixed-price contracts.

Reasonably Accurate and Dependable Cost Estimates

       67.     GAAP acknowledges that the estimated costs to complete "is a significant variable

in the process of determining income earned" and therefore imposes stringent requirements on

entities that use the percentage-of-completion method to record revenue. ASC 605-35-25-44.

       68.     To comply with GAAP, and as a prerequisite to using the percentage-of-completion

method, Fluor was required to make sufficiently reliable estimates relating to each of the

following: (i) extent of progress toward completion, (ii) contract revenue, and (iii) contract costs.

See ASC 605-35-25-56 (stating that "[t]he use of the percentage-of-completion method depends

on the ability to make reasonably dependable estimates" relating to "the extent of progress toward

completion, contract revenues, and contract costs"); ASC 605-35-25-32 (requiring that "[c]ontract

costs shall be identified, estimated, and accumulated with a reasonable degree of accuracy").

       69.     GAAP required the Company to follow several approaches when estimating costs

to complete, including routinely reviewing estimated and actual costs, and updating those costs

when appropriate to reflect new information. Specifically, ASC 605-35-25-44 required Fluor to

apply the following:




                                               - 34 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 35 of 153 PageID 35



             a. Systematic and consistent procedures that are correlated with the cost
                accounting system should be used to provide a basis for periodically
                comparing actual and estimated costs.

             b. In estimating total contract costs, the quantities and prices of all significant
                elements of cost should be identified.

             c. The estimating procedures should provide that estimated cost to complete
                includes the same elements of cost that are included in actual accumulated
                costs. Also, those elements should reflect expected price increases.

             d. The effects of future wage and price escalations should be taken into
                account in cost estimates, especially when the contract performance will be
                carried out over a significant period of time. Escalation provisions should
                not be blanket overall provisions but should cover labor, materials, and
                indirect costs based on percentages or amounts that take into consideration
                experience and other pertinent data.

             e. Estimates of cost to complete should be reviewed periodically and revised
                as appropriate to reflect new information.

Expected Losses

       70.      GAAP required the Company's quarter-end estimates of costs to complete to

immediately recognize anticipated losses on its fixed-price contracts. Specifically, if Fluor

determined that the estimated contract costs exceeded estimated revenue, then, under ASC 605-

35-25-45, it was required to recognize "the entire anticipated loss as soon as the loss becomes

evident." ASC 605-35-25-45 further states that "[a]n entity without the ability to update and revise

estimates continually with a degree of confidence could not meet that essential requirement of

GAAP."

Change Orders and Open Claims

       71.      Change orders arise from circumstances that modify the scope of the original

contract without adding new provisions. See ASC 605-35-25-25. Both contractors and customers

may initiate change orders based on modifications including changes in specification, design,

manner or method of performance, or facilities, equipment, or other materials. Id. Change orders



                                                 - 35 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 36 of 153 PageID 36



may be unpriced, approved, or in dispute. Unpriced change orders exist when the parties have

agreed to the change of scope, but the price (adjustment to contract price) is to be negotiated at a

later time. Id.

       72.        To record revenue from unpriced change orders, GAAP first requires entities to

determine whether the change order was an enforceable obligation and therefore recovery was

probable. See ASC 606-10-25. The customer's written approval of the change order's scope and

separate documentation that the costs are reasonable and identifiable are factors that indicate an

enforceable obligation. Id. If recovery is improbable, GAAP requires contractors to treat costs

attributable to unpriced change orders as costs of contract performance in the period those costs

are incurred. ASC 605-25-30.

       73.        Unapproved change orders, or those where the parties have not agreed to the scope

or price, are evaluated as claims. Id. Claims represent amounts in excess of the agreed contract

price that a contractor seeks to collect from customers or others, normally as a result of customer-

caused delays, errors in specifications and designs, or disputed or unapproved change orders.

Recognition of additional claim revenue requires both a determination that recovery of incurred

costs is probable and the amounts can be reliably estimated. ASC 605-35-25-31. Those two

requirements are satisfied only when the following conditions exist: (i) a legal basis supports the

claim; (ii) additional costs were caused by unforeseen circumstances and not deficiencies in the

contractor's performance; (iii) those costs are identifiable and reasonable; and (iv) the claim is

supported by objective and verifiable evidence rather than management's feel for the situation or

unsupported representations. Id.




                                                - 36 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 37 of 153 PageID 37



Requirements Pursuant to SOX

       74.     In addition to complying with GAAP, the provisions of SOX imposed obligations

on the Individual Defendants to assess Fluor's internal controls over financial reporting and

disclose whether those controls were effective to prevent or detect a material GAAP misstatement.

See SOX §302; §404.

       75.     Prior to disclosing the effectiveness of internal controls, the Individual Defendants

were required to evaluate the financial reporting controls over Fluor's critical accounting policies,

including the cost estimation process on fixed-price contracts detailed above.           The SEC's

interpretive guidance on SOX section 404 provides that this evaluation begins with management's

identification and assessments of risks of potential material misstatements—here, the costs to

complete estimates with the potential to impact billions of dollars in revenue or losses. The SEC

has further stated that internal controls affecting significant accounting estimates or critical

accounting policies, like the percentage-of-completion method, are generally assessed as high-risk

area requiring the performance of "more extensive testing." See 17 C.F.R. Part 241. As such and

pursuant to SOX section 404, the Individual Defendants were required to perform testing necessary

to evaluate both the design and operating effectiveness of Fluor's internal controls over quarter-

end cost estimates.

       COMPANY BACKGROUND AND RELEVANT FIXED-PRICE PROJECTS

       76.     Fluor is a multinational holding company that provides design, engineering,

procurement, construction, and management services for various industries. The Company is on

the Fortune 500 list, where it currently sits as the second largest engineering and construction

company.     Fluor organizes its business operations into five principle segments: Energy &

Chemicals; Mining & Industrial; Infrastructure & Power; Diversified Services; and Other.




                                               - 37 -
   Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 38 of 153 PageID 38



        77.     As a contractor, Fluor submits bids competing with other companies for awards to

construct large-scale projects. If the commissioning entity accepts the Company's bid, Fluor is

named the engineering, procurement, and construction ("EPC") contractor and becomes

responsible for completing the offered services.

        78.     Fluor performs services through either "reimbursable contracts" or "fixed-price

contracts." Under a reimbursable contract, Fluor receives reimbursement for its expenses and an

additional fee for its services. Fixed-price or "lump-sum" contracts, by comparison, do not

guarantee Fluor will recoup its expenses. Under a fixed-price contract, Fluor receives a fee that is

established before performing its services based on projected costs. The Company's profit on these

contracts thus depends on its ability to accurately estimate the costs of a project and to execute the

project without exceeding estimated costs. In its public filings with the SEC, Fluor explains that

if it "perform[s] well under these contracts, [the Company] can benefit from cost savings; however,

if the project does not proceed as originally planned, [Fluor] cannot recover cost overruns except

in certain limited situations." The American Institute of Certified Public Accountants ("AICPA")

notes in the Auditing and Accounting Guide for Construction Contractors (the "AICPA Guide")

that fixed-price contracts are "usually the safest option for the owner, but the riskiest for the

contractor."

        79.     In the construction and engineering industry, a "backlog" measures the monetary

value of work that is yet to be performed on awarded contracts. Revenue is recorded as work is

completed.     In its public filings with the SEC, Fluor states that its backlog "reflects [the

Company's] expected revenue" from projects that had "an executed contract or commitment with

a client."




                                                - 38 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 39 of 153 PageID 39



The Brunswick County Plant

       80.     On July 31, 2012, Fluor entered into an EPC contract with Dominion Virginia

Electric and Power Company ("Dominion") for the construction of the Brunswick County Power

Station, a new natural gas-fired power plant located in Virginia (the "Brunswick County Plant").

Of the three bids evaluated, Fluor's cost proposal was the lowest, leading to its award of the EPC

contract.

       81.     The contract obligated Fluor to perform all design, engineering, procurement,

construction, installation, and other services necessary to complete the project for an agreed-upon

lump sum.    These obligations included installing combustion and steam turbine generators

provided by Mitsubishi Hitachi Power Systems Americas, Inc. ("Mitsubishi"). The EPC contract

contained liquidated damages provisions to guarantee Fluor's performance and ensure that the

Brunswick County Plant was completed on time and as specified.

       82.     The Brunswick County Plant's design included three Mitsubishi "G" class

combustion turbine generators, three heat recovery steam generators, and on steam turbine

generator. This configuration is commonly known as a 3x1 combined-cycle.

       83.     On August 14, 2013, Fluor issued a press release announcing that Dominion had

provided full notice to the Company to begin construction on the Brunswick County Plant, and

consequently and simultaneously recorded approximately $800 million into its backlog.

The Radford Plant

       84.     In 2013, Fluor bid on a subcontract of a project under the Department of Defense

to update the power, infrastructure, and manufacturing facilities of the U.S. Army ammunition

plant in Radford, Virginia. The Company was awarded a fixed-price contract to construct a

nitrocellulose facility, gas-fired boilers, and warehouse at the plant (the "Radford Plant"). Fluor




                                              - 39 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 40 of 153 PageID 40



began its design process for the Radford Plant in 2015, and on April 21, 2016, physical

construction of the $60 million project officially began.

The CPChem Project

       85.     On October 3, 2013, Fluor issued a press release that Chevron Phillips Chemical

Company LP awarded it a contract for a petrochemicals project in Baytown, Texas (the "CPChem

Project"). The CPChem Project consisted of an ethylene unit (cracker) and associated offsite

components. The press release stated Fluor's responsibilities under the fixed-price contract

included "engineering and procurement for the outside battery limit scope as well as direct hire

construction for the entire cracker project." The press release also stated that "Fluor booked its

share of the undisclosed contract value in the third quarter of 2013."

The Anderson County Plant

       86.     In 2014, Fluor announced that Duke Energy ("Duke") had awarded the Company

an EPC contract for a natural gas-fired power plant in Anderson County, South Carolina (the

"Anderson County Plant"). The Anderson County Plant's design included two combustion turbine

generators, two heat recovery steam generators, and one steam turbine generator.             This

configuration is commonly known as a 2x1 combined-style.

The Citrus County Plant

       87.     In October 2014, Fluor entered into a separate EPC contract with Duke for a gas-

fired power plant in Citrus County, Florida (the "Citrus County Plant"). The EPC contract required

Fluor to perform all design, engineering, procurement, construction, and other necessary services

in exchanges for an agreed-upon, lump-sum price. The EPC contract also contained liquidated

damages provisions to guarantee Fluor's performance and ensure the Citrus County Plant was

completed on time and as specified.




                                               - 40 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 41 of 153 PageID 41



       88.      The Citrus County Plant's design included two generating units, or "Power Blocks."

Each Power Block was configured in a 2x1 combined-style, like the Anderson County Plant. Each

Power Block's design included two Mitsubishi "G" class combustion turbine generators, the same

turbines the Company was using at the Brunswick County Plant.

       89.      On October 5, 2015, Duke gave Fluor full notice to begin construction of the Citrus

County Plant.

The Greensville County Plant

       90.      On April 8, 2015, Fluor entered into a separate EPC contract with Dominion for a

gas-fired power plant Greensville County, Virginia (the "Greensville County Plant"). Of the four

bids evaluated, Fluor's cost proposal was the lowest, leading to its award of the EPC contract. The

EPC contract required Fluor to perform all design, engineering, procurement, construction, and

other necessary services in exchanges for an agreed-upon, lump-sum price. The EPC contract also

contained liquidated damages provisions to guarantee Fluor's performance and ensure the

Greensville County Plant was completed on time and as specified.

       91.      The Greensville County Plant's design included the same 3x1 combined-style

configuration as the Brunswick County Plant, but with three Mitsubishi "J" class combustion

turbine generators.    On or about July 7, 2016, Dominion gave Fluor full notice to begin

construction of the Greensville County Plant.

The Penguins Offshore Project

       92.      On January 16, 2018, Fluor issued a press release announcing that Royal Dutch

Shell plc had awarded the Company a contract for the "engineering, procurement, and fabrication

of Shell's Penguins floating production storage and offloading (FPSO) vessel the North Sea" (the




                                                - 41 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 42 of 153 PageID 42



"Penguins Offshore Project"). The press release also disclosed that "Fluor booked the undisclosed

contract value in the fourth quarter of 2017."

The Warren Project

       93.        On December 11, 2018, the Company announced that the U.S. Army Corps of

Engineers "has awarded Fluor a contract to construct a nuclear weapons storage and maintenance

facility at the Frances E. Warren Air Force Base," located in Wyoming (the "Warren Project").

The press release also disclosed that "Fluor booked the $145 million contract value, which has a

40-month period of performance, in the fourth quarter of 2018."

      THE INDIVIDUAL DEFENDANTS CONSCIOUSLY FAIL TO IMPLEMENT
                    ADEQUATE INTERNAL CONTROLS

Underestimating Project Costs Threatened the Company's Operational Viability While Also
Presenting a Serious Risk of Legal Noncompliance

       94.        Throughout the period of wrongdoing, fixed-price projects represented a major

portion of the Company's business. At the end of 2018 and throughout 2019, these fixed-price or

lump-sum contracts comprised nearly half of Fluor's consolidated backlog. Accurately estimating

the costs of fixed-price projects to ensure profitability was therefore vital to Fluor's business and

future success.

       95.        The Individual Defendants were well aware that fixed-price contracts are risky by

nature. These fiduciaries repeatedly admitted in the Company's public filings that "[t]his type of

contracting presents certain inherent risks," warning that "if the project does not proceed as

originally planned," then there may be cost overruns that the Company "generally cannot recover."

Specifically, the Company's Annual Report on Form 10-K for the year ended December 31, 2015,

filed with the SEC on February 18, 2016 (the "2015 Form 10-K") stated:

       Fixed-price contracts include both lump-sum contracts and negotiated fixed-price
       contracts. Under lump-sum contracts, we typically bid against our competitors on
       a contract based upon specifications provided by the client. This type of contracting


                                                 - 42 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 43 of 153 PageID 43



       presents certain inherent risks including the possibility of ambiguities in the
       specifications received, or economic and other changes that may occur during the
       contract period. Under negotiated fixed-price contracts, we are selected as
       contractor first, and then we negotiate price with the client. Negotiated fixed-price
       contracts frequently occur in single-responsibility arrangements where we perform
       some of the work before negotiating the total price for the project. Another type of
       fixed-price contract is a unit price contract under which we are paid a set amount
       for every "unit" of work performed. If we perform well under these types of
       contracts, we can benefit from cost savings; however, if the project does not
       proceed as originally planned, we generally cannot recover cost overruns except
       in certain limited situations.

       96.     The Individual Defendants repeatedly acknowledged in Fluor's public filings that

estimating inaccuracies were a major risk which "may lead to cost overruns," and, in turn, "a

material impact on our reputation or our financial results." These fiduciaries warned this was

especially in the fixed-price contract setting in which the Company "bear[s] a significant portion

of the risk." Specifically, Fluor's Annual Report on Form 10-K for the year ended December 31,

2017, filed with the SEC on February 20, 2018 (the "2017 Form 10-K") stated:

       We may experience reduced profits or losses under contracts if costs increase
       above estimates.

       Generally our business is performed under contracts that include cost and schedule
       estimates in relation to our services. Inaccuracies in these estimates may lead to
       cost overruns that may not be paid by our clients thereby resulting in reduced profits
       or losses. Unforeseen increases in or failures to properly estimate the cost of raw
       materials, components, equipment, labor or the ability to timely obtain them may
       result in such cost overruns or project delays. If a contract is significant or there are
       one or more events that impact a contract or multiple contracts, cost overruns could
       have a material impact on our reputation or our financial results, negatively
       impacting our financial condition, results of operations or cash flow.
       Approximately 37 percent of the dollar-value of our backlog is currently fixed-price
       contracts, where we bear a significant portion of the risk for cost overruns, and we
       expect this percentage of fixed-price contracts to increase in subsequent years.
       Reimbursable contract types, such as those that include negotiated hourly billing
       rates, may restrict the kinds or amounts of costs that are reimbursable, therefore
       exposing us to risk that we may incur certain costs in executing these contracts that
       are above our estimates and not recoverable from our clients. If we fail to accurately
       estimate the resources and time necessary for these types of contracts, or fail to
       complete these contracts within the timeframes and costs we have agreed upon,
       there could be a material impact on our financial results as well as our reputation.



                                                - 43 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 44 of 153 PageID 44




       97.     In addition, Fluor is vulnerable to certain risks known to exist within the

construction industry, including heightened threats of fraud and accounting improprieties. The

AICPA warns in the AICPA Guide that the use of subjective cost estimates gives contractors the

opportunity manipulate financial results. In particular, the AICPA Guide states that "[b]ecause of

the subjective nature inherent in estimating total costs and costs to complete, the contractor is in a

unique position to influence those estimates and, as a direct consequence, the operating results for

the period."

       98.     The AICPA Guide demonstrates that the risk of contractors underestimating project

costs in underlying bids in order to win contract awards is a well-known industry risk while

pointing out that "[m]any construction contractors will do whatever it takes to get the job" and

adding that to contractors, "[f]inancial reporting is considered merely a requirement." A common

occurrence and factor indicating an increased risk of or other wrongdoing occurring at a

construction company includes the "[u]nderestimation of total performance obligation" resulting

in "excess gross profit on the job and overstated operating results for the entity."

       99.     "Profit fade" is another common occurrence in the construction industry

heightening the risk of fraud, wrongdoing, internal control failures, and accounting problems. The

AICPA Guide states that profit fade, or "the reduction of the estimated gross profit over the life of

the performance obligation" "is recognized as evidence of the contractor's inability to effectively

estimate or manage a job, or both. In order to prevent profit fade from appearing on an older job,

contractors may attempt to inappropriately charge costs on those older jobs to newer ones."

       100.    In light of these "significant" industry-specific risks, the AICPA Guide warns of

the need to implement mitigating programs and controls. These include: (i) "extensive systems

for the identification and recognition of costs by job"; (ii) "sophisticated systems to assist



                                                - 44 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 45 of 153 PageID 45



engineering personnel in making cost to complete estimates"; and (iii) "corporate policies"

designed to "establish an environment that minimizes the risk of fraud."

       101.    "Controls over estimating and bidding," the AICPA Guide specifically points out,

"are necessary to provide for adequate documentation, clerical verification, overall review of

estimated costs, and approval of all bids by the appropriate levels of management." In addition,

"regularly perform[ing] monitoring procedures is necessary to ensure that controls over the

estimating and bidding functions are operating effectively."

       102.    Fluor—one of the largest engineering and construction companies in the U.S.—had

no such systems, let alone the extensive or sophisticated ones required by even the most baseline

construction entity that comes under audit.

The Individual Defendants Utterly Failed to Implement a Reasonable Information and
Reporting System

       103.    Despite knowledge of the above risks, the Board undertook no efforts to ensure that

a reasonable system existed for their oversight of Fluor's prospective and current projects. In

particular, the Board completely failed to implement an adequate information and reporting system

designed to put them on notice of current and prospective project risks, including any estimation

issues—one of the most critical risks facing the Company. Fluor's business, as well as its

compliance with accounting regulations and securities laws, was directly dependent upon

accurately estimating project costs on an ongoing basis. Yet, the Board took no steps to oversee

the Company's projects and any associated issues for over six years. Even as the Company began

announcing a series of "forecast revisions" and even after defendant Seaton admitted to "improper

estimating," the Board did nothing.

       104.    As an initial matter, there was no Board committee charged with overseeing Fluor's

project risks. In fact, the Board had no Risk Committee whatsoever until around August 2019,



                                              - 45 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 46 of 153 PageID 46



after the Company had already been buffeted by a series incremental charges on its fixed-price

projects totaling $1.4 billion. During the years Fluor amassed those crippling charges, there was

no Board committee responsible for reviewing "[t]he Company's prospective and current projects,

including any major operational risks with respect to such prospects and projects," the Commercial

Strategies and Operational Risk Committee Charter states, thus revealing the oversight

shortcomings the Board had allowed for years. On August 1, 2019, when defendant Boeckmann

announced the new committee's formation, he effectively conceded that the Board lacked

"visibility into the contracting process," including "how [the Company is] approaching and

executing [its] existing risk projects."

        105.    In addition, the Board failed to establish a full-board process to review and address

the specific risks relating to the Company's bidding practices, cost estimates, and project execution.

The SEC requires companies disclose in the proxy statements "the extent of the board's role in the

risk oversight of the registrant, such as how the board administers its oversight function, and the

effect that this has on the board's structure." 17 C.F.R. §229.407. Fluor's Proxy Statement on

Schedule 14A filed with the SEC on March 11, 2019 (the "2019 Proxy"), reveals that the Board

"discusses risks related to the Company's business strategy at the Board's annual strategic planning

meeting." A single meeting, however, is a blatantly inadequate amount of time to oversee the risks

facing one of the largest engineering and construction companies in the U.S.

        106.    Further, no regular processes or protocols existed to keep the entire Board informed

of ongoing or developing risks most central to Fluor's business and compliance with accounting

regulations and securities laws. The Board's failure to implement a reasonable Board-level system

of monitoring and reporting is evidenced by the Commercial Strategies and Operational Risk

Committee Charter, which reveals that, prior to its formation in 2019, nothing existed to "[s]ee




                                                - 46 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 47 of 153 PageID 47



that the Board is regularly apprised of the Company's strategic and operational risks and the

associated risk mitigation policies, procedures and practices." Additionally, although the Audit

Committee was charged with establishing procedures for complaints "regarding any questionable

accounting, internal accounting controls, auditing or federal securities law matters," nothing

existed to ensure the Board would actually be alerted of any such reports.

       107.    The systematic nature and duration of Fluor's bidding and execution issues further

demonstrates the lack of a reasonable reporting system, as well as the Board's sustained oversight

failure in general. The Company took a series of pretax charges on sixteen of its fixed-projects

beginning in 2015 and continuing with increased frequency and magnitude in the following years.

These charges—mostly related to "forecast revisions"—occurred constantly from 2017 to 2019.

In fact, the Company recognized pretax charges or losses on its fixed-price projects in eight out of

nine consecutive quarters up until the second quarter of 2019, when it announced its $714 million

in charges related to various fixed-price contracts.

 THE BOARD IGNORES RED FLAGS SIGNALING UNDERBIDS AND RESULTING
                       VIOLATIONS OF LAW

       108.    Even in the absence of a system of reasonable controls that the Individual

Defendants failed to implement, there were more than enough yellow and red flags that had

nonetheless made their way to the Board signaling the Company was systematically underbidding

on fixed-price contracts and then misleading the market about its business prospects through false

assurances and accounting games in violation of securities law and regulation. The Board,

however, ignored these persistent warnings.

Fluor's History of Underbidding

       109.    As an initial matter, the Company had a track record of underbidding on fixed-price

projects, thus alerting the Individual Defendants that Fluor's bidding practices left it exposed to



                                               - 47 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 48 of 153 PageID 48



tangible risks of cost overruns. In fact, the Company had underperformed on 75%, or six out of

the eight, total gas-fired fixed-price projects that it had undertaken since 2003 (prior to and

excluding the Gas-Fired Plants discussed herein). The Individual Defendants thus knew there was

a serious likelihood of Fluor underestimating its cost projections for the Gas-Fired Plants and

fixed-price projects more generally.

Defendant Seaton's Personal Involvement with the Gas-Fired Plants

         110.    In addition, certain of the Individual Defendants were involved with the review and

approval of Fluor's bids and also monitored the construction and execution progress, making them

aware of the serious issues that contradicted Fluor's glossy projections to the public. Defendant

Seaton, for example, admitted that he and his management team personally authorized Fluor's bids

for the Gas-Fired Plants during the Company's May 3, 2018 earnings conference call, stating: "We

have 4 power projects that were bid by the same management team at the same time. And we

accepted. We, being me and my management team, accepted those bids, primarily because we

just come off of a project in that market where we had bettered the [as sold] margin expectation."

Defendant Seaton also confirmed during an August 2, 2018 Company earnings conference call

that he was personally involved in project management, stating, "I hold a weekly call with the

[Power segment] project team, including the president of that group." Fluor's social media further

demonstrates that defendant Seaton also personally visited the Gas-Fired Plants. In June 2017 and

January 2018, for example, Fluor posted photos on Twitter emphasizing defendant Seaton's recent

visits to the Greensville County Plant and the Citrus County Plant, respectively.2 Through his




2
    See Exhibit A attached hereto.



                                                - 48 -
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 49 of 153 PageID 49



personal involvement, defendant Seaton knew the Gas-Fired Plants were based on faulty bids and

were facing cost overruns and delays.

The Mitsubishi Action: Grave Problems Arise at the Brunswick County Plant that Signal
Trouble Ahead at the Remaining Gas-Fired Plants

       111.     The Individual Defendants were put on notice that the Company had

underestimated its bid for the Brunswick County Plant before it even began construction on the

project. When Fluor announced on August 14, 2013, that it received notice to begin construction

on the Brunswick County Plant, the Company also stated that it had been "providing engineering

and procurement services on the plant from its Charlotte, North Carolina office" for roughly a year.

During this time, Fluor completed detailed design and engineering services revealing that its bid

projections fell short of the Brunswick County Plant's requirements due to improper estimating.

       112.     In early 2014, the Individual Defendants became aware of significant delays and

additional costs facing the Brunswick County Plant, as revealed by a lawsuit Fluor subsequently

brought against Mitsubishi (the "Mitsubishi Action").3 When executing the EPC contract with

Fluor, Dominion partially assigned its existing Turbine Supply Agreement with Mitsubishi to the

Company. The agreement required Mitsubishi to supply "three combustion turbine generators,

one steam turbine generator (the 'Turbines') and all equipment and materials related to and

necessary for the installation of the Turbines (the 'Minor Components') that Fluor was to install on

the Project."

       113.     In the Mitsubishi Action, Fluor states that "Mitsubishi was chronically late in

delivering these Minor Components." Mitsubishi failed to deliver two components by the delivery




3
 Fluor Enterprises, Inc. v. Mitsubishi Hitachi Power Systems Americas, Inc., No. 3:17-cv-00622-
MHL (E.D. Va.).



                                               - 49 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 50 of 153 PageID 50



date of January 11, 2014. When Mitsubishi still had not delivered these components on April 22,

2014, Fluor sent Mitsubishi a letter informing that liquidated damages would begin to accrue under

the Turbine Supply Agreement. Fluor, in turn, would face liquidated damages from Dominion

under the EPC contract. To avoid this penalty, "Fluor was forced to accelerate the construction

process at great additional cost." Additionally, Mitsubishi's deliveries "evidenced a complete lack

of quality control, in that the shipments were repeatedly mislabeled as to their contents or had no

labels at all, thereby requiring Fluor to expend substantial time and effort locating the components

required for the current construction activities then underway." Fluor was required to take

"extraordinary measures" to mitigate the adverse impact of Mitsubishi's repeated tardiness and

incorrect labeling on the Brunswick County Plant, "but its efforts did not succeed entirely."

According to the Company, its ability to timely complete the Brunswick County Plant was

"material[ly] impact[ed]" as soon as Mitsubishi began missing its deliveries.

       114.    Prior to filing the Mitsubishi Action, on March 18, 2016, Fluor sent Mitsubishi a

letter demanding $207.7 million in liquidated damages. In its answer to the lawsuit, Mitsubishi

denies it caused the need to accelerate construction while citing statements made by Chris Tye

("Tye"), Fluor's former Power segment president. Specifically, in Fluor's press release dated May

23, 2016, Tye boasted that, "the Brunswick County facility is a prime example of Fluor's service

excellence we provide to our clients. … We are especially proud of the project team that

demonstrated our ability to achieve quality completion ahead of schedule." On June 24, 2019, the

Mitsubishi Action was dismissed by voluntary stipulation. The action reveals Fluor's public-facing

statements were a stark departure from reality and a blow to its overall credibility. If there had

been a reasonable reporting system, the Board would have been alerted about the problems




                                               - 50 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 51 of 153 PageID 51



unfolding at the Brunswick County Plant, which presented the risk of a $200 million cost overrun

and the need to update cost estimates in the Company's financial statements.

       115.    The Brunswick County Plant fiasco foreshadowed the trouble at the other Gas-Fired

Plants. Mitsubishi would supply the turbines at the Citrus County Plant, as well as the Greensville

County Plant. The Anderson County Plant called for similar turbines, though not Mitsubishi's in

particular. At all four plants, Fluor used "next generation" turbines that it had never used before.

The Company's inexperience with these turbines and the complications presented at the Brunswick

County Plant warned the Individual Defendants of similar risks and issues at the other Gas-Fired

Plants. Defendant Seaton admitted these issues ran across all four of the Company's Gas-Fired

Plants during Fluor's August 3, 2017 earnings conference call, stating: "all 4 projects were based

on next-gen turbines or steam generators that were a first of a kind for Fluor. The quality control

and completeness of these turbines delivered to the site were not in line with our bid assumptions."

       116.    The Individual Defendants were also alerted of execution issues at the Gas-Fired

Plants as each of those projects progressed, typically before they were even halfway completed.

During the same earnings conference call mentioned above, defendant Seaton conceded the issues

generally became apparent "at about 40% – 30% to 40% [into the] construction progress."

Defendant Seaton Admits to "Improper Estimating" and Fatally Flawed Bidding

       117.    The Board knew by 2017 at the latest that Fluor was systematically underestimating

the costs of fixed-price projects in order to win contract awards. In February 2016, Fluor disclosed

a $60 million loss due to "forecast revisions" on the Brunswick County Plant and, in May 2017, it

disclosed a $30 million loss on the Anderson County Plant. These significant and unexpected

charges were enough to warn the Board that Fluor had been underestimating project costs and then

publicly misrepresenting its future prospects. However, the Board did nothing about the apparent




                                               - 51 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 52 of 153 PageID 52



risks of violating securities, accounting, and other related law and regulation. And it continued to

do nothing even when the warning became more explicit.

       118.    On August 3, 2017, Fluor disclosed a shocking $194 million charge due to "forecast

adjustments" and held an earnings conference call. During the call, defendant Seaton stated that

all four of the Gas-Fired Plants suffered from "fundamental problem[s]," adding that these fixed-

price projects "did not meet the original baseline assumptions due to improper estimating, craft

productivity and equipment issues." However, he promised that these issues were specific to the

Gas-Fired Plants and assured that "the lion's share of our lump-sum backlog is performing

extremely well." Regardless of defendant Seaton's promises (which he had broken before at the

expense of increasingly diminishing Fluor's credibility), there was still a red flag waving before

the Board signaling control deficiencies relating to cost estimates, insufficient oversight with

respect to those estimates, misstatements in the Company's public filings, as well as resulting and

potentially mounting liability for those misstatements. The Board, however, failed to respond to

these warnings in order to protect the Company and instead allowed risks to remain in place and

cause even more damage than had already been done.

       119.    Beyond failing to oversee and protect Fluor from the risks it was facing, the Board

also played an active role in continuing to perpetuate the falsehoods causing the damage. On

February 20, 2018, the Board signed Fluor's 2017 Form 10-K and assured that the Company's

internal controls were effective, and that "risk management" was not a vulnerability but rather one

of its "competitive strengths." These fiduciaries also claimed that "our comprehensive risk

management approach allows us to better control costs and schedule."

       120.    On May 3, 2018, Fluor disclosed yet another charge relating to forecast revisions

on a fixed-price project, this time for $125 million on the Citrus County Plant. During the




                                               - 52 -
    Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 53 of 153 PageID 53



Company's earnings conference call that day, defendant Seaton stated there were "fatal flaws in

the bidding process of all those [gas-fired] projects." The Board was thus alerted of the need to

review its fixed-price cost estimates and enhance its internal controls, however, they still failed to

respond.

          121.   Yet another warning came on October 10, 2018, when Fluor announced an

additional $35 million forecast revision on the Citrus County Plant and yet again, the Board failed

to respond. When these fiduciaries signed the Company's 2018 Annual Report on February 21,

2019, they left the same statements regarding internal controls and risk management intact.

The Highly-Experienced Board Understood that the Magnitude and Frequency of Charges
Signaled Accounting Improprieties

          122.   As described above, charges, forecast revisions, and cost overruns on major fixed-

price projects were announced in Fluor's Quarterly and Annual Reports with increasing magnitude

and frequency. Each of these charges individually alarmed the Board of internal control issues,

accounting failures, and violations of law. As the charges grew, so too did the volume of these

alarms.

          123.   The highly experienced directors comprising Fluor's Board knew that these

constant revisions, charges, and "flaws" were warnings of wrongdoing and accounting errors.

Several of these directors have decades-long accounting experience as a result of serving in top-

level executive positions at major banks and financial institutions, including defendants Barker,4




4
  Fluor's 2019 Proxy highlights the Board's business experiences and skills. Defendant Barker
served as the California Chairman of JPMorgan Chase & Co., a multinational investment bank and
financial services company, from 2009 to 2013, and as a Partner at Goldman Sachs & Co., a
multinational investment bank and financial services company he joined in 1971, until his
retirement in 2002, and emphasizes that defendant Barker's forty years of "vast experience" "allow
him to share insights with the Board," including "accounting and financial matters."



                                                - 53 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20             Page 54 of 153 PageID 54



Bennett,5 Berkery,6 and McWhinney,7 or otherwise have "extensive knowledge of financial and

accounting matters," including defendant Olivera.8 Others, like defendants Boeckmann,9 P.

Fluor,10 and Hackett,11 have extensive experience and knowledge of the industry in which Fluor

operates, making them highly attuned to the risks Fluor was facing. The Board is and was almost




5
 Defendant Bennett was the CEO of H&R Block, Inc., a publicly traded tax, banking and business
consulting services entity, and the CFO of Aetna Inc., a healthcare benefits provider. The 2019
Proxy states defendant Bennett "brings almost 40 years of experience in accounting and financial
matters to our Audit Committee."
6
  Defendant Berkery was the Chair of UBS Bank USA and Vice Chairman, Executive Vice
President and General Counsel of Merrill Lynch & Co., Inc., both banking and financial services
businesses. The 2019 Proxy emphasizes defendant Berkery's "broad range of experience in
financial, business and legal matters makes her a valued member of the Board," noting her abilities
to "provide valued counsel on matters such as finance," as well as "market risks" while also adding
that "her 35 years in the legal field make her an excellent resource to the Board on legal and
compliance matters."
7
  Defendant McWhinney held various high-level executive positions at well-known banks and
financial services companies, including CitiGroup Inc., where she served as a division's CEO, and
Charles Schwab & Co., Inc., where she served as a divisions President and chair of the Global
Risk Committee. The 2019 Proxy emphasizes that her experiences "provide our Board with
special insight on matters relating to business strategy" and "allow her to counsel our Board on
non-financial risk-related matters."
8
  The 2019 Proxy notes "[defendant] Olivera's tenure as the former President and [CEO] of one of
the largest electric utilities in the [U.S.] provides him with extensive knowledge of financial and
accounting matters, as well as a keen understanding of the power industry and its regulations."
9
 Defendant Boeckmann's tenure as the Company's CEO from 2002 until 2011, "along with his 36
years of experience with the Company, give him a deep knowledge of the industries in which the
Company operates as well as the Company's opportunities, challenges and operations."
10
  The 2019 Proxy notes "[defendant P.] Fluor has more than 45 years of experience in the energy
industry, currently serving as Chairman and [CEO] of Texas Crude Energy," adding he has "vast
knowledge" of the industry and "extensive knowledge of our business operations."
11
   "[Defendant] Hackett has extensive knowledge of the global oil and gas industry" and "several
decades of executive experience, as well as his experience serving on other public company
boards," which the 2019 Proxy states "enable[s] him to provide respected guidance on business
strategy and financial matters, as well as perspective about the oil and gas and power markets."



                                              - 54 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20              Page 55 of 153 PageID 55



entirely comprised of directors with former and current executive and director roles at other

publicly traded companies, enhancing their understanding of fiduciary oversight obligations giving

them a more discerning eye to the risks and warnings presented at Fluor.12

        124.   The Board's experience and specific knowledge coupled with the magnitude and

frequency of the Company's charges reveals the directors understood but chose to ignore the risk

that Fluor was operating outside the bounds of the law. Not only did the Individual Defendants

ignore these risks, but they also furthered them through their approval of an executive

compensation plan.

Fluor's Executive Compensation Incentivized Underbidding

        125.   The Individual Defendants facilitated the Company's systematic underbidding on

fixed-price projects in order to secure lucrative bonuses. Specifically, Fluor's executives received

handsome "performance" compensation that was directly dependent upon the Company's

achievement of new contract awards, regardless of whether Fluor could actually achieve the

underlying bid assumptions and even if the project would turn out a loss. As a result, certain of

the Individual Defendants approved or directed risky bids on fixed-price contracts underestimating

the actual costs in order to win the award and, in turn, increase compensation.

        126.   Since at least 2012, Fluor's executive compensation plan has been made up of base

salary, an annual incentive award, and long-term incentives, with long-term incentives comprising

as much as 75% of the total compensation. These long-term incentives include a Value Driver




12
   Like the directors mentioned above, defendant Rose also held various high-level executive and
director roles. The 2019 Proxy states defendant Rose's "extensive leadership experience obtained
from overseeing a large, complex and highly regulated organization, his considerable knowledge
of operations management and business strategy and his deep understanding of public company
oversight."



                                               - 55 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 56 of 153 PageID 56



Incentive ("VDI") award component based on performance measures that purportedly create

"long-term company value." From 2012 to 2014, the sole performance measure was "new awards

gross margin," measured in both dollars and percentage.            The Board's Organization and

Compensation Committee chose this performance measure even though Fluor's financial

statements do not report new awards gross margin.

       127.     In the Company's Proxy Statement on Schedule 14A filed with the SEC on March

13, 2013 (the "2013 Proxy"), the Board explained that new awards gross margin measures the

profit that Fluor "expects to receive as a result of projects awarded within the performance period."

The 2013 Proxy acknowledged the performance metric is "measured over a relatively short period"

and based on future expectations, an apparent contradiction to supposed "long-term" incentive

payouts. Attempting to explain this incongruity, the Board defended that new awards gross margin

measures "relate to contracts that typically will extend a number of years into the future and thus

will generate, and position the company for, increased future earnings." In particular, the 2013

Proxy stated:

       New awards gross margin dollars measures the total amount of project gross margin
       that the company expects to receive as a result of projects awarded within the
       performance period. New awards gross margin percentage is the total amount of
       gross margin the company expects to receive as a result of projects awarded within
       the performance period as a percentage of expected revenue from these projects.
       The Committee selected these performance criteria because, although measured
       over a relatively short period, they relate to contracts that typically will extend a
       number of years into the future and thus will generate, and position the company
       for, increased future earnings. The Committee believes the inclusion of the two
       different measures is appropriate given the diversified nature of our business. The
       relative weightings are determined based on the company's relative business
       priorities and may be changed from time to time. These measures are not reported
       in our financial statements, as disclosure of the new awards gross margin targets
       would result in competitive harm to the company, but are set at levels intended to
       challenge our executives to achieve business goals established as part of the annual
       strategic plan.




                                               - 56 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 57 of 153 PageID 57



         128.   The VDI award structure encouraged the Individual Defendants to approve risky

contracts, front load deals, and let the Company deal with the inevitable resulting charges at a

future point without compromising their compensation. Several of Fluor's problematic fixed-price

projects on which it took subsequently took tremendous charges were awarded while this nefarious

compensation scheme was in place, including the Brunswick County Plant, Greensville County

Plant, Anderson County Plant, Citrus County Plant, Radford Plant, CPChem Project, Warren

Project, and Penguins Offshore Project.

         129.   Fluor calculated "new awards gross margin" by taking the difference between the

fixed-price contract amount and the estimated costs to complete the project. Thus, by deliberately

underestimating the costs to complete a project, the Individual Defendants were able to, and did,

further their own self-interests while forcing the Company to bear the resulting risk and expense.

In addition to ensuring Fluor's bid would win the award, artificially lowering the costs to complete

a project also increased "new awards gross margin" by creating the illusion that the contract was

more profitable than it actually was. As a result, the Individual Defendants acted against the

Company's best interests and in favor of themselves to directly increase their compensation

through contract awards predicated on unachievable bid assumptions.

         130.   From 2012 to 2014, target long-term incentives constituted approximately 75% of

total executive compensation.     These long-term incentives were paid out in roughly equal

percentages of VDI performance units (paid in cash or stock), stock options, and restricted stock

units.

         131.   The 2013 Proxy details executive compensation for 2012, the year the Company

was awarded the Brunswick County Plant. The 2013 Proxy reported that in 2012, Fluor's

achievement of new awards gross margin reached 147% of the target VDI payout level. As a




                                               - 57 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                     Page 58 of 153 PageID 58



result, defendants Seaton, Porter, Stanski, and Hernandez earned "performance units" at 1.47 times

the rate of the target units granted for each named executive, as detailed by the table below:




       132.    Half of these performance units vested on February 28, 2013, with the remaining

half vesting three years later, on February 28, 2015. Defendant Seaton received $1.7 million when

just the first half vested, exceeding his base salary of $1.1 million, and far exceeding his salary

when the second half vested for a total of $3.3 million. Collectively, defendants Seaton, Porter,

Stanski, Hernandez, and Smalley, received VDI awards of $5.7 million based on the Company's

2012 achievement of "new awards gross margin" (including from the Brunswick County Plant),

as detailed by the table below:

         Defendant     Earned Units   Vesting Date       Closing Price   Sub Total     Total
                             11,000         -                  -             -
         Hernandez            5,500     2/28/2013           $61.90        340,450
                              5,500     2/28/2015           $58.00        319,000    $659,450
            Porter           17,370      5/3/2015           $58.70       1,019,619   $1,019,619
                             55,778         -                  -             -
           Seaton            27,889     2/28/2013           $61.90       1,726,329
                             27,889     2/28/2015           $58.00       1,617,562   $3,343,891
                              3,528         -                  -             -
           Smalley
                              1,764     2/28/2013           $61.90        109,192    $211,504




                                                - 58 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                     Page 59 of 153 PageID 59



                               1,764    2/28/2015           $58.00           102,312
                               7,856         -                -                -
                               3,928    2/28/2013           $61.90           243,143
           Stanski
                               3,928    2/28/2015           $58.00           227,824       $470,967
                                                                                       $5,705,431

In order to maximize the value of the second half of their earned units, these defendants concealed

the issues surrounding the Company's fixed-price projects, as well as the initial charge on the

Brunswick County Plant. As a result, the second-half performance units vested at an artificially

inflated rate of $58 per share on February 28, 2015. The day after the July 31, 2015 disclosure of

the initial charge on the Brunswick County Plant, Fluor's stock traded at $46.75 per share.

       133.    Fluor's Proxy Statement on Schedule 14A filed with the SEC on March 11, 2014

(the "2014 Proxy"), describes executive compensation for 2013, the year the Company bid on the

Radford Plant and won the CPChem Project. The 2013 executive compensation and VDI award

structure was substantially similar to 2012, except for the VDI performance awards vested on the

three year anniversary of the grant date, in 2016. The 2014 Proxy reported that, in 2013, Fluor's

achievement of new awards gross margin reached 131% of the target VDI payout level. As a

result, defendants Seaton, Porter, Stanski, and Hernandez earned "performance units" at 1.31 times

the rate of the target units they were granted for the year. These shares vested on February 5, 2016,

as the Individual Defendants continued to mislead the market and conceal Fluor's bidding and

execution issues. Thus, defendants Hernandez, Porter, Seaton, and Stanski, were not only awarded

for underbidding on the Radford Plant and the CPChem Project, but also for disseminating

improper statements. When their VDI performance units vested, these defendants collectively

received $4.1 million worth of Company stock, as shown by the table below:

              Defendant     Earned Units   Vesting Date      Closing Price         Total
              Hernandez           10,663         2/5/2016         $44.84       $478,129
                 Porter           15,638         2/5/2016         $44.84       $701,208



                                                  - 59 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 60 of 153 PageID 60



                 Seaton           58,282     2/5/2016        $44.84        $2,613,365
                 Stanski           8,708     2/5/2016        $44.84        $390,467
                                                                           $4,183,168

       134.     The Company's Proxy Statement on Schedule 14A filed with the SEC on March 9,

2015 (the "2015 Proxy") describes executive compensation for 2014, the year Fluor bid on the

Greensville County Plant and was awarded the Anderson County and Citrus County Plants. The

VDI performance award structure and vesting schedule did not change from the previous year.

The 2015 Proxy reported that, in 2014, Fluor's achievement of new awards gross margin reached

200%, or the maximum target VDI payout. As a result, defendants Seaton, Porter, Stanski,

Hernandez, and Chopra earned twice the amount of "performance units" that they were granted for

the year. These shares vested on February 6, 2017, as the Individual Defendants continued to

mislead the market and conceal Fluor's bidding and execution issues. Upon vesting of their VDI

performance units, defendants Seaton, Porter, Stanski, Hernandez, and Chopra collectively

received $6.6 million worth of Company stock, as demonstrated by the table below:

              Defendant    Earned Units    Vesting Date    Closing Price       Total
               Chopra             3,284      2/6/2017         $55.34         $181,737
              Hernandez          17,174      2/6/2017         $55.34         $950,409
                Porter           17,174      2/6/2017         $55.34         $950,409
               Seaton            72,132      2/6/2017         $55.34        $3,991,785
               Stanski           11,164      2/6/2017         $55.34         $617,816
                                                                   Total    $6,692,156

       135.     On May 4, 2017, three months after the 2014 VDI performance units vested—

which were rewarded in part due to the Anderson County Plant contract and its supposed

profitability—Fluor disclosed a $30 million loss related to cost overruns and forecast revisions at

the Anderson County Plant. Two months later, on August 3, 2017, Fluor revealed a $194 million

charge "related to forecast adjustments" on three of the Gas-Fired Plants. The same day, defendant




                                              - 60 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20              Page 61 of 153 PageID 61



Seaton admitted that all four of the Gas-Fired Plants "had a fundamental problem" and "did not

meet the original baseline assumptions due to improper estimating."

        136.   Collectively, defendants Seaton, Porter, Stanski, Hernandez, Smalley, and Chopra

received additional compensation of $16.5 million in VDI performance units for 2012, 2013, and

2014—handsome "performance" rewards that were directly linked to obtaining new contracts for

Fluor and supposedly creating "long-term value." After these units vested at artificially inflated

rates to securely place millions of additional dollars in defendants' pockets, it was revealed that

these awards were not at all based on performance, were far less profitable than they had initially

appeared, and, if anything, marked the creation of a long-term liability rather than value.

        137.   In 2015 and 2016, VDI performance awards were not linked to new awards gross

margin. In the Company's Proxy Statement on Schedule 14A filed with the SEC on March 10,

2016 (the "2016 Proxy"), the Board effectively conceded that using new awards gross margin as

the VDI performance metric did not reflect long-term performance and was atypical. Specifically,

the 2016 Proxy stated that "in order to better align named executive pay with long-term

performance and peer company practice" the Organization and Compensation Committee replaced

new awards gross margin with two different performance goals for the 2015 VDI awards.

Specifically, the 2015 VDI awards and also the 2016 VDI awards were based upon earnings per

share and return on operating assets employed ("ROAE").13 The Company's executives had less

success meeting VDI payout targets when the performance goals actually measured long-term

performance and value creation. Fluor did not meet the minimum target for the 2015 VDI awards.




13
   Fluor calculates ROAE by dividing full-year corporate net earnings by average net assets
employed for the previous five quarters. Net assets employed is defined as total assets minus
current liabilities.



                                               - 61 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 62 of 153 PageID 62



For 2016, it only achieved 22% of the target. Notably, during those years, Fluor did not bid on

any fixed-price contracts that the Company later identified it needed to take charges on.

       138.    Despite acknowledging that new awards gross margin fails to reflect long-term

performance, the Board went back to using that performance metric in 2017, the year that Fluor

was awarded the Penguins Offshore Project. The Company's Proxy Statement on Schedule 14A

filed with the SEC on March 8, 2018 (the "2018 Proxy"), touts that Fluor received $12.6 billion in

new awards in 2017 and details executive compensation for that year. The 2018 Proxy explains

the 2017 VDI awards were based 70% on new awards gross margin and 30% on ROAE. The VDI

awards granted to the named executives in 2017 were subject to a three-year performance period,

from 2017 to 2020, and could be increased or decreased by 25% depending upon the Company's

three-year cumulative total shareholder return relative to its peers. The 2017 VDI awarded were

divided into three "tranches," each of which represented one-third of the number of shares. The

first tranche was subject to the 2017 VDI performance goals, with the remaining second and third

tranches subject to performance goals established in 2018 and 2019, respectively.

       139.    The Company maintained this structure for 2018, the same year it was rewarded

the Warren Project. Fluor's 2019 Proxy touts that "new awards more than doubled to $27.7 billion"

in 2018 while detailing executive compensation for that year.

       140.    The total 2017 and 2018 VDI target values approved by the Organization and

Compensation Committee for each named executive—which would double if the Company met

the maximum performance level—provided powerful incentives to increase new awards gross

margin through whatever means. As shown by the table below, these amounts were much greater

than the executives' base salary:




                                              - 62 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 63 of 153 PageID 63



                          Defendant     Year      Base Salary   VDI Target Value
                           Seaton       2017      $1,295,000      $4,400,071
                                        2018      $1,334,000      $4,400,000
                           Stanski      2017       $700,000        $802,581
                                        2018       $717,540       $1,300,000
                          Hernandez     2017       $630,000       $1,287,579
                                        2018       $655,200       $1,425,000
                                        2017       $841,300       $1,492,611
                           Porter14
                                        2018           -               -

          141.    With these powerful incentives, defendants Seaton, Stanski, Hernandez, and Porter

once again approved and directed bids with underestimated project costs in order to win contracts

and increase new awards gross margin, and, in turn, their own compensation, without regard to the

increased risk and long-term consequences to Fluor. The Penguins Offshore Project, the Warren

Project, and the underestimated costs underlying those projects contributed significantly to new

awards gross margin and thus the amounts of VDI units awarded in 2017 and 2018. Fluor would

subsequently announce taking hundreds of millions of dollars in charges on those fixed-price

projects while also damaging its stock price.

          142.    Although the precise amounts are unknown due to the three-year performance

period and the Company's failure to file its most recent Annual Report and Proxy Statement, based

on the information provided in Fluor's public filings, defendants Seaton, Stanski, Porter, and

Hernandez collectively received estimated 2017 and 2018 VDI units totaling an approximate $12.8

million, as detailed by the table below:15

                                                                Granted          Total
                 Name           Award          Granted UnitsA   Amount         Combined
                 Seaton
                               2017 VDI           79,016         $4,321,029    $7,435,369




14
     Defendant Porter resigned in August 2017 and therefore was not granted any 2018 VDI awards.
15
     See Exhibit B attached hereto for details regarding the calculation of these estimates.


                                                     - 63 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                      Page 64 of 153 PageID 64



                              2018 VDI          46,914            $3,114,340

                              2017 VDI          14,412              $788,132
                Stanski
                              2018 VDI          13,860              $920,083     $1,708,215

                Porter        2017 VDI          26,804            $1,465,772
                              2018 VDI             -                 -           $1,465,772

                              2017 VDI          23,123            $1,264,474
              Hernandez
                              2018 VDI          15,194            $1,008,639     $2,273,113
                                                                        Total   $12,882,468
              (A) Granted units for 2017 include tranches 1-3, with tranche 3 amounts
              calculated as the average of tranches 1 & 2. Granted units for 2018 include
              tranche 1-2, with tranche 2 amounts representing the same as tranche 1.

       143.      In each of the Company's Proxy Statements, the Board assured stockholders that

"[w]e design compensation programs that do not encourage behavior that could create material

adverse risks to our business." Industry standard says otherwise. The AICPA Guide explicitly

warns about performance awards being directly linked to new awards gross margin, or

"[i]ncentives due to management or employee, or both, bonus arrangements, based on job

profitability." This incentive and pressure, the AICPA Guide points out, "can create a higher risk

of the presence of fraud occurring at a construction entity." Thus, due to and as additional evidence

of the Board's failure to oversee the Company's risks, these fiduciaries inserted an executive

compensation plan, created the risk of fraud, and furthered its actual occurrence.

 THE INDIVIDUAL DEFENDANTS' BREACHES OF DUTY RESULTED IN A SERIES
                     OF IMPROPER STATEMENTS

       144.      To conceal their wrongdoing, secure executive bonuses, and capitalize off

artificially inflated stock prices, the Individual Defendants disseminated a series of improper

statements from at least August 2013 to February 2020. Specifically, these fiduciaries downplayed

the Company's bidding and execution issues, overinflated the Company's financial condition,




                                                   - 64 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20             Page 65 of 153 PageID 65



concealed unresolved matters and unrecorded charges, and assured that Fluor's internal controls

and disclosure procedures were effective.

Improper Statements Concerning Fluor's "Conservative" Bidding Process and Risk
Management

        145.   Although the Company's bids were aggressive and unachievable due to the

miscalculation of costs, the Individual Defendants went out of their way to repeatedly assure

investors that Fluor was conservative in its bidding practices and could effectively manage any

risks surrounding fixed-price contracts.

        146.   The Individual Defendants emphasized that "Risk Management" was one of Fluor's

"Competitive Strengths" in each of its Annual Reports filed with the SEC on Forms 10-K during

the period of wrongdoing.16 The Forms 10-K from 2013 to 2018 (the "Forms 10-K") assured that

the risks posed by complicated, fixed-price contracting were mitigated by Fluor's "experienced

management team." Specifically, the Forms 10-K stated in identical or substantially similar

language:

        Risk Management We believe that our ability to assess, understand, gauge, mitigate
        and manage project risk, especially in difficult locations or circumstances or in a
        fixed-price contracting environment, gives us the ability to selectively enter into
        markets or accept projects where we feel we can best manage risks. We have an
        experienced management team, particularly in risk management and project
        execution, which helps us to better anticipate and understand potential risks and,
        therefore, how to manage them. Our risk management capabilities allow us to
        better control costs and ensure timely performance, which in turn leads to clients
        who are satisfied with the delivered product.




16
  As specified in Exhibit C attached hereto, the Company filed its Annual Reports with the SEC
on Forms 10-K on February 18, 2014 (the "2013 Form 10-K"); February 18, 2015 (the "2014 Form
10-K"); February 18, 2016 (the 2015 Form 10-K), February 17, 2017 (the "2016 Form 10-K");
February 20, 2018 (the 2017 Form 10-K); and February 21, 2019 (the "2018 Form 10-K"). The
defendant signatories to the Forms 10-K are shown in Exhibit C.



                                              - 65 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 66 of 153 PageID 66



       147.    In addition, the Forms 10-K downplayed the risks posed by large-scale project

awards. Despite knowledge that Fluor was taking on risk by negotiating prices down in order to

win project awards the Individual Defendants represented that the Company does not take on the

"unusual risks" or unacceptable contracting terms like many of its competitors. In particular, Fluor

stated in identical or substantially similar language in the Forms 10-K:

       We may not win contracts that we have bid upon due to price, a client's perception
       of our ability to perform and/or perceived technology advantages held by others.
       Many of our competitors may be more inclined to take greater or unusual risks
       or terms and conditions in a contract that we might not deem acceptable.

       148.    On February 18, 2014, Fluor held an earnings conference call with analysts and

investors in connection with filing the 2013 Form 10-K. During the call, an analyst asked whether

Fluor would need to "take [on] extra risk" in order to achieve the "higher levels" of margin that

the Company was anticipating. In response, defendant Seaton stated the Company's risk profile

had not increased while conveying that Fluor was managing any risk stemming from its fixed-

price contracts. He further assured that the Company could profitably execute all of its fixed-price

projects. Specifically, defendant Seaton stated:

       We have not seen our risk profile increase, based on the new awards that we are
       booking right now. Yes, there are some that are fixed-price in nature. But I would
       say that we feel very comfortable in taking the projects that we are on the fixed
       price basis, and that's not just in oil and gas, but I would say across the Company.

       We feel pretty good about our ability to execute against that. I think the increase
       that you are seeing is part of the mix change. But, I think it's also a recognition that
       we've got a value proposition that lets us get paid for the value that we provide. I
       feel really positive about where we are and where we are headed. I have great
       confidence in our teams to being able to deliver the profitability that we expect.

       149.    On June 5, 2014, the Company presented at the Credit Suisse Engineering &

Construction Conference. During the conference, defendant Seaton represented that, despite




                                                - 66 -
   Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 67 of 153 PageID 67



competition, Fluor was both "conservative" and selective in its bids. Specifically, defendant

Seaton stated:

        Power, as I mentioned, has just kind of been on its ear. I would suggest that that's
        probably one of the most competitive markets that we work in right now. We have
        been fairly successful on the coal-fired side. We've got a lot of proposals pending
        and we feel good about that.

        However, we have lost a few to competition who need it more than we do. One of
        the things that we enjoy is that diversity and it allows us -- this is going to sound
        arrogant, and I don't mean it that way -- we have the ability because of that diversity
        to say no and make sure that we get projects that we want at the price we want,
        that allows us to earn the profitability we expect.

        So we are pretty conservative in how we do things like that, but it does give us I
        think an advantage in making sure we don't take projects that begin in a
        challenged nature.

        150.     On July 31, 2014, Fluor held an earnings conference call with analysts and investors

to discuss its financial results for the second quarter of 2014. During the call, defendant Seaton

lauded Fluor's ability to win projects with conservative bids, in part due to its careful selection of

"the projects [the Company] want[s] to chase." In particular, defendant Seaton stated during the

call:

        We do a really good job of choosing carefully the projects we want to chase.
        We're conservative in how we take them in, and in those projects are holding to
        the schedules that we expected.

        151.     During the question and answer session, an analyst noted that "[t]here's been a lot

of discussion about pricing maybe getting a little bit more aggressive in North America from the

Western competitors," and asked what the Company was seeing there.                 Defendant Seaton

responded stating although the Company had seen "some really aggressive pricing" from its

competitors, Fluor's quality bidding practices ensured it could nonetheless profitability execute.

In particular, defendant Seaton stated:




                                                - 67 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 68 of 153 PageID 68



          We've seen some really aggressive pricing in the power market, and in the
          infrastructure market.

          Again, we've got the profit expectations built into what our offering is. And we'll
          let the chips fall where they may. But I would say that we've seen an increased
          competitive landscape in North America.

          152.   On August 14, 2014, the Company presented at the Jefferies Global Industrials

Conference. During the conference, Ken Lockwood ("Lockwood"), the Company's Vice President

of Investor Relations, assured that although fixed-price contracts "have a risk element," due to its

effective risk management Fluor was "very comfortable with that risk." Specifically, Lockwood

stated:

          And then from a contract type, if you look at an engineering and construction
          company, there are basically two types of contracts, fixed-price contracts and
          reimbursable contracts. Reimbursable by nature, by definition, are low risk or no
          risk. Fixed-priced contracts, obviously, have a risk element that is fixed cost and
          fixed schedule. We tend to do those predominantly in infrastructure and in power.
          We are very comfortable with that risk and we are very comfortable with this risk
          profile. So, really nothing noteworthy there.

          153.   On November 13, 2014, Fluor held its Investor Day conference. During the

conference, defendant Seaton maintained he was confident that Fluor's strategy and "discipline"

around bidding would yield profits. Defendant McSorley added that due to its selectivity and

"estimating capability," the Company executed projects within budget, on schedule, and without

claims. In particular, defendants Seaton and McSorley stated:

          [Defendant Seaton:]

          We do believe that some of our competitors are in a weakened state. As you've
          heard me say, because of that diversity, we've had an ability to say no in certain
          markets when our competition -- if that's the only market they're in and they have
          a different position. Now, I hope that doesn't sound arrogant; I certainly don't mean
          it that way. But we believe that our strategy and the discipline we have around
          how we bid, who we bid to, what projects are actually going to go to FID, which
          ones are actually going to get to the field, I think provides a lot more confidence,
          at least for me, in terms of insight into those longer-term earning cycles.




                                                 - 68 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 69 of 153 PageID 69



                                         *       *      *

       [Defendant McSorley:]

       Let's talk about some of our existing projects. As I said, our work is lump sum in
       the power industry. And over the past three to five years, we have really had a solid
       execution of our projects. Many of you in here hear about companies struggling in
       the power EPC space, some of them wanted to maybe even exit the space.

       All of our projects over the past four or five years: on budget, on schedule, no
       claims. This is largely due to our selectivity. We don't chase everything that is out
       there. Our estimating capability and, of course, our execution of the work.

       154.      On February 18, 2015, the Company held an earnings conference call with analysts

and investors in connection with filing the 2014 Form 10-K. During the call, analysts questioned

whether Fluor's purportedly "disciplined bidding" hampered its ability to gain market share in the

gas-fired power plant market. Defendant Seaton conveyed it would not, reassuring analysts of

Fluor's competitive advantage while concealing that, in reality, the Company would only be

awarded projects by lowering its bids and weakening its bidding practices. Specifically, defendant

Seaton stated:

       So regardless of the competitive situation, we feel like we are in the best position
       to give them the best asset at the best price and at the same time maintain the
       profitability that we expect. So, I think we've kind of changed the game here and I
       think that is going to bode well for us for many, many years to come.

       155.      Also during the call, analysts inquired into the Company's growth and risk

concerning its fixed-price contracts. In response, defendant Seaton distinguished the Company

from its competitors while stating that Fluor would maintain its conservative and selective

approach to bidding on projects. In particular, defendant Seaton stated:

       I think over time we have been very conservative in what we take in and how
       confident we are in that going forward.

       So I don't really see a lot of risk in our current backlog from a cancellation or a
       delay perspective.




                                               - 69 -
     Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 70 of 153 PageID 70



                                          *      *       *

        Well, I think Power has become, if you can believe it, more competitive. There is
        a lot of people that don't have the diversity that we have that are forced to make
        some, in my opinion, some poor decisions on what they expect and what they will
        accept.

        I do believe we are in a good position to grow backlog in Power over the short
        term. And I feel good about our position regardless of the fuels choice.

        156.     On March 5, 2015, Fluor issued its 2014 Annual Report.17 The 2014 Annual Report

continued to tout the Company's selective bidding, stating: "[t]he Power group serves a

geographically focused, fiercely competitive, lump-sum industry. In this environment, we have to

be highly selective in the projects we bid. We had an active year, winning and progressing projects

in the gas, renewables and nuclear sectors."

        157.     On April 30, 2015, the Company held an earnings conference call with analysts and

investors to discuss its financial results for the first quarter of 2015. During the call, an analyst

asked about Fluor's "disciplined bidding" practices, noting the existence of "competitors trying to

get more competitive on pricing in an attempt to fill volumes." In response, defendant Seaton

reaffirmed the Company's commitment to disciplined bidding, conveying that, in contrast to its

competitors, Fluor would refuse to lower its bids in order to obtain awards. In particular, defendant

Seaton stated:

        Well I'm sure they will, I'm sure they will. That's the normal herd mentality I
        think that damages our industry. I think what we've proven is that we focused on
        a better delivery model, and therefore, we don't have to have margin suffer
        because we're competitive in other ways.

        But there's always somebody that's going to drop their price to ensure that they
        have the volumes that they want. And frankly, there's nothing I can do about that.
        I'm going to focus and our people are going to focus on continuing to improve our


17
  The Company issues an "Annual Report" to its stockholders distinct from its Forms 10-K filed
with the SEC.



                                               - 70 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 71 of 153 PageID 71



       offering and meet my expectation and your expectation in terms of creating
       shareholder value through enhanced margin performance. So we're just going to
       stick to our knitting and let others do what they think they need to do to meet their
       needs.

       158.    On June 4, 2015, Fluor presented at the Credit Suisse Engineering & Construction

Conference.    During the conference, defendant Porter stated that Fluor would maintain its

conservative bidding approach without compromising profits in response to analyst concerns that

the Company's profit margins were threatened by the increase in fixed-price work and a

competitive bidding environment. Specifically, defendant Porter stated:

       No, we're not changing our approach at all. I think we've proven over the last
       two years that we have kind of changed how we look at projects, and have the
       ability to deliver those things on a more cost-effective basis. That does not mean
       that we are dropping margin.

       And I think it's kind of one of these things where our diversity is a positive overall,
       but it also puts us in an awkward position sometimes where many of our
       competition, depending on whatever market it is, that that's all they do. We kind of
       have the ability to say no. And we'll continue to do that on these projects that are
       marginal….

       Two, they don't provide the profitability that we expect, or the contract is in a
       form that puts undue risk on our books as opposed to the balanced approach we
       like to see. So, we have not changed our DNA in terms of how we look at projects,
       and the conservative nature that we are, and the way we put things in the backlog,
       and how we execute things. So that hasn't changed at all.

       159.    During the conference, defendant Seaton also reiterated Fluor's commitment to

conservative bidding. In particular, he stated:

       As I mentioned, we are -- and I hope this doesn't come across as arrogant because
       I don't mean it that way -- being able to say no, I think is the right thing in terms
       of shifting from a competitive price to where we are actually, as an industry,
       accepting liabilities that should be borne by the customer or somebody else. So,
       we are seeing some of those types of behaviors again. And we'll stick to our
       knitting.

       160.    On November 10, 2015, Fluor presented at the Robert W. Baird and Co. Industrial

Conference. During the conference, Geoff Telfer, the Company's Senior Vice President of



                                                  - 71 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 72 of 153 PageID 72



Corporate Finance, conveyed there was no reason to be concerned about Fluor's fixed-price

projects. Specifically, Mr. Telfer stated:

       The lump sum plays are -- traditionally it is the power play and the infrastructure.
       And they were starting to see more now and especially when we work for the
       NOCS. They tend to like the fixed-price work. But we are not -- we are very
       comfortable going fixed price on anything now. With the way that we are
       executing our projects with our supply chain, we are very comfortable doing fixed
       price.

       161.    On November 3, 2016, Fluor held an earnings conference call with analysts and

investors to discuss its financial results for the third quarter of 2016. During the call, defendant

Seaton touted the Company's proven ability to compete notwithstanding its ongoing commitment

to disciplined bidding. In particular, defendant Seaton stated:

       And we are going to maintain our discipline. And there will be some folds that
       will do some silly things, and maybe in a few years they will regret that.

       But it is what it is. But we're proven over time that we can compete.

       162.    On November 7, 2016, Fluor held its Investor Day conference.               During the

conference, an analyst inquired into "how tempting is it to sort of take on work that's maybe a little

more borderline from the execution perspective or risk perspective to sort of fill in the gaps." In

response, defendant Seaton stated that, rather than engage in the "stupid things" that competitors

were doing, Fluor would maintain its discipline. Specifically, defendant Seaton stated:

       I'm going to kind of push part of this question along, but I think the short answer is
       we're going to maintain our discipline. We're not going to do stupid things like
       we're starting to see in the marketplace.

       We've proven over time that when we focus on our own knitting and changing our
       own world and controlling the things that we can control, we do better and we're
       going to continue that. So, again, in the short term, I don't see us doing things like
       that.

       163.    On May 9, 2017, Fluor presented at the Wells Fargo Industrial and Construction

Conference. During the conference, defendant Porter represented that the Company would



                                                - 72 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 73 of 153 PageID 73



continue to maintain its practice of avoiding aggressive and risky bidding. In particular, defendant

Porter stated:

       [W]e feel very good about our market share and having protected it. So it's not a
       matter of losing out. It's just a matter of the projects not moving forward at this
       point or -- once again, we expect that to change here in the foreseeable future. From
       a pricing standpoint, I wouldn't say we're pricing or looking to price business any
       differently today than we were 4 or 5 years ago. The markets that were competitive
       today are competitive -- they are the same ones that were competitive 4 or 5 years
       ago. And those largely have been the Power business more than any other. On the
       Power business, we can see as many as 5 competitors on a particular proposal.
       When you get to energy and chemicals, it may just be a couple. So it's rational. We
       haven't -- so broadly speaking, the markets are rational. We haven't seen a situation
       like there was many years ago with the Korean companies coming in and bidding
       very aggressively. I think they got punished for that, and the customers weren't
       happy with how it all turned out. And we haven't seen a return of that kind of
       environment. And so happily, it's rational. I believe it will stay that way, but if
       somebody did decide to be irrational, we're not going to chase it. We're not going
       to take that risk.

       164.      The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing: (i) the Company was unable to

"anticipate and understand potential risks," and to the extent it was able, Fluor ignored those risks

in order to win contract awards, thereby increasing its risk profile; (ii) the Company's bidding

practices were neither conservative nor selective and instead were based on ensuring Fluor would

win awards rather than expected profit; and (iii) the Company's fixed-price projects over the past

four or five years were not "on budget, on schedule, [and without any] claims," as defendants later

admitted in 2018 that "10 of the 12 [fixed-price gas-fired projects the Company had undertaken

since 2013] have underperformed our as-sold expectation, with 3 suffering losses."

Improper Statements Concerning the Progress of the Gas-Fired Plants

       165.      While assuring stockholders of the Company's conservative yet profitable bidding

practices, the Individual Defendants also misrepresented the Gas-Fired Plants' construction and



                                               - 73 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 74 of 153 PageID 74



budget progress. In particular, these fiduciaries assured they were "quite comfortable with" and

"[felt] really good about" the Company's fixed-price project execution when, in reality, the

Company was encountering significant disruption and incurring additional costs.

       166.    On August 14, 2013, Fluor issued a press release announcing that it had received

full notice and approval to move forward with construction at the Brunswick County Plant, a new

1,358-megawatt, natural gas-fueled power station located in Virginia. The press release touted

Fluor's expected revenue on the Brunswick County Plant while pointing out that it had already

"beg[u]n providing engineering and procurement services on the plant" last year. In particular, the

press release stated:

       Fluor Corporation announced today that it received full notice to proceed from
       Dominion Virginia Power (NYSE: D) to begin construction on the company's new
       1,358-megawatt, natural gas-fueled power station in Brunswick County, Virginia.
       This award follows the limited notice to proceed contract that Dominion awarded to
       Fluor in August 2012. Fluor booked approximately $800 million into backlog
       during the third quarter of 2013.

       "Fluor is pleased that the project has received the approval from the Virginia State
       Corporation Commission to move forward with construction," said Matt McSorley,
       senior vice president and head of Fluor's Power business. "We look forward to
       continuing to provide Dominion with our full suite of engineering, procurement
       and construction services on this significant new power source in the eastern United
       States."

       Fluor began providing engineering and procurement services on the plant from
       its Charlotte, North Carolina office last year while Dominion awaited regulatory
       approvals to begin construction. The project is expected to staff approximately 600
       craft workers at peak during the construction phase.

       167.    The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing that: (i) contrary to the Individual

Defendants' rosy projects, Fluor's bid for the Brunswick County Plant was artificially low and




                                              - 74 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 75 of 153 PageID 75



based on flawed assumptions; and (ii) Fluor could not achieve the "baseline assumptions"

underlying its bid for the Brunswick County Plant.

       168.    On February 18, 2014, the Company filed the 2013 Form 10-K. The 2013 Form

10-K stated that Fluor's revenue in the Power segment was "65 percent higher compared to 2012,

primarily attributable to a significant increase in project execution activities for a solar power

project in the western United States and two gas-fired power plant projects in Texas and Virginia."

In addition, the 2013 Form 10-K noted that "[n]ew awards of $1.5 billion in 2013 included a natural

gas-fired power plant project in Virginia."

       169.    On the same day, during Fluor's earnings conference call with analysts and

investors, defendant Seaton represented that Fluor's risk profile had not increased from its recently

awarded fixed-price contracts while touting his confidence in the Company's project execution

abilities. In particular, defendant Seaton stated:

       We have not seen our risk profile increase, based on the new awards that we are
       booking right now. Yes, there are some that are fixed-price in nature. But I would
       say that we feel very comfortable in taking the projects that we are on the fixed
       price basis, and that's not just in oil and gas, but I would say across the Company.

       We feel pretty good about our ability to execute against that.

       170.    On October 30, 2014, Fluor held an earnings conference call with analysts and

investors to discuss its financial results for the third quarter of 2014. During the call, an analyst

asked defendant Seaton if he could "comment on how the execution is going on [Fluor's] fixed-

price projects." In response, defendant Seaton stated: "I feel really good about where we stand

[and] where we are at this stage of the game on our fixed-price projects," including the

Brunswick County Plant.

       171.    On November 13, 2014, Fluor announced it was awarded contracts for the

Anderson and Citrus County Plants. On the same day, the Company held its Investor Day



                                                - 75 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 76 of 153 PageID 76



conference. During the conference, defendant McSorley touted the Company's performance on its

fixed-price projects while distinguishing Fluor from competitors who were struggling in the fixed-

price power EPC space and wanted to leave the market (an exit that Fluor would subsequently

take). He buttressed his claims by stating that "[a]ll of [Fluor's] projects over the past four or five

years" were "on budget, on schedule," and had "no claims." Specifically, defendant McSorley

stated:

          Let's talk about some of our existing projects. As I said, our work is lump sum in
          the power industry. And over the past three to five years, we have really had a solid
          execution of our projects. Many of you in here hear about companies struggling
          in the power EPC space, some of them wanted to maybe even exit the space.

          All of our projects over the past four or five years: on budget, on schedule, no
          claims. This is largely due to our selectivity. We don't chase everything that is out
          there. Our estimating capability and, of course, our execution of the work.

          172.   Also during the conference, defendant McSorley specifically touted Fluor's

progress on the Brunswick County Plant, stating its construction was "on track, on schedule and

cost."

          173.   In its 2014 Annual Report issued on March 5, 2015, the Company emphasized its

successful execution of gas-fired projects, in particular the Brunswick County Plant, stating that,

"[t]he project is about 40% finished, on schedule and on budget."

          174.   On April 27, 2015, the Company issued a press release announcing it had been

awarded the Greensville County Plant project. Defendant McSorley is quoted in the press release

underscoring Fluor's success on the Brunswick County Plant. In particular, he stated: "Fluor has

a proven track record supporting Dominion in their goal to provide clean, reliable, and low-cost

energy to their Virginia customers."

          175.   On April 30, 2015, Fluor held an earnings conference call with analysts and

investors to discuss its first quarter 2015 financial results. During the call, defendant Seaton



                                                 - 76 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 77 of 153 PageID 77



assured stockholders that the Company was "performing very, very well in the power sector" under

its fixed-price projects. Specifically, he stated:

       [O]ur relationship with Dominion, I think Greensville shows that we execute for
       them on the projects that they need. That's a very large project that we're going to
       backlog next year when we get to final notice to proceed.

       So I think they're kind of on a roll, and I think that we've looked at the things we
       need to look at around competitiveness. I think our execution approach is sharpened
       relative to how we do those projects. Those projects were typically lump sum, so
       it's how well are we performing. And I think we're performing very, very well in
       the power sector.

       So I'm pretty bullish on them being able to deliver on what we've got in front of
       us, but I wouldn't suggest what number projects that are out there in front for award
       in the next little while. But Greensville is a very, very important win and a very
       large project.

       176.    On June 4, 2015, defendant Seaton presented at the Credit Suisse Engineering &

Construction Conference.      During the conference, defendant Seaton praised the Company's

capabilities in power projects, specifically noting its successful implementation of turbines (the

most crucial component of Fluor's gas-fired power projects). These statements conveyed that there

had been a smooth installation of the Mitsubishi turbines at the Brunswick County Plant, and that

the Company had not, and would not, face installation issues at the other Gas-Fired Plants.

Specifically, defendant Seaton stated:

       You go to power, we are seeing a big uptick in power. I feel good about where we
       are there. We are probably one of the few that can actually implement the gas
       cycle regardless of what the turbine choice is. And we see a significant uptick in
       terms of project load as we go into the next couple of years.

       177.    The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing: (i) Fluor was not executing on schedule

or on budget; (ii) the installation of the Mitsubishi turbines was a fiasco causing the Company to




                                                - 77 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 78 of 153 PageID 78



"accelerate the construction process at great additional cost"; (iii) Fluor could not "implement the

gas cycle regardless of what the turbine choice is"; (iv) all of the turbines the Company used at the

Gas-Fired Plants were "next generation" turbines with which Fluor was inexperienced and that

were the same or substantially similar to the Mitsubishi turbines used at the Brunswick County

Plant and therefore presented the same risks at the other Gas-Fired Plants; (v) the Brunswick

County Plant faced significant delays and cost overruns due to "issues with labor productivity";

and (vi) Fluor's bids for the other Gas-Fired Plants were artificially low and based on faulty

assumptions.

       178.    On October 29, 2015, the Company issued a press release announcing its financial

results for the third quarter of 2015. At this point, the Individual Defendants could no longer fully

suppress the problems mounting against the Brunswick County Plant. Fluor revealed that it had

recorded a $21 million charge related to the plant. However, the Individual Defendants concealed

the remaining issues and costs facing not only the Brunswick County Plant, but also the Company's

other fixed-price projects.

       179.    During the Company's earnings conference call with analysts and investors held on

the same day, Fluor's executives reassured stockholders the charge was an isolated incident despite

knowledge it was just the tip of the iceberg. During the call, an analyst hinted concern that the

Brunswick County Plant issues suggested organizational defects and thus problems for Fluor's

other gas-fired power plant projects and fixed-price contracts in general. Defendant Seaton

responded by affirmatively stating the Brunswick County Plant issues "[are] not symptomatic

within the organization." Defendant Porter echoed these assurances while adding that Fluor had

"done well" on its gas-fired projects. In particular, the analyst asked defendants Seaton and Porter

responded:




                                               - 78 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 79 of 153 PageID 79



       [Analyst:]

       Related to Brunswick County, David, you've been very careful on setting up the
       organization to manage these fixed-price projects to minimize risk. And I do
       remember that this plant had been competitively bid. Just trying to get comfortable
       with the fixed-price mix that's in the rest of the backlog now. Is there something
       different about the way the organization was structured for Brunswick County
       versus the other gas-fired power plants you have in backlog and you're going to put
       in there? And then more broadly, the other oil and gas projects now you have in
       backlog on a fixed-price basis, just trying to be comfortable with the fixed-price
       now.

       [Defendant Seaton:]

       That's a great question. I would put the Brunswick situation in three categories.
       None of which, do I believe are embedded in how we've done any of the others.
       And in fact, we've learned from this and have implemented some of those
       learnings as we bid some of these other programs. It falls into three categories.
       One is the weather that we experienced was a huge factor. As you remember, last
       winter was the coldest winter in a long, long time, maybe in history. And certainly
       Appalachia, I come from not too far from there, it can be really, really cold. And
       we had issues associated with weather. Secondly, we had issues with labor
       productivity, something that is both in and outside of our control. But in terms of
       the learnings, I think that's where we've learned the most. The third piece is that
       Mitsubishi machine, that's the first time it's been installed in the United States,
       and the learnings from that put us in I think a better position going forward.

       So it's not symptomatic within the organization. You are correct; we've taken a
       very measured look at many of the programs and projects we're doing, including
       the ones that are fixed-price. And I don't see a fly in the ointment, so to speak, and
       I guess that's kind of what you were getting at, relative to what we've got in backlog
       or the competitive nature of our offerings.

       [Defendant Porter:]

       The power projects have been competitively bid for the last many years, and we've
       done well on them over the last several that were competitive bids. I wouldn't put
       something in a distinct category just because it happened to be competitively bid.
       It's more attributable to the things David just described, as opposed to it being a
       competitive situation.

       180.   On February 18, 2016, Fluor filed the 2015 Form 10-K. The 2015 Form 10-K

disclosed a fourth quarter $31 million pretax loss resulting from forecast revisions to the

Brunswick County Plant, and further stated that the Power segment "profit for 2015 included a



                                               - 79 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 80 of 153 PageID 80



loss of $60 million (including the reversal of previously recognized profit) resulting from forecast

revisions for a large gas-fired power plant in Brunswick County, Virginia."

        181.   The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing: (i) the turbine and craft labor issues at

the Brunswick County Plant were in fact symptomatic of Fluor's other Gas-Fired Plants; (ii) all of

the Company's Gas-Fired Plants had "fundamental problem[s]" and were afflicted by the same

"improper estimating, craft productivity and equipment issues"; and (iii) Fluor had not "done well"

on gas-fired projects, but instead underperformed on ten out of twelve that it had undertaken since

2013.

        182.   On May 4, 2017, Fluor filed with the SEC its Quarterly Report on Form 10-Q for

the first quarter ended March 31, 2017 (the "Q1 2017 Form 10-Q"). The Q1 2017 Form 10-Q

revealed a $30 million charge on the Anderson County Plant resulting from cost overruns. In

particular, the Q1 2017 Form 10-Q stated: "The decrease in segment profit was driven by cost

increases and forecast revisions of approximately $30 million, primarily for a gas-fired power plant

in South Carolina." The Individual Defendants, however, remained tight-lipped about the extent

of the problems facing the Anderson County Plant and the other Gas-Fired Plants.

        183.   During Fluor's earnings conference call with analysts and investors held on the

same day, defendant Seaton downplayed Fluor's execution problems at the Anderson County Plant

while suggesting it was even possible for the Company to reverse its future losses. Specifically,

defendant Seaton stated:

        [T]he South Carolina project is nearing completion, and there are some issues there
        that I really don't want to talk about because we've got some opportunities,
        hopefully, to maybe reverse some of that.




                                               - 80 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 81 of 153 PageID 81



        184.    On August 3, 2017, Fluor issued a press release announcing its financial results for

the second quarter ended June 30, 2017 and filed with the SEC its Quarterly Report on Form 10-

Q (the "Q2 2017 Form 10-Q"). The press release and the Q2 2017 Form 10-Q revealed that the

Company recorded a $194 million pretax charge related to three of its fixed-price gas-fired power

plants. In particular, the press release stated:

        The Industrial, Infrastructure & Power segment reported a segment loss of $168
        million, compared to a segment profit of $51 million in the second quarter of 2016.
        Results for the quarter include approximately $194 million in pre-tax project
        expenses related to forecast adjustments on three gas-fired power projects.

        185.    On the same day, the Company held an earnings conference call with analysts and

investors to discuss its financial results. Defendant Seaton began the call with an update on the

Gas-Fired Plants and admitted that each of them "had a fundamental problem." Specifically,

defendant Seaton stated:

        I want to start our call today discussing the issues we are experiencing in our
        Industrial, Infrastructure & Power segment, specifically the concerns on 3 gas-fired
        projects currently under construction. All 3 projects, 4 if you include the
        Brunswick project that incurred a charge in 2015, had a fundamental problem.
        The projects did not meet the original baseline assumptions due to improper
        estimating, craft productivity and equipment issues. All of these projects were bid
        in 2014 by the same pursuit team. In addition, all 4 projects were based on next-
        gen turbines or steam generators that were first of a kind for Fluor. The quality
        control and completeness of these turbines delivered to the site were not in line with
        our bid assumptions and we are pursuing our options.

        186.    Although they admitted the Gas-Fired Plants had problems, the Individual

Defendants continued to conceal from stockholders the extent of those problems while offering

assurances that Fluor was on the right path to eliminating future charges. Defendant Seaton

continued his opening remarks by stating that a new management team had reviewed the Gas-

Fired Plants, that the updated forecast reflected any problems within those plants, and the




                                                   - 81 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 82 of 153 PageID 82



Company was "confiden[t] that these types of earnings adjustments [will be] diminished and less

frequent." In particular, defendant Seaton stated:

       So where are we today? Of the 3 currently active projects, 1 is 92% complete, with
       an expected mechanical completion in Q4. One is 45% complete, with an estimated
       completion date of Q2 2018. And the last project [the Citrus County Plant] is 42%
       complete, and is expected to be complete in Q4 2018. I'd make a comment that
       those are construction completion percentages, not overall project percent
       completes. So this is specifically related to the construction scope.

       I've discussed the problems, and now I'd like to talk about we've changed. After we
       had the initial charge last quarter, we changed the Power leadership team and
       brought in Simon Nottingham as the President of that group -- of the Power group.
       Simon comes from our oil and gas group, and he brings to this role his extensive
       background in project and program management. He and his team, in coming to
       this role, led a review of the 3 projects in the second quarter and developed a path
       forward that is reflected in our current estimates. Some members of the Power
       management team have exited Fluor. We also informed our employees that we are
       closing our Charlotte office and consolidating Power operations in Greenville,
       where it will be closer to our other businesses and leadership.

                                     *       *            *

       In addition to the changes in management of Power group, our strategic evaluation
       of the gas-fired power market, we're also implementing other changes to give us
       greater confidence that these types of earnings adjustments are diminished and
       less frequent.

                                     *       *            *

       We -- as I said, we've changed the review process to where there's more cold eyes
       review. And I feel reasonably good about where we are.

       187.    On February 20, 2018, Fluor issued a press release announcing its fourth quarter

2017 financial results and reported a $41 million charge related to the Citrus County Plant.

However, the Individual Defendants continued to conceal the other ongoing problems and

mounting costs at the Citrus County Plant and at the Company's other fixed-price projects.

       188.    On May 3, 2018, Fluor filed with the SEC its Quarterly Report on Form 10-Q for

the first quarter ended March 31, 2018 (the "Q1 2018 Form 10-Q"). The Q1 2018 Form 10-Q




                                                 - 82 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                     Page 83 of 153 PageID 83



disclosed an additional $125 million charge related to the Citrus County Plant, stating: "The

decrease in segment profit was primarily driven by forecast revisions of approximately $125

million for estimated cost growth for the [Citrus County] fixed-price, gas-fired power plant

project."

          189.   On the same day, the Company held an earnings conference call with analysts and

investors to discuss these results. During the call, defendant Seaton explained that "[c]raft

productivity and estimating were materially different than the original baseline expectations we

made in the initial charge on the [Citrus County Plant] last year." Specifically, defendant Seaton

stated:

          Let's start off by discussing the challenges that we are experiencing on the same
          gas-fired power project we discussed last quarter and the steps we're taking to
          complete this project and in Fluor's participation in the specific end market. Craft
          productivity and estimating were materially different than the original baseline
          expectations we made in the initial charge on this project last year. While those
          factors were included in our initial charge, the majority of the $125 million
          charge taken this quarter is driven by extremely low ongoing productivity and the
          financial impact that this has relative to initial expected timing of when the 2
          units would be available for power production based on the current outlook.

          190.   During the question and answer session, an analyst challenged defendant Seaton as

to whether "there [was] anything else [he] could do on the projects to assure investors that they

can invest … in Fluor until the projects are done?" Defendant Seaton responded by pointing out

that he had visited the Citrus County Plant twice in the past year and the he was confident the

project would complete within its new estimate. Specifically, the analyst asked and defendant

Seaton responded:

          [Analyst:]

          …So David, the power project is 86% done, you've said. I think you have one more
          project in backlog of the same A-grade. And it is probably the same level done. Is
          there anything else you could do on the projects to assure investors that they can
          invest, really for the next couple of quarters, in Fluor until the projects are done? I



                                                  - 83 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 84 of 153 PageID 84



       think I remember back in the day, Alan Boeckmann saying he was going to visit
       his embassy problem project every week toward the end of it. Can you do that?
       Shouldn't you do that? Anything more you can do.

                                           *       *       *

       So I just said that -- yes, back in, I think it was 2006 or something, I'm showing my
       age. But Alan Boeckmann had said that he was going to go visit the embassy
       project, his problem projects literally every week until it's done. So as a CEO, what
       more can you do, David? Like we always get the question, "Can I invest in Fluor
       until these problem projects are done?" How would you answer that?

       [Defendant Seaton:]

       Yes, I mean, I've been in the project site twice this year, and I have personally
       directed different resources there. And I am -- I hate to even say confident, but I
       am in the ability of the project to complete within this number, as well -- and look,
       we used an abysmal productivity rate in setting the number that we wrote down. So
       I have confidence that we'll be able to finish. As you said, we're high 80s
       percentage. We're starting to turn over systems to the customer on unit 1. Unit 2, I
       think, will be an easier finish than unit 1 has been. So I feel pretty good about the
       team that's there now, Yes, I'm not going to say that I will be there every week, but
       I'm going to be there on a routine basis, and I have already taken personal review
       of this project. With regard to the other one, and this is a hell of it, is the project in
       Virginia is going very well. It is in the same kind of completion percentage. And
       those guys have done a better job relative to managing that craft and making the
       progress that they need to make. So I feel very good about that project and what
       that team is doing. But yes, I mean when things go bad, the boss has got to be
       there, and I get that. And I have been and will be as we finish this project.

       191.    In his closing remarks, defendant Seaton reiterated that the most recent charge

encompassed all of issues and costs associated with the Gas-Fired Plants. In particular, he stated:

       Despite a disastrous quarter and our disappointment, I'm really excited about the
       future. No one's more disappointed than I am relative to where we are on a very
       finite sample of projects. And we do know where the end is, and we believe we've
       captured that.

       192.    Further, the Individual Defendants stated that "[t]he underperforming gas-fired

projects have been de-risked" in a slide presented during the earnings conference call.

       193.    Then, on August 2, 2018, the Company disclosed yet another charge on the Citrus

County Plant, this time for $16 million, as it issued a press release announcing its financial results



                                                 - 84 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 85 of 153 PageID 85



for the second quarter of 2018. The press release stated: "Results for the quarter include a pre-tax

charge of $16 million for forecast revisions on a gas-fired power project." The Individual

Defendants, however, failed to disclose the remaining problems and costs confronting the

Company's other fixed-price projects.

       194.    On the same day, the Company held an earnings conference call with analysts and

investors to discuss its financial results. During the call, an analyst asked defendant Seaton how

comfortable he was on "the problem projects[.]" In response, defendant Seaton confirmed he was

personally involved in project management while assuring that the rest of the projects would be

completed within their new estimates and that it was even possible to reverse losses with execution

improvements and workarounds. Specifically, he stated:

       I'll start with the power project. I hold a weekly call with the project team,
       including the president of that group, which is almost resident at the site. I can't
       overstate the importance of first fire today because it supports the schedules that
       we have, notwithstanding the charge that we had. The charge that we had this
       quarter was (technical difficulty) both in terms of material and labor associated
       with it, which on other projects, that would have been handled by contingency.
       And because this thing's out in lights, everything stands out, and that's why we
       had to announce it. I still believe that because of the schedule, there's a positive
       adjustment at the end of the year available to us, assuming that we continue to
       perform. But my accounting friends have made us report it the way that we've
       reported it…. But that project is all but done. So I think these legacy issues, as we
       get to December, will be -- are behind us.

       195.    The Individual Defendants, however, continued to conceal that there were still

further issues plaguing the remaining gas-fired plants. Instead, defendant Seaton assured that

"we've done everything in our power to lessen that risk and give us better insight and surety in

terms of our performance going forward."

       196.    The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing: (i) Fluor had not "developed a path



                                               - 85 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                     Page 86 of 153 PageID 86



forward" that was reflected in its then current estimates and the Citrus County Plant was

encountering costly schedule delays; (ii) the Citrus County Plant had not been "de-risked" and

continued to face execution problems resulting in additional costs; and (iii) the charges taken

during the first quarter of 2018 did not "capture[]" the Company's possible future losses on the

Gas-Fired Plants, which the Company would continue to take significant charges on in each of the

following five quarters.

Improper Statements Concerning Revenue and Earnings

          197.   While downplaying Fluor's bidding and execution issues, the Individual

Defendants overstated the Company's financial condition. Specifically, these fiduciaries inflated

the Company's financial statements by improperly recognizing millions of dollars in claim

revenue. In addition, Fluor reported financial metrics on a consolidated and segment-by-segment

basis, including revenue, earnings, new awards, and backlog, without disclosing that those results

were produced by underbidding on fixed-price contracts and threatened by the risk of subsequent

charges.

          198.   On February 18, 2016, the Individual Defendants filed the 2015 Form 10-K. The

2015 Form 10-K reported revenue of $18.1 billion and stated that Fluor had recorded claim revenue

of $30 million as of the end of 2015. In the 2015 Form 10-K, the Individual Defendants stated the

Company recognizes claim revenue for unapproved change orders "when it is probable that the

cost will be recovered through a change in the contract price." Specifically, the 2015 Form 10-K

stated:

          The company has made claims arising from the performance under its contracts.
          The company recognizes revenue, but not profit, for certain claims (including
          change orders in dispute and unapproved change orders in regard to both scope and
          price) when it is determined that recovery of incurred costs is probable and the
          amounts can be reliably estimated. Under ASC 605-35-25, these requirements are
          satisfied when (a) the contract or other evidence provides a legal basis for the claim,



                                                  - 86 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 87 of 153 PageID 87



       (b) additional costs were caused by circumstances that were unforeseen at the
       contract date and not the result of deficiencies in the company's performance, (c)
       claim-related costs are identifiable and considered reasonable in view of the work
       performed, and (d) evidence supporting the claim is objective and verifiable. Cost,
       but not profit, associated with unapproved change orders is accounted for in
       revenue when it is probable that the cost will be recovered through a change in
       the contract price. In circumstances where recovery is considered probable, but the
       revenue cannot be reliably estimated, cost attributable to change orders is deferred
       pending determination of the impact on contract price. If the requirements for
       recognizing revenue for claims or unapproved change orders are met, revenue is
       recorded only to the extent that costs associated with the claims or unapproved
       change orders have been incurred. The company periodically evaluates its position
       and the amounts recognized in revenue with respect to all its claims. As of
       December 31, 2015 and 2014, the company had recorded $30 million and $21
       million, respectively, of claim revenue for costs incurred to date and such costs
       are included in contract work in progress. Additional costs are expected to be
       incurred in future periods. The company believes the ultimate recovery of incurred
       and future costs related to these claims is probable in accordance with ASC 605-
       35-25.

       199.   In discussing the Company's revenue in 2015, the Individual Defendants

emphasized the positive impact of "increased project execution activities" in certain of the Gas-

Fired Plants. In particular, the 2015 Form 10-K stated:

       Revenue in 2015 decreased 6 percent compared to 2014, principally due to a
       decrease in project execution activities for a solar energy project in California and
       a large gas-fired plant in Brunswick County, Virginia. The overall revenue decline
       was partially offset by increased project execution activities for several projects in
       the early stages of project execution, including a gas-fired power plant in
       Greensville County, Virginia and two large gas-fired power plants in South
       Carolina and Florida.

       200.   In addition, the 2015 Form 10-K reported consolidated new awards of "$21.8

billion compared to $28.8 billion in 2014 and $25.1 billion in 2013," with the Individual

Defendants adding that, "[t]he Oil & Gas and Power segments were the major contributors to the

new award activity during 2015." Fluor also reported consolidated backlog of "$44.7 billion as of

December 31, 2015, $42.5 billion as of December 31, 2014, and $34.9 billion as of December 31,




                                               - 87 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                     Page 88 of 153 PageID 88



2013[,]" adding that, "[t]he higher backlog at the end of 2015 was primarily due to significant new

awards in the Power segment…."

          201.   On May 5, 2016, Fluor filed with the SEC its Quarterly Report on Form 10-Q for

the first quarter ended March 31, 2016 (the "Q1 2016 Form 10-Q"). The Q1 2016 Form 10-Q

reported revenue of $4.4 billion and net earnings of $119 million. In addition, Fluor disclosed that

it had recorded $36 million in claim revenue as of the end of the quarter. The Individual

Defendants claimed in the Q1 2016 Form 10-Q that Fluor recognizes claim revenue when it

determines "that recovery of incurred costs is probable." Specifically, the Q1 2016 Form 10-Q

stated:

          The company has made claims arising from the performance under its contracts.
          The company recognizes revenue, but not profit, for certain claims (including
          change orders in dispute and unapproved change orders in regard to both scope and
          price) when it is determined that recovery of incurred costs is probable and the
          amounts can be reliably estimated. Under ASC 605-35-25, these requirements are
          satisfied when (a) the contract or other evidence provides a legal basis for the claim,
          (b) additional costs were caused by circumstances that were unforeseen at the
          contract date and not the result of deficiencies in the company's performance, (c)
          claim-related costs are identifiable and considered reasonable in view of the work
          performed, and (d) evidence supporting the claim is objective and verifiable. The
          company periodically evaluates its position and the amounts recognized in revenue
          with respect to all its claims. As of March 31, 2016 and December 31, 2015, the
          company had recorded $36 million and $30 million, respectively, of claim
          revenue for costs incurred to date and such costs are included in contract work in
          progress. Additional costs, which will increase the claim revenue balance over time,
          are expected to be incurred in future quarters. The company believes the ultimate
          recovery of incurred and future costs related to these claims is probable in
          accordance with ASC 605-35-25.

          202.   In the Q1 2016 Form 10-Q, the Individual Defendants credited the Power segment's

growth with offsetting revenue declines. In particular, the Q1 2016 Form 10-Q stated:

          Consolidated revenue of $4.4 billion for the three months ended March 31, 2016
          decreased slightly compared to $4.5 billion for the three months ended March 31,
          2015. Revenue in the Energy, Chemicals & Mining segment decreased in the
          current year period due to reduced levels of project execution activities in the
          mining and metals business line and for certain large upstream projects progressing



                                                  - 88 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 89 of 153 PageID 89



          to completion. Revenue growth in the Industrial, Infrastructure & Power segment
          due to increased project execution activities for several power projects, as well as
          revenue contributions from the Stork acquisition, largely offset this revenue
          decline.

                                       *       *            *

          Revenue for the three months ended March 31, 2016 increased by 52 percent
          compared to the three months ended March 31, 2015 primarily due to increased
          project execution activities in the power business line for several projects in the
          early stages of project execution including two nuclear projects and several gas-
          fired power plants in the southeastern United States.

          203.   The Q1 2016 Form 10-Q also reported consolidated new awards of $4.7 billion,

compared to $4.4 billion during the previous year's quarter, adding that "[t]he Government and

Industrial, Infrastructure & Power segments were the major contributors to the new award

activity." In addition, the Q1 2016 Form 10-Q reported consolidated backlog of "$46.0 billion

compared to $41.2 billion as of March 31, 2015," adding that, "[t]he increase in backlog was

primarily due to significant new awards booked after the first quarter of 2015 in the Industrial,

Infrastructure & Power segment."

          204.   On August 4, 2016, Fluor filed with the SEC its Quarterly Report on Form 10-Q

for the second quarter ended June 30, 2016 (the "Q2 2016 Form 10-Q"). The Q2 2016 Form 10-

Q reported revenue of $4.8 billion and net earnings of $120 million. In addition, Fluor disclosed

that it had recorded $49 million in claim revenue as of the end of the quarter. The Individual

Defendants claimed in the Q2 2016 Form 10-Q that Fluor recognizes claim revenue when it

determines "that recovery of incurred costs is probable." Specifically, the Q2 2016 Form 10-Q

stated:

          The company has made claims arising from the performance under its contracts.
          The company recognizes revenue, but not profit, for certain claims (including
          change orders in dispute and unapproved change orders in regard to both scope and
          price) when it is determined that recovery of incurred costs is probable and the
          amounts can be reliably estimated. Under ASC 605-35-25, these requirements are



                                                   - 89 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 90 of 153 PageID 90



       satisfied when (a) the contract or other evidence provides a legal basis for the claim,
       (b) additional costs were caused by circumstances that were unforeseen at the
       contract date and not the result of deficiencies in the company's performance, (c)
       claim-related costs are identifiable and considered reasonable in view of the work
       performed, and (d) evidence supporting the claim is objective and verifiable. The
       company periodically evaluates its position and the amounts recognized in revenue
       with respect to all its claims. As of June 30, 2016 and December 31, 2015, the
       company had recorded $49 million and $30 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract work in
       progress. Additional costs, which will increase the claim revenue balance over time,
       are expected to be incurred in future quarters. The company believes the ultimate
       recovery of incurred and future costs related to these claims is probable in
       accordance with ASC 605-35-25.

       205.    The Q2 2016 Form 10-Q noted the Power segment's revenue growth while claiming

that the segment favorably offset lowered earnings in other segments. Fluor explained that the

Power segment's profit had significantly increased from the previous year's quarter, "primarily due

to higher contributions associated with the project execution activities for several power business

line projects in the early stages of project execution." In particular, the Q2 2016 Form 10-Q stated:

       Consolidated revenue of $4.9 billion and $9.3 billion for the three and six months
       ended June 30, 2016, respectively, was essentially flat when compared to
       consolidated revenue of $4.8 billion and $9.4 billion for the three and six months
       ended June 30, 2015. During both periods, revenue growth in the Industrial,
       Infrastructure & Power, Government and Maintenance, Modification & Asset
       Integrity segments were offset by revenue declines in the Energy, Chemicals &
       Mining segment. The revenue growth in both periods resulted primarily from
       increased project execution activities for several power projects, as well as revenue
       contributions from the Stork acquisition.

                                      *      *            *

       Net earnings attributable to Fluor Corporation were $102 million and $206 million
       for the three and six months ended June 30, 2016, respectively, compared to net
       earnings attributable to Fluor Corporation of $149 million and $293 million,
       respectively, for the corresponding periods of 2015. The three and six month
       periods of 2016 reflect lower earnings contributions from the Energy, Chemicals &
       Mining segment compared to the prior year periods, partially offset by higher
       contributions from power projects in the Industrial, Infrastructure & Power
       segment.




                                                 - 90 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 91 of 153 PageID 91



       206.    The Q2 2016 Form 10-Q reported consolidated new awards of $6.4 billion and

backlog of $47.3 billion and credited the Power segment with driving those figures. Specifically,

the Q2 2016 Form 10-Q stated:

       Consolidated new awards were $6.4 billion and $11.1 billion for the three and six
       months ended June 30, 2016, respectively, compared to new awards of $4.3 billion
       and $8.7 billion for the three and six months ended June 30, 2015. The Industrial,
       Infrastructure & Power and Government segments were the major contributors to
       the new award activity in the first half of 2016.

                                         *       *       *

       Consolidated backlog as of June 30, 2016 was $47.3 billion compared to $41.6
       billion as of June 30, 2015. The increase in backlog was primarily due to new
       awards booked after the second quarter of 2015 in the Industrial, Infrastructure &
       Power segment

       207.    On November 3, 2016, Fluor filed with the SEC its Quarterly Report on Form 10-

Q for the third quarter ended September 30, 2016 (the "Q3 2016 Form 10-Q"). The Q3 2016 Form

10-Q reported revenue of $4.76 billion and net earnings of $17.4 million. In addition, Fluor

disclosed that it had recorded $56 million in claim revenue as of the end of the quarter. The

Individual Defendants claimed in the Q3 2016 Form 10-Q that Fluor recognizes claim revenue

when it determines "that recovery of incurred costs is probable." Specifically, the Q3 2016 Form

10-Q stated:

       The company has made claims arising from the performance under its contracts.
       The company recognizes revenue, but not profit, for certain claims (including
       change orders in dispute and unapproved change orders in regard to both scope and
       price) when it is determined that recovery of incurred costs is probable and the
       amounts can be reliably estimated. Under ASC 605-35-25, these requirements are
       satisfied when (a) the contract or other evidence provides a legal basis for the claim,
       (b) additional costs were caused by circumstances that were unforeseen at the
       contract date and not the result of deficiencies in the company's performance, (c)
       claim-related costs are identifiable and considered reasonable in view of the work
       performed, and (d) evidence supporting the claim is objective and verifiable. The
       company periodically evaluates its position and the amounts recognized in revenue
       with respect to all its claims. As of September 30, 2016 and December 31, 2015,
       the company had recorded $56 million and $30 million, respectively, of claim



                                               - 91 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 92 of 153 PageID 92



       revenue for costs incurred to date and such costs are included in contract work in
       progress. Additional costs, which will increase the claim revenue balance over time,
       are expected to be incurred in future quarters. The company believes the ultimate
       recovery of incurred and future costs related to these claims is probable in
       accordance with ASC 605-35-25.

       208.    The Q3 2016 Form 10-Q noted the Power segment's revenue growth while claiming

that the segment favorably offset earnings declines in other segments. Fluor explained that the

Power segment's profit had significantly increased from the previous year's quarter, "primarily due

to the higher volume of project execution activities." Specifically, the Q3 2016 Form 10-Q stated:

       Consolidated revenue for the three months ended September 30, 2016 increased 9
       percent from $4.4 billion to $4.8 billion compared to the three months ended
       September 30, 2015. Consolidated revenue for the nine months ended September
       30, 2016 increased 2 percent from $13.7 billion to $14.0 billion compared to the
       first nine months of the prior year. During both periods, revenue growth in the
       Industrial, Infrastructure & Power, Government and Maintenance, Modification &
       Asset Integrity segments were partially offset by revenue declines in the Energy,
       Chemicals & Mining segment. The revenue growth in both periods resulted
       primarily from increased project execution activities for several power projects, as
       well as revenue contributions from the Stork acquisition.

                                     *       *            *

       Revenue for the three and nine months ended September 30, 2016 increased by 89
       percent and 72 percent, respectively, compared to the three and nine months ended
       September 30, 2015 primarily due to increased project execution activities in the
       power business line for several projects, including two nuclear projects and several
       gas-fired power plants in the southeastern United States, as well as increased project
       execution activities in the infrastructure business line for several projects in the
       early stages of project execution.

                                     *       *            *

       Earnings from continuing operations attributable to Fluor Corporation were $5
       million and $211 million for the three and nine months ended September 30, 2016,
       respectively, compared to earnings from continuing operations attributable to Fluor
       Corporation of $176 million and $469 million, respectively, for the corresponding
       periods of 2015. Earnings from continuing operations attributable to Fluor
       Corporation for the three and nine month periods of 2016 were adversely affected
       by after-tax charges of $154 million and $170 million, respectively, related to
       forecast revisions for estimated cost increases on a petrochemical project in the
       Energy, Chemicals & Mining segment, which were partially offset by higher



                                                 - 92 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 93 of 153 PageID 93



          contributions from power projects in the Industrial, Infrastructure & Power
          segment.

                                        *      *            *

          [Power] [s]egment profit for the three and nine months ended September 30, 2016
          significantly increased from the corresponding periods in 2015 primarily due to the
          higher volume of project execution activities for the power projects mentioned
          above, as well as the adverse impact on segment profit for the prior year periods
          resulting from forecast revisions on a large gas fired power plant.

          209.   The Q3 2016 Form 10-Q reported consolidated new awards of $7 billion and

backlog of $44.3 billion, both representing an increase from the previous year's third quarter. Fluor

credited the Power segment with driving these increases. In particular, the Q3 2016 Form 10-Q

stated:

          Consolidated new awards were $7.0 billion and $18.1 billion for the three and nine
          months ended September 30, 2016, respectively, compared to new awards of $5.3
          billion and $14.0 billion for the three and nine months ended September 30, 2015.
          The Energy, Chemicals & Mining, Industrial, Infrastructure & Power and
          Government segments were the major contributors to the new award activity in the
          first nine months of 2016.

                                        *      *            *

          Consolidated backlog as of September 30, 2016 was $44.3 billion compared to
          $41.7 billion as of September 30, 2015. The increase in backlog was primarily due
          to new awards booked after the third quarter of 2015 in the Energy, Chemicals &
          Mining and Industrial, Infrastructure & Power segments partially offset by a current
          period adjustment for a liquefied natural gas project that was suspended in the third
          quarter.

          210.   On the same day, the Company held an earnings conference call with analysts and

investors to discuss its financial results for the third quarter of 2016. Defendant Seaton began the

call by noting that the Company had taken a "significant charge" on its "fixed-price project for

CPChem in the Gulf Coast[.]" However, he assured stockholders that future charges would be

prevented by changes in Fluor's internal processes. Specifically, defendant Seaton stated:




                                                   - 93 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 94 of 153 PageID 94



       [W]e took a really hard look at this, almost a conservative look at this, because of
       what we knew we had to get done.

       I will mention that this project was bid prior to some of the changes that we've made
       and some of the innovations that we've applied in the integrated solutions model.
       So when you look at where we are going, we shouldn't have these kinds of issues
       in our backlog or in the projects that we win.

       211.   On February 17, 2017, Fluor filed the 2016 Form 10-K. The 2016 Form 10-K

reported revenue of $19 billion and net earnings of $281.4 million. The 2016 Form 10-K also

disclosed that Fluor had recorded claim revenue of $61 million as of December 31, 2016. In the

2016 Form 10-K, the Individual Defendants stated the Company recognizes claim revenue for

unapproved change orders "when it is probable that the cost will be recovered through a change in

the contract price." Specifically, the 2016 Form 10-K stated:

       The company has made claims arising from the performance under its contracts.
       The company recognizes revenue, but not profit, for certain claims (including
       change orders in dispute and unapproved change orders in regard to both scope and
       price) when it is determined that recovery of incurred cost is probable and the
       amounts can be reliably estimated. Under claims accounting (ASC 605-35-25),
       these requirements are satisfied when (a) the contract or other evidence provides a
       legal basis for the claim, (b) additional costs were caused by circumstances that
       were unforeseen at the contract date and not the result of deficiencies in the
       company's performance, (c) claim-related costs are identifiable and considered
       reasonable in view of the work performed, and (d) evidence supporting the claim is
       objective and verifiable. Cost, but not profit, associated with unapproved change
       orders is accounted for in revenue when it is probable that the cost will be
       recovered through a change in the contract price. In circumstances where
       recovery is considered probable, but the revenue cannot be reliably estimated, cost
       attributable to change orders is deferred pending determination of the impact on
       contract price. If the requirements for recognizing revenue for claims or
       unapproved change orders are met, revenue is recorded only to the extent that costs
       associated with the claims or unapproved change orders have been incurred. Back
       charges to suppliers or subcontractors are recognized as a reduction of cost when it
       is determined that recovery of such cost is probable and the amounts can be reliably
       estimated. Disputed back charges are recognized when the same requirements
       described above for claims accounting have been satisfied. The company
       periodically evaluates its positions and amounts recognized with respect to all its
       claims and back charges. As of December 31, 2016 and 2015, the company had
       recorded $61 million and $30 million, respectively, of claim revenue for costs
       incurred to date and such costs are included in contract work in progress. Additional



                                              - 94 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 95 of 153 PageID 95



       costs, which will increase the claim revenue balance over time, are expected to be
       incurred in future periods. The company had also recorded disputed back charges
       totaling $41 million as of December 31, 2016. The company believes the ultimate
       recovery of amounts related to these claims and back charges is probable in
       accordance with ASC 605-35-25.

       212.    In the 2016 Form 10-K, the Individual Defendants attributed Fluor's revenue

growth to the Power and Government segments, and credited the Power segment with offsetting

earnings declines in other segments. In particular, the 2016 Form 10-K stated:

       Consolidated revenue for 2016 was $19.0 billion compared to $18.1 billion for
       2015. During 2016, revenue growth in the Industrial, Infrastructure & Power,
       Government and Maintenance, Modification & Asset Integrity segments were
       partially offset by a revenue decline in the Energy, Chemicals & Mining segment.
       The revenue growth resulted primarily from increased project execution activities
       for several power projects, as well as revenue contributions from the acquired Stork
       business.

                                     *       *            *

       Revenue in 2016 increased 81 percent compared to 2015, primarily due to increased
       project execution activities in the power business line for several projects, including
       two nuclear projects and several gas-fired power plants in the southeastern United
       States….

       Segment profit increased significantly in 2016 compared to 2015 primarily due to
       the higher volume of project execution activities for the power projects mentioned
       above, as well as the adverse impact in the prior year of a loss of $60 million
       resulting from forecast revisions on a large gas-fired power plant in Brunswick
       County, Virginia.

       213.    The 2016 Form 10-K reported consolidated new awards of $21 billion and backlog

of $45 billion, with the Individual Defendants continuing to credit the Power segment with driving

these metrics. Specifically, the 2016 Form 10-K stated:

       Consolidated new awards for 2016 were $21.0 billion compared to $21.8 billion in
       2015 and $28.8 billion in 2014. The Energy, Chemicals & Mining; Industrial,
       Infrastructure & Power; and Government segments were the significant drivers of
       new award activity during 2016, including an award for the Tengiz Oil Expansion
       Project in Kazakhstan that was awarded in the third quarter.

                                     *       *            *



                                                 - 95 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 96 of 153 PageID 96




          Consolidated backlog was $45.0 billion as of December 31, 2016, $44.7 billion as
          of December 31, 2015, and $42.5 billion as of December 31, 2014. The higher
          backlog at the end of 2016 was due to significant new awards and project
          adjustments in the Energy, Chemicals & Mining and Industrial, Infrastructure &
          Power segments, partially offset by an adjustment for a liquefied natural gas project
          that was suspended in the third quarter.

          214.   On May 4, 2017, Fluor filed the Q1 2017 Form 10-Q. The Q1 2017 Form 10-Q

reported revenue of $4.8 billion and net earnings of $77.3 million. The report also disclosed that

Fluor had recorded claim revenue of $66 million as of the end of the quarter. The Individual

Defendants claimed in the Q1 2017 Form 10-Q that Fluor recognizes claim revenue when it

determines "that recovery of incurred costs is probable." Specifically, the Q1 2017 Form 10-Q

stated:

          The company has made claims arising from the performance under its contracts.
          The company recognizes revenue, but not profit, for certain claims (including
          change orders in dispute and unapproved change orders in regard to both scope and
          price) when it is determined that recovery of incurred costs is probable and the
          amounts can be reliably estimated. Under claims accounting (ASC 605-35-25),
          these requirements are satisfied when (a) the contract or other evidence provides a
          legal basis for the claim, (b) additional costs were caused by circumstances that
          were unforeseen at the contract date and not the result of deficiencies in the
          company's performance, (c) claim-related costs are identifiable and considered
          reasonable in view of the work performed, and (d) evidence supporting the claim is
          objective and verifiable. Similarly, the company recognizes disputed back charges
          to suppliers or subcontractors as a reduction of cost when the same requirements
          have been satisfied. The company periodically evaluates its positions and the
          amounts recognized with respect to all its claims and back charges. As of March
          31, 2017 and December 31, 2016, the company had recorded $66 million and $61
          million, respectively, of claim revenue for costs incurred to date and such costs are
          included in contract work in progress. Additional costs, which will increase the
          claim revenue balance over time, are expected to be incurred in future periods. The
          company had also recorded disputed back charges totaling $41 million as of both
          March 31, 2017 and December 31, 2016. The company believes the ultimate
          recovery of amounts related to these claims and back charges is probable in
          accordance with ASC 605-35-25.

          215.   The Individual Defendants continued to tout the Power and Government segments'

performance in the Q1 2017 Form 10-Q, attributing the Company's revenue growth to "increased



                                                 - 96 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 97 of 153 PageID 97



project execution activities for several power projects." In particular, the Q1 2017 Form 10-Q

stated:

          Consolidated revenue of $4.8 billion for the three months ended March 31, 2017
          increased compared to $4.4 billion for the three months ended March 31, 2016.
          Revenue growth in the Industrial, Infrastructure & Power; Government; and
          Diversified Services segments were partially offset by revenue declines in the
          Energy, Chemicals & Mining segment. The revenue growth resulted primarily from
          increased project execution activities for several power projects, as well as revenue
          contributions from the Stork acquisition.

                                        *       *            *

          Revenue for the three months ended March 31, 2017 increased by 44 percent
          compared to the three months ended March 31, 2016 primarily due to increased
          project execution activities for several power projects, including two nuclear
          projects for Westinghouse and two gas-fired power plants in the southeastern
          United States, as well as increased project execution activities for several life
          sciences and advanced manufacturing projects in the early stages of project
          execution.

          Segment profit for the three months ended March 31, 2017 decreased significantly
          compared to the corresponding period in 2016. The decrease in segment profit was
          driven by cost increases and forecast revisions of approximately $30 million,
          primarily for a gas-fired power plant in South Carolina.

                                        *       *            *

          Net earnings attributable to Fluor Corporation were $61 million and $104 million
          for the three months ended March 31, 2017 and 2016, respectively. The first quarter
          of 2017 reflects lower earnings contributions from the Energy, Chemicals &
          Mining segment…. The decrease in earnings was further driven by cost increases
          and forecast revisions on certain Industrial, Infrastructure & Power projects,
          primarily for a gas-fired power plant in South Carolina, as well as lower earnings
          contributions from the Diversified Services segment when compared to the prior
          period. These declines were partially offset by higher earnings contributions from
          the Government segment and lower corporate general and administrative
          expenses….

          216.   The Q1 2017 Form 10-Q also reported consolidated new awards of $2.3 billion,

with the Power segment being a major contributor. Unlike Fluor's previous filings, however, the




                                                    - 97 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 98 of 153 PageID 98



Q1 2017 Form 10-Q's discussion of backlog made no mention of the Power or Government

segments. Specifically, the Q1 2017 Form 10-Q stated:

          Consolidated new awards were $2.3 billion for the three months ended March 31,
          2017 compared to new awards of $4.7 billion for the three months ended March 31,
          2016. The Energy, Chemicals &Mining; Industrial, Infrastructure & Power; and
          Government segments were the major contributors to the new award activity in the
          first quarter of 2017 including the A10 Zuidasdok project in Amsterdam and two
          refinery projects in Texas.

                                       *       *            *

          Consolidated backlog as of March 31, 2017 was $41.6 billion compared to $46.0
          billion as of March 31, 2016. The decrease in backlog primarily resulted from an
          adjustment for a liquefied natural gas project in Canada that was suspended in the
          third quarter of 2016 and an adjustment made in the first quarter of 2017 to limit
          the contractual term of the Magnox RSRL Project to a five year term, as well as
          new award activity being outpaced by work performed in the Energy, Chemicals &
          Mining segment.

          217.   On August 3, 2017, Fluor filed the Q2 2017 Form 10-Q. The Q2 2017 Form 10-Q

reported revenue of $4.7 billion and a net loss of $6.6 million. In addition, the Q2 2017 Form 10-

Q reported that Fluor had recorded claim revenue of $75 million for the quarter. The Individual

Defendants claimed in the Q2 2017 Form 10-Q that Fluor recognizes claim revenue when it

determines "that recovery of incurred costs is probable." In particular, the Q2 2017 Form 10-Q

stated:

          The company has made claims arising from the performance under its contracts.
          The company recognizes revenue, but not profit, for certain claims (including
          change orders in dispute and unapproved change orders in regard to both scope and
          price) when it is determined that recovery of incurred costs is probable and the
          amounts can be reliably estimated. Under claims accounting (ASC 605-35-25),
          these requirements are satisfied when (a) the contract or other evidence provides a
          legal basis for the claim, (b) additional costs were caused by circumstances that
          were unforeseen at the contract date and not the result of deficiencies in the
          company's performance, (c) claim-related costs are identifiable and considered
          reasonable in view of the work performed, and (d) evidence supporting the claim is
          objective and verifiable. Similarly, the company recognizes disputed back charges
          to suppliers or subcontractors as a reduction of cost when the same requirements
          have been satisfied. The company periodically evaluates its positions and the



                                                   - 98 -
  Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 99 of 153 PageID 99



       amounts recognized with respect to all its claims and back charges. As of June 30,
       2017 and December 31, 2016, the company had recorded $75 million and $61
       million, respectively, of claim revenue for costs incurred to date and such costs
       are included in contract work in progress. Additional costs, which will increase
       the claim revenue balance over time, are expected to be incurred in future periods.
       The company had also recorded disputed back charges totaling $41 million as of
       both June 30, 2017 and December 31, 2016. The company believes the ultimate
       recovery of amounts related to these claims and back charges is probable in
       accordance with ASC 605-35-25.

       218.    The Q2 2017 Form 10-Q also noted revenue growth in the Power and Government

segments. Specifically, the Q2 2017 Form 10-Q stated:

       Consolidated revenue of $4.7 billion for the three months ended June 30, 2017
       decreased 3 percent compared to $4.9 billion for the three months ended June 30,
       2016. During the three month period, revenue declines in the Energy, Chemicals &
       Mining and Diversified Services segments were partially offset by revenue
       increases in the Government segment. Consolidated revenue of $9.6 billion for the
       six months ended June 30, 2017 increased 3 percent compared to $9.3 billion for
       the six months ended June 30, 2016. During the six month period, revenue growth
       in the Industrial, Infrastructure & Power and Government segments were partially
       offset by revenue declines in the Energy, Chemicals & Mining segment.

                                      *      *            *

       Revenue for the three and six months ended June 30, 2017 increased by 2 percent
       and 21 percent, respectively, compared to the three and six months ended June 30,
       2016. Revenue growth for both periods, which primarily resulted from increased
       project execution activities for several life sciences and advanced manufacturing
       projects and two nuclear projects for Westinghouse, was adversely affected by
       forecast revisions for three fixed-price, gas-fired power plant projects in the
       southeastern United States.

       Segment profit and segment profit margin for the three and six months ended June
       30, 2017 were adversely affected by charges totaling $194 million and $219
       million, respectively, resulting from forecast revisions for estimated cost growth at
       the three fixed-price, gas-fired power plant projects mentioned above.

       219.    The Q2 2017 Form 10-Q reported consolidated new awards of $3.2 billion and

backlog of $37.6 billion.

       220.    On the same day, the Company held an earnings conference call with analysts and

investors to discuss its financial results for the second quarter of 2017. During the call, defendant



                                                 - 99 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 100 of 153 PageID 100



Seaton assured stockholders that although Fluor had taken a $194 million charge related to three

of the Gas-Fired Plants, it was improving its internal controls in order to make future charges

"diminished and less frequent." Specifically, defendant Seaton stated:

       In addition to the changes in management of Power group, our strategic evaluation
       of the gas-fired power market, we're also implementing other changes to give us
       greater confidence that these types of earnings adjustments are diminished and
       less frequent.

                                     *      *       *

       We have significantly increased the independent review of critical projects. We
       are improving our estimating system. And we're also making significant
       investments in applying data analytics to projects so that we can identify
       challenges earlier, which would allow us to mitigate problems sooner. We believe
       all these actions will minimize downside risk and allow for greater upside
       opportunities.

                                     *      *       *

       We have -- we do review all these big projects on a routine basis. And we do have
       cold eyes or different lenses that look at them.

                                     *      *       *

       I would argue that the lion's share of our lump-sum backlog is performing extremely
       well. And that's about as far as I really want to go with that. But we're improving
       our tools and systems. We -- as I said, we've changed the review process to where
       there's more cold eyes review.

                                     *      *       *

       [W]e're looking at ourselves in terms of what we need to do. We just -- I don't think
       it's going to take long. I think that my expectation, and I've kind of coined this
       phrase, is flawless personal performance. And what that -- it doesn't mean I'm
       looking for perfection, but what it does mean I'm looking for is accountability and
       execution excellence. And we started that process when we found the problem in
       the CPChem, and we're continuing to do those reviews and make the changes
       necessary so that we don't have a repeat of what we've had here. And I'm -- I can
       tell you that -- I guess that we've dinged our credibility with you guys and we got
       to rebuild that.




                                              - 100 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 101 of 153 PageID 101



       221.    On November 2, 2017, Fluor filed with the SEC its Quarterly Report on Form 10-

Q for the third quarter ended September 30, 2017 (the "Q3 2017 Form 10-Q"). The Q3 2017 Form

10-Q reported revenue of $4.9 billion and net earnings of $112.8 million. In addition, the Q3 2017

Form 10-Q reported that as of September 30, 2017, Fluor had recorded claim revenue of $80

million. The Individual Defendants claimed in the Q3 2017 Form 10-Q that Fluor recognizes

claim revenue when it determines "that recovery of incurred costs is probable." Specifically, the

Q3 2017 Form 10-Q stated:

       The company has made claims arising from the performance under its contracts.
       The company recognizes revenue, but not profit, for certain claims (including
       change orders in dispute and unapproved change orders in regard to both scope and
       price) when it is determined that recovery of incurred costs is probable and the
       amounts can be reliably estimated. Under claims accounting (ASC 605-35-25),
       these requirements are satisfied when (a) the contract or other evidence provides a
       legal basis for the claim, (b) additional costs were caused by circumstances that
       were unforeseen at the contract date and not the result of deficiencies in the
       company's performance, (c) claim-related costs are identifiable and considered
       reasonable in view of the work performed, and (d) evidence supporting the claim is
       objective and verifiable. Similarly, the company recognizes disputed back charges
       to suppliers or subcontractors as a reduction of cost when the same requirements
       have been satisfied. The company periodically evaluates its positions and the
       amounts recognized with respect to all its claims and back charges. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of September 30, 2017 and December 31, 2016,
       the company had recorded $80 million and $61 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract work
       in progress. Additional costs, which will increase the claim revenue balance over
       time, are expected to be incurred in future periods. The company had also recorded
       disputed back charges totaling $43 million and $41 million as of September 30,
       2017 and December 31, 2016, respectively. The company believes the ultimate
       recovery of amounts related to these claims and back charges is probable in
       accordance with ASC 605-35-25.

       222.    In the Q3 2017 Form 10-Q, the Individual Defendants commented on revenue

growth in the Power segment and reported consolidated new awards of $3.8 billion and backlog

of $32.9 billion. In particular, the Q3 2017 Form 10-Q stated:




                                             - 101 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 102 of 153 PageID 102



       Consolidated revenue of $4.9 billion for the three months ended September 30,
       2017 increased 4 percent compared to $4.8 billion for the three months ended
       September 30, 2016. During the three month period, revenue increased in the
       Energy, Chemicals & Mining and Government segments, while revenue from the
       Industrial, Infrastructure & Power and Diversified Services segments was
       consistent with prior year levels. Consolidated revenue of $14.5 billion for the nine
       months ended September 30, 2017 increased 3 percent compared to $14.0 billion
       for the nine months ended September 30, 2016. During the nine month period,
       revenue growth in the Industrial, Infrastructure & Power; Government; and
       Diversified Services segments was partially offset by a revenue decline in the
       Energy, Chemicals & Mining segment.

                                     *      *       *

       Consolidated new awards were $3.8 billion and $9.3 billion for the three and nine
       months ended September 30, 2017, respectively, compared to new awards of $7.0
       billion and $18.1 billion for the three and nine months ended September 30, 2016.
       All business segments contributed to the new award activity in 2017.

                                     *      *       *

       Consolidated backlog as of September 30, 2017 was $32.9 billion compared to
       $44.3 billion as of September 30, 2016. The decrease in backlog primarily resulted
       from the removal of two nuclear power plant projects for Westinghouse Electric
       Company LLC ("Westinghouse") in South Carolina ("V.C. Summer") and in
       Georgia ("Plant Vogtle") and an adjustment made in the first quarter of 2017 to
       limit the contractual term of the Magnox nuclear decommissioning project in the
       United Kingdom ("Magnox RSRL Project") to a five year term, as well as new
       award activity being outpaced by work performed.

       223.   On February 20, 2018, Fluor filed the 2017 Form 10-K. The 2017 Form 10-K

reported revenue of $19.5 billion, net earnings of $191.4 million, and claim revenue of $124

million. In the 2017 Form 10-K, the Individual Defendants stated the Company recognizes claim

revenue for unapproved change orders "when it is probable that the cost will be recovered through

a change in the contract price." Specifically, the 2017 Form 10-K stated:

       The company has made claims arising from the performance under its contracts.
       The company recognizes revenue, but not profit, for certain claims (including
       change orders in dispute and unapproved change orders in regard to both scope and
       price) when it is determined that recovery of incurred cost is probable and the
       amounts can be reliably estimated. Under claims accounting (ASC 605-35-25),
       these requirements are satisfied when (a) the contract or other evidence provides a



                                              - 102 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 103 of 153 PageID 103



       legal basis for the claim, (b) additional costs were caused by circumstances that
       were unforeseen at the contract date and not the result of deficiencies in the
       company's performance, (c) claim-related costs are identifiable and considered
       reasonable in view of the work performed, and (d) evidence supporting the claim is
       objective and verifiable. Cost, but not profit, associated with unapproved change
       orders is accounted for in revenue when it is probable that the cost will be
       recovered through a change in the contract price. In circumstances where
       recovery is considered probable, but the revenue cannot be reliably estimated, cost
       attributable to change orders is deferred pending determination of the impact on
       contract price. If the requirements for recognizing revenue for claims or
       unapproved change orders are met, revenue is recorded only to the extent that costs
       associated with the claims or unapproved change orders have been incurred. Back
       charges to suppliers or subcontractors are recognized as a reduction of cost when it
       is determined that recovery of such cost is probable and the amounts can be reliably
       estimated. Disputed back charges are recognized when the same requirements
       described above for claims accounting have been satisfied. The company
       periodically evaluates its positions and amounts recognized with respect to all
       claims and back charges. As of December 31, 2017 and 2016, the company had
       recorded $124 million and $61 million, respectively, of claim revenue for costs
       incurred to date and such costs are included in contract work in progress.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $18 million and $41 million as of December 31, 2017 and
       2016, respectively. The company believes the ultimate recovery of amounts related
       to these claims and back charges is probable in accordance with ASC 605-35-25.

       224.   In the 2017 Form 10-K, the Individual Defendants touted revenue growth in the

Power and Government segments and reported consolidated new awards of $12.6 billion and

backlog of $30.9 billion. In particular, the 2017 Form 10-K stated:

       Consolidated revenue was $19.5 billion, $19.0 billion and $18.1 billion during
       2017, 2016 and 2015, respectively. During both 2017 and 2016, revenue growth in
       the Industrial, Infrastructure & Power, Government and Diversified Services
       segments was partially offset by revenue declines in the Energy, Chemicals &
       Mining segment.

                                     *       *      *

       Consolidated new awards in 2017 were $12.6 billion compared to $21.0 billion in
       2016 and $21.8 billion in 2015. All business segments contributed to the new award
       activity in 2017, including a mining project in Chile, a power restoration project in
       Puerto Rico, a contract extension for the LOGCAP IV program, a propylene oxide
       project in Texas and infrastructure projects in the United States and the
       Netherlands.



                                              - 103 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 104 of 153 PageID 104




                                    *       *       *

       Consolidated backlog was $30.9 billion as of December 31, 2017, $45.0 billion as
       of December 31, 2016, and $44.7 billion as of December 31, 2015. The decrease in
       backlog at the end of 2017 primarily resulted from the removal of two nuclear
       power plant projects for Westinghouse Electric Company LLC ("Westinghouse")
       and an adjustment to limit the contractual term of the Magnox nuclear
       decommissioning project in the United Kingdom (the "Magnox RSRL Project") to
       a five year term, as well as new award activity being outpaced by work performed.

       225.   On May 3, 2018, Fluor filed the Q1 2018 Form 10-Q. The Q1 2018 Form 10-Q

reported revenue of $4.8 billion and a net loss of $17.5 million. In addition, the Q1 2018 Form

10-Q reported that as of March 31, 2018, Fluor had recorded claim revenue of $134 million. The

Individual Defendants claimed in the Q1 2018 Form 10-Q that Fluor recognizes claim revenue

"when it is probable that a significant reversal in the amount of cumulative revenue recognized

will not occur." In particular, the Q1 2018 Form 10-Q stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue
       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of March 31, 2018 and December 31, 2017, the
       company had recorded $134 million and $124 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract assets.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $18 million as of both March 31, 2018 and December 31,



                                             - 104 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 105 of 153 PageID 105



       2017, respectively. The company believes the ultimate recovery of amounts related
       to these claims and back charges is probable in accordance with ASC 606.

       226.   In the Q1 2018 Form 10-Q, the Individual Defendants touted revenue growth in the

Government segment and reported consolidated new awards of $2.5 billion and backlog of $29.1

billion. Specifically, the Q1 2018 Form 10-Q stated:

       Consolidated revenue of $4.8 billion for the three months ended March 31, 2018
       remained flat compared to the three months ended March 31, 2017. Revenue
       growth in the Government and Diversified Services segments was offset by revenue
       declines in the Mining, Industrial, Infrastructure & Power and Energy & Chemicals
       segments.
                                     *        *       *

       For the three months ended March 31, 2018, the company recognized a net loss
       attributable to Fluor Corporation of $18 million compared to net earnings
       attributable to Fluor Corporation of $61 million for the three months ended March
       31, 2017. During the first quarter of 2018, losses in the Mining, Industrial,
       Infrastructure & Power and lower earnings contributions from the Diversified
       Services segments were partially offset by higher earnings contributions from the
       Government and Energy & Chemicals segments. Earnings in the first quarter of
       2018 and 2017 were adversely affected by after-tax charges totaling approximately
       $96 million and $22 million, respectively, resulting from forecast revisions for
       estimated cost growth on certain fixed-price projects.

                                    *       *      *

       Consolidated new awards were $2.5 billion for the three months ended March 31,
       2018 compared to new awards of $2.3 billion for the three months ended March 31,
       2017. The Mining, Industrial, Infrastructure & Power and Energy & Chemicals
       segments were the major contributors to the new award activity in the first quarter
       of 2018.

                                    *       *      *

       Consolidated backlog as of March 31, 2018 was $29.1 billion compared to $41.6
       billion as of March 31, 2017. The decrease in backlog primarily resulted from the
       removal of two nuclear power plant projects for Westinghouse Electric Company
       LLC ("Westinghouse") as well as new award activity being outpaced by work
       performed.

       227.   On August 2, 2018, Fluor filed with the SEC its Quarterly Report on Form 10-Q

for the second quarter ended June 30, 2018 (the "Q2 2018 Form 10-Q"). The Q2 2018 Form 10-



                                             - 105 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 106 of 153 PageID 106



Q reported revenue of $4.8 billion and net earnings of $114.8 million. In addition, the Q2 2018

Form 10-Q reported that as of June 30, 2018, Fluor had recorded claim revenue of $132 million.

The Individual Defendants claimed in the Q2 2018 Form 10-Q that Fluor recognizes claim revenue

"when it is probable that a significant reversal in the amount of cumulative revenue recognized

will not occur." In particular, the Q2 2018 Form 10-Q stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue
       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of June 30, 2018 and December 31, 2017, the
       company had recorded $132 million and $124 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract assets.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $18 million as of both June 30, 2018 and December 31, 2017,
       respectively. The company believes the ultimate recovery of amounts related to
       these claims and back charges is probable in accordance with ASC 606.

       228.   In the Q2 2018 Form 10-Q, the Individual Defendants commented on revenue

growth in the Power and Government segments, and reported consolidated new awards of $5.4

billion and $29.3 billion, adding that the Power segment was a "major contributor[] to the new

award activity." Specifically, the Q2 2018 Form 10-Q stated:

       Consolidated revenue of $4.9 billion for the three months ended June 30, 2018
       increased 4 percent compared to $4.7 billion for the three months ended June 30,



                                             - 106 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 107 of 153 PageID 107



       2017. Revenue growth in the Mining, Industrial, Infrastructure & Power,
       Government and Diversified Services segments was partially offset by revenue
       declines in the Energy & Chemicals segment. Consolidated revenue of $9.7 billion
       for the six months ended June 30, 2018 increased slightly compared to $9.6 billion
       for the six months ended June 30, 2017. Revenue growth in the Government and
       Diversified Services segments was offset by revenue declines in the Energy &
       Chemicals and Mining, Industrial, Infrastructure & Power segments.

                                    *       *       *

       Consolidated new awards were $5.4 billion and $7.9 billion for the three and six
       months ended June 30, 2018 compared to new awards of $3.2 billion and $5.5
       billion for the three and six months ended June 30, 2017. The Mining, Industrial,
       Infrastructure & Power and Energy & Chemicals segments were the major
       contributors to the new award activity in the first half of 2018.

                                    *       *       *

       Consolidated backlog as of June 30, 2018 was $29.3 billion compared to $37.6
       billion as of June 30, 2017. The decrease in backlog primarily resulted from the
       removal of a nuclear power plant project for Westinghouse Electric Company LLC
       ("Westinghouse") as well as new award activity being outpaced by work
       performed.

       229.   On November 1, 2018, Fluor filed with the SEC its Quarterly Report on Form 10-

Q for the third quarter ended September 30, 2018 (the "Q3 2018 Form 10-Q"). The Q3 2018 Form

10-Q reported revenue of $4.6 billion and net earnings of $77.3 million. In addition, the Q3 2018

Form 10-Q reported that as of September, 2018, Fluor had recorded claim revenue of $156 million.

The Individual Defendants claimed in the Q3 2018 Form 10-Q that Fluor recognizes claim revenue

"when it is probable that a significant reversal in the amount of cumulative revenue recognized

will not occur." In particular, the Q3 2018 Form 10-Q stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue



                                             - 107 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 108 of 153 PageID 108



       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of September 30, 2018 and December 31, 2017,
       the company had recorded $156 million and $124 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract assets.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $18 million as of both September 30, 2018 and December 31,
       2017, respectively. The company believes the ultimate recovery of amounts related
       to these claims and back charges is probable in accordance with ASC 606.

       230.   In the Q3 2018 Form 10-Q, the Individual Defendants commented on revenue

growth in the Power and Government segments, and reported consolidated new awards of $9.6

billion and backlog of $34.9 billion, with the Power and Government segments being "the major

contributors to the new award activity." Specifically, the Q3 2018 Form 10-Q stated:

       Consolidated revenue of $4.7 billion for the three months ended September 30,
       2018 decreased 6 percent compared to $4.9 billion for the three months ended
       September 30, 2017. Revenue declines in the Energy & Chemicals and Diversified
       Services segments were partially offset by revenue growth in the Mining, Industrial,
       Infrastructure & Power and Government segments.

                                    *       *       *

       Consolidated new awards were $9.6 billion and $17.6 billion for the three and nine
       months ended September 30, 2018, respectively, compared to new awards of $3.8
       billion and $9.3 billion for the three and nine months ended September 30, 2017.
       The Mining, Industrial, Infrastructure & Power and Government segments were the
       major contributors to the new award activity in the first nine months of 2018.

       231.   On February 21, 2019, Fluor filed the 2018 Form 10-K. The 2018 Form 10-K

reported revenue of $19.1 billion and net earnings of $224.8 million. In addition, the 2018 Form

10-K reported that, as of December 31, 2018, Fluor had recorded $166 million of claim revenue.




                                             - 108 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 109 of 153 PageID 109



The Individual Defendants claimed in the 2018 Form 10-K that Fluor recognizes claim revenue

"when it is probable that a significant reversal in the amount of cumulative revenue recognized

will not occur." In particular, the 2018 Form 10-K stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue
       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of December 31, 2018 and 2017, the company had
       recorded $166 million and $124 million, respectively, of claim revenue for costs
       incurred to date and such costs are included in contract work in progress.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $18 million as of December 31, 2018 and 2017. The company
       believes the ultimate recovery of amounts related to these claims and back charges
       is probable in accordance with ASC 606.

       232.    In the 2018 Form 10-K, the Individual Defendants commented on revenue growth

in the Government segment and reported consolidated new awards of $27.7 billion and backlog of

$40 billion, with the Power segment being a "significant driver[] of new award activity."

Specifically, the 2018 Form 10-K stated:

       Consolidated revenue was $19.2 billion, $19.5 billion and $19.0 billion during
       2018, 2017 and 2016, respectively. During 2018, a revenue decline in the Energy
       & Chemicals segment was partially offset by revenue growth in the Government
       segment. Revenue in the Mining, Industrial, Infrastructure & Power and Diversified
       Services segments remained flat compared to 2017.




                                             - 109 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 110 of 153 PageID 110



                                    *       *       *

       Consolidated new awards in 2018 were $27.7 billion compared to $12.6 billion in
       2017 and $21.0 billion in 2016. The Energy & Chemicals and Mining, Industrial,
       Infrastructure & Power segments were the significant drivers of new award activity
       during 2018….

                                    *       *       *

       Consolidated backlog was $40.0 billion as of December 31, 2018, $30.9 billion as
       of December 31, 2017, and $45.0 billion as of December 31, 2016. The increase in
       backlog in 2018 primarily resulted from the new award activity discussed above.

       233.   On May 2, 2019, Fluor filed with the SEC its Quarterly Report on Form 10-Q for

the first quarter ended March 31, 2019 (the "Q1 2019 Form 10-Q"). The Q1 2019 Form 10-Q

reported revenue of $4.1 billion and a net loss of $58.4 million. In addition, the Q1 2019 Form

10-Q reported that as of March 31, 2019, Fluor had recorded claim revenue of $175 million, thus

revealing that the Company's reported quarterly revenue included $9 million for its submission of

change orders. The Individual Defendants claimed in the Q1 2019 Form 10-Q that Fluor

recognizes claim revenue "when it is probable that a significant reversal in the amount of

cumulative revenue recognized will not occur." In particular, the Q1 2019 Form 10-Q stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue
       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all



                                             - 110 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 111 of 153 PageID 111



       its claims and back charges. As of March 31, 2019 and December 31, 2018, the
       company had recorded $175 million and $166 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract assets.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $18 million as of both March 31, 2019 and December 31,
       2018. The company believes the ultimate recovery of amounts related to these
       claims and back charges is probable in accordance with ASC 606.

       234.   On August 1, 2019, Fluor with the SEC filed its Quarterly Report on Form 10-Q

for the second quarter ended June 30, 2019 (the "Q2 2019 Form 10-Q"). The Q2 2019 Form 10-

Q reported revenue of $4 billion and a net loss of $554.8 million. In addition, the Q2 2019 Form

10-Q reported that as of June 30, 2019, Fluor had recorded claim revenue of $196 million, thus

revealing that the Company's reported quarterly revenue included $21 million for its submission

of change orders. The Individual Defendants claimed in the Q2 2019 Form 10-Q that Fluor

recognizes claim revenue "when it is probable that a significant reversal in the amount of

cumulative revenue recognized will not occur." In particular, the Q2 2019 Form 10-Q stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue
       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of June 30, 2019 and December 31, 2018, the
       company had recorded $196 million and $166 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract assets.
       Additional costs, which will increase the claim revenue balance over time, are



                                             - 111 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 112 of 153 PageID 112



       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $2 million and $18 million as June 30, 2019 and December
       31, 2018, respectively. The company believes the ultimate recovery of amounts
       related to these claims and back charges is probable in accordance with ASC 606.

       235.   On October 31, 2019, Fluor filed with the SEC its Quarterly Report on Form 10-Q

for the third quarter ended September 30, 2019 (the "Q3 2019 Form 10-Q"). The Q3 2019 Form

10-Q reported revenue of $3.9 billion and a net loss of $741.9 million. In addition, the Q3 2019

Form 10-Q reported that as of September 30, 2019, Fluor had recorded claim revenue of $205

million, thus revealing that the Company's reported quarterly revenue included $9 million for its

submission of change orders. The Individual Defendants claimed in the Q3 2019 Form 10-Q that

Fluor recognizes claim revenue "when it is probable that a significant reversal in the amount of

cumulative revenue recognized will not occur." In particular, the Q3 2019 Form 10-Q stated:

       The company has made claims arising from the performance under its
       contracts. The company recognizes revenue for certain claims (including change
       orders in dispute and unapproved change orders in regard to both scope and price)
       when it is probable that a significant reversal in the amount of cumulative
       revenue recognized will not occur. The company estimates the amount of revenue
       to be recognized on claims using the expected value (i.e., the sum of a probability-
       weighted amount) or the most likely amount method, whichever is expected to
       better predict the amount. Factors considered in determining whether revenue
       associated with claims should be recognized include the following: (a) the contract
       or other evidence provides a legal basis for the claim, (b) additional costs were
       caused by circumstances that were unforeseen at the contract date and not the result
       of deficiencies in the company's performance, (c) claim-related costs are
       identifiable and considered reasonable in view of the work performed, and
       (d) evidence supporting the claim is objective and verifiable. Similarly, the
       company recognizes disputed back charges to suppliers or subcontractors as a
       reduction of cost when the same requirements have been satisfied. The company
       periodically evaluates its positions and the amounts recognized with respect to all
       its claims and back charges. As of September 30, 2019 and December 31, 2018,
       the company had recorded $205 million and $166 million, respectively, of claim
       revenue for costs incurred to date and such costs are included in contract assets.
       Additional costs, which will increase the claim revenue balance over time, are
       expected to be incurred in future periods. The company had also recorded disputed
       back charges totaling $2 million and $18 million as September 30, 2019 and
       December 31, 2018, respectively. The company believes the ultimate recovery of




                                             - 112 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 113 of 153 PageID 113



       amounts related to these claims and back charges is probable in accordance with
       ASC 606.

       236.    The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing: (i) the Company's earnings were inflated

through improper revenue recognition; (ii) the Company's revenue included submissions of change

orders that clients were under no contractual obligation to pay; (iii) as a result, the Company had

no reasonable basis to conclude that it was "probable that a significant reversal in the amount of

cumulative revenue recognized will not occur"; and (iv) the Company's reported financial metrics

were inflated and generated by underbidding on fixed-price contracts that faced execution issues

and impacted the Company's profitability.

Improper Statements Concerning Fluor's Unresolved Change Orders, Claims, and Disputes

       237.    In each of the Company's Forms 10-K filed during the period of wrongdoing, the

Individual Defendants represented that Fluor evaluates "the impact of change orders, liability

claims, [and] contract disputes" when accounting for revenue.        The Individual Defendants,

however, concealed the significant unresolved matters, including open claims, unapproved change

orders, and unresolved disputes between the Company and its clients, subcontractors, and suppliers

that existed on at least sixteen of its fixed-price projects and represented over $700 million in

unrecorded contract charges. Specifically, while concealing unresolved matters and unrecorded

charges, the Forms 10-K stated in identical or substantially similar language:

       The percentage-of-completion method of revenue recognition requires the
       company to prepare estimates of cost to complete for contracts in progress. In
       making such estimates, judgments are required to evaluate contingencies such as
       potential variances in schedule and the cost of materials, labor cost and
       productivity, the impact of change orders, liability claims, contract disputes and
       achievement of contractual performance standards. Changes in total estimated
       contract cost and losses, if any, are recognized in the period they are determined.



                                              - 113 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 114 of 153 PageID 114




Improper Statements Concerning Fluor's Disclosure Controls and Procedures

        238.   The Individual Defendants confirmed that the Company's internal controls over

financial reporting were effective in each of its Forms 10-K filed during the period of wrongdoing.

In particular, these Forms 10-K stated:

        The company's internal control over financial reporting is a process designed, as
        defined in Rule 13a-15(f) under the Exchange Act, to provide reasonable assurance
        regarding the reliability of financial reporting and the preparation of consolidated
        financial statements for external purposes in accordance with generally accepted
        accounting principles in the United States.

        In connection with the preparation of the company's annual consolidated financial
        statements, management of the company has undertaken an assessment of the
        effectiveness of the company's internal control over financial reporting …
        Management's assessment included an evaluation of the design of the company's
        internal control over financial reporting and testing of the operational effectiveness
        of the company's internal control over financial reporting. Based on this
        assessment, management has concluded that the company's internal control over
        financial reporting was effective as of [the end of the period covered by this annual
        report].

        239.   In addition, each of the Company's Forms 10-K and 10-Q filed during the period of

wrongdoing stated that Fluor's CEO and CFO had conducted an evaluation of Fluor's internal

controls and disclosure procedures and determined that those controls and procedures were

effective.

        240.   These Forms 10-K and 10-Q contained the signed certifications of defendants

Hernandez, Steuert, Seaton, Stanski, and Porter pursuant SOX attesting that: (i) each report "fairly

present[ed] in all material respects the financial condition [and] results of operations"; (ii) each

report "d[id] not contain any untrue statement of a material fact or omit to state a material fact

necessary to make the statements made, in light of the circumstances under which such statements

were made, not misleading"; (iii) they had "[d]esigned such disclosure controls and procedures, or



                                               - 114 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 115 of 153 PageID 115



caused such disclosure controls and procedures to be designed under [their] supervision, to ensure

that material information relating to the [Company] … is made known to [them]"; (iv) they had

"[d]esigned such internal control over financial reporting, or caused such internal control over

financial reporting to be designed under [their] supervision, to provide reasonable assurance

regarding the reliability of financial reporting and the preparation of financial statements for

external purposes in accordance with generally accepted accounting principles"; (v) they had

"[e]valuated the effectiveness of the registrant's disclosure controls and procedures"; and (vi) they

had disclosed "[a]ll significant deficiencies and material weaknesses in the design or operation of

internal controls over financial reporting which are reasonably likely to adversely affect the

registrant's ability to record, process, summarize and report financial information[.]"18

       241.    In the Company's the Forms 10-K and 10-Q, the Individual Defendants represented

that in recognizing revenue, all currently estimated fixed-price contract costs had been recognized.

In particular, the Forms 10-K stated in identical or substantially similar language:

       The percentage-of-completion method of revenue recognition requires the
       company to prepare estimates of cost to complete for contracts in progress. In
       making such estimates, judgments are required to evaluate contingencies such as
       potential variances in schedule and the cost of materials, labor cost and
       productivity, the impact of change orders, liability claims, contract disputes and
       achievement of contractual performance standards. Changes in total estimated
       contract cost and losses, if any, are recognized in the period they are determined.

       242.    The above statements were improper when made because they failed to disclose

and misrepresented the following material, adverse facts, which the Individual Defendants knew,

consciously disregarded, or were reckless in not knowing: (i) as a result of the Individual

Defendants' failures, Fluor did not have adequate project governance processes and controls to



18
  Exhibit C details the defendants who made certifications pursuant to SOX in each of the
Company's Forms 10-K and Forms 10-Q filed during the period of wrongdoing.



                                               - 115 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 116 of 153 PageID 116



review projects and oversee execution; (ii) contrary to the Individual Defendants' asserting that

they conducted routine project reviews, a litany of unresolved issues remained imbedded in the

Company's fixed-price projects; (iii) the Individual Defendants' failure to maintain project

governance processes and controls sufficient to identify and capture all evidence of contract costs

on each of the Company's fixed-price contracts violated GAAP; (iv) the Company did not

immediately recognize losses for any contracts in a loss position in violation of GAAP; (v) Fluor's

recognition of revenue on unapproved change orders and open claims violated GAAP; (vi) as a

result of the foregoing, the Company's representations concerning the effectiveness of its internal

controls and certifications pursuant to SOX were improper.

 THE TRUTH SLOWLY EMERGES AS THE IMPROPER STATEMENTS CONTINUE

       243.    The truth about the Individual Defendants' wrongdoing slowly emerged through a

series of partial disclosures beginning when the Company was forced to reveal losses on the Gas-

Fired Plants and could no longer suppress the bidding and execution issues related to those plants.

As Fluor disclosed charges on these specific fixed-price projects, the Individual Defendants

assured stockholders the issues were isolated incidents and did not reflect any systematic problems

in Fluor's bidding, execution, and internal controls. These assurances could no longer hold up,

when, by the end of 2019, the Company had disclosed a total of $1.4 billion in charges and losses

on various fixed-price projects due to forecast revisions, cost overruns, and settlements. In

February 2020, the revelations culminated with the announcement of a pending SEC investigation.

       244.    The truth began to emerge on May 3, 2018, when Fluor filed the Q1 2018 Form 10-

Q and disclosed that the Power segment's profit had been "adversely affected by forecast revisions

of approximately $125 million" for the Citrus County Plant, resulting in a net loss of $18 million.

The Q1 2018 Form 10-Q also reported that Fluor was leaving the gas-fired power plant market.




                                              - 116 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 117 of 153 PageID 117



In addition, the Company's earnings press release issued in conjunction with the Q1 2018 Form

10-Q slashed the Company's full-year guidance from $3.10 to $3.50 per share to a range of between

$2.10 and $2.50 per share. During Fluor's earnings conference call held with analysts and investors

on the same day, defendant Seaton explained that "the majority of the $125 million charge[s]" was

"driven by extremely low ongoing productivity." In particular, defendant Seaton stated:

       Let's start off by discussing the challenges that we are experiencing on the same
       gas-fired power project we discussed last quarter and the steps we're taking to
       complete this project and in Fluor's participation in the specific end market. Craft
       productivity and estimating were materially different than the original baseline
       expectations we made in the initial charge on this project last year. While those
       factors were included in our initial charge, the majority of the $125 million charge
       taken this quarter is driven by extremely low ongoing productivity and the
       financial impact that this has relative to initial expected timing of when the 2 units
       would be available for power production based on the current outlook. As of last
       week, this project is 86% complete with an expected completion date in Q4 of this
       year.

       245.    Defendant Seaton then admitted that—contrary to his repeated claims that Fluor

was unlike its competitors—Fluor was also underbidding in order to win project awards, just like

other contractors were. Defendant Seaton also conceded that Fluor's bidding practices were

aggressive and unachievable rather than conservative. As a result of this improper and risk-laden

bidding, defendant Seaton acknowledged, "10 of the 12 [gas-fired projects the Company has had

since 2003] have underperformed our as-sold expectation, with 3 suffering losses." Specifically,

defendant Seaton stated:

       Last August, we made a number of changes to our power business. This included
       in -- bringing in new leadership, removing certain executives and closing our power
       operation office in Charlotte. I also stated that we were in the process of assessing
       the gas-fired market to determine if there are opportunities for risk-adjusted returns
       that are consistent with our expectations and long-term experience. I'd like to share
       with you the outcome of our review and the further actions that we are taking. I'm
       going to ask everyone to pay close attention.

       The U.S. power consumption growth rate is less than 1%. The power produces --
       producers do not really need additional capacity, other than satisfying regional



                                              - 117 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 118 of 153 PageID 118



       needs. We, the industry and the entire E&C community have led our clients to
       believe that a gas-fired power project costs approximately 650 kilowatts -- $650
       per kilowatt, although virtually no one has delivered one for that value. The
       customers start at that figure and negotiate downward, and there's always some
       contractor that is willing to say okay to lower number, using some excuse to
       justify the win, Fluor included.

       We have had 12 gas-fired power projects since 2003. 10 of the 12 have
       underperformed our as-sold expectation, with 3 suffering losses. Competition,
       both public and private had, had similar experiences, with no current projects
       performing as expected. Some industry leaders think these are cookie-cutter
       projects, but they are not. These projects have different machines, different site
       locations, different labor pools, all of which produce different outcomes. Craft labor
       in this case has been the major issue.

       246.    During the question and answer session, an analyst asked about Fluor's previous

charges and decision to leave the gas-fired power business. In response, defendant Seaton further

admitted that there were "fatal flaws in the bidding process of all of those projects, and there were

execution issues that weren't properly covered."

       247.    On this news, Fluor's market capitalization fell more than 22%, or $13.23 per share,

on May 4, 2018, to close at $45.76 per share, compared to the previous day's closing of $58.99 per

share, erasing $1.8 billion in market capitalization in a single day.

       248.    Then, on October 10, 2018, Fluor issued a press release announcing its preliminary

financial results for the third quarter of 2018. The press release revealed that these results included

an additional charge of "$35 million for forecast revisions on a gas-fired power project in Citrus

County, Florida." During the earnings conference call held with analysts and investors on the

same day, defendant Seaton conceded that the Citrus Count Plant required "twice the amount of

labor to complete the items as compared to our forecast." Defendant Seaton also admitted that the

Gas-Fired Plants were underbid, "by a bidding team that did not follow the rules." In particular,

defendant Seaton stated:




                                               - 118 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 119 of 153 PageID 119



       These projects, the Power project specifically, were bid at a time by a bidding team
       that did not follow the rules. Those people are no longer in our company. And so
       the review processes have been changed accordingly.

       249.    On this news, Fluor's market capitalization fell more than 17%, or $9.69 per share,

on October 11, 2018, to close at $46.53 per share, compared to the previous day's closing of $56.22

per share, erasing $1.3 billion in market capitalization in a single day.

       250.    On May 2, 2019, Fluor issued a press release and filed a Current Report on Form

8-K with the SEC announcing that defendant Seaton had stepped down from his position as CEO

and as a member of the Board effective immediately. To replace him, the Form 8-K stated that

the Board had appointed defendant Hernandez to serve as the Company's Interim CEO, and

defendant Boeckmann to serve as the Board's Executive Chairman, effective immediately. Fluor

provided no explanation for defendant Seaton's abrupt departure.

       251.    On the same day the Company announced defendant Seaton's unexpected

resignation, Fluor further surprised stockholders as it filed the Q1 2019 Form 10-Q and issued a

separate press release disclosing its financial results for the first quarter of 2019. The press release

slashed the Company's 2019 earnings guidance from a range of between $2.50 and $3 per diluted

share to a range of between only $1.50 and $2 per diluted share. In addition, the press release

revealed that Fluor had incurred charges totaling over $100 million on various fixed-price

projects. The Q1 2019 Form 10-Q elaborated on these charges. Specifically, it reported that Fluor

took an additional $26 million charge "resulting from forecast revisions for estimated cost growth

at certain fixed-price, gas-fired power plant projects[,]" and stated that the Company was in a $110

million dispute with Duke concerning the costs incurred on the Citrus County Plant. The Q1 2019

Form 10-Q also disclosed a $53 million charge in the Energy & Chemicals segment "resulting

from forecast revisions for estimated cost growth on an offshore project" and another $31 million




                                                - 119 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 120 of 153 PageID 120



charge in the same segment "resulting from the resolution of certain close-out matters with a

customer."

       252.    Also on May 2, 2019, Fluor held an earnings conference call with analysts and

investors, during which defendant Hernandez provided more detail on the charges. He explained

the Company made a $53 million adjustment on an offshore project following its "reestimate" and

determination that the project needed a redesign. Defendant Hernandez also revealed, in vague

terms, that the Company "recorded a $31 million charge in connection with the resolution of final

closeout matters with a customers." In addition, Fluor "experienced … $26 million in additional

costs related to the punch list items for [its] legacy gas-fired power business."

       253.    During the question and answer session of the call, defendant Boeckmann

effectively conceded the Individual Defendants failed to oversee and mitigate the risks posed by

fixed-price contracts while assuring stockholders that improvements were underway and that these

disappointing results would turn around. During the call, an analyst noted the unanticipated

charges and management changes and stated she was "wondering how long this has been in the

works."   Defendant Boeckmann responded in vague terms, stating, "[t]he Board has given

[defendant Hernandez] full authority … to drive, I would say, some dramatic improvement in risk

assessment, bidding processes and project execution."           Defendant Hernandez added that

management was "going to have our thumb on the pulse of every project," and would review "all

the projects that we have concerns about, which are not very many." He further stated that "project

execution improvement," including the estimation and "overseeing of those projects" "will be

management's primary focus so that we can deliver more consistent results."

       254.    Later during the call, defendant Stanski assured that results would improve during

the second half of the year. Similarly, defendant Boeckmann stated, "I'm quite impressed with a




                                               - 120 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 121 of 153 PageID 121



number of the improvements and implementation, both in strategies but also in the work processes

that make those strategies even more effective. So I'm optimistic. I think this company is going

to start performing, and it's going to start delivering solid results."

        255.    On this news, Fluor's market capitalization fell more than 24%, or $9.43 per share,

on May 2, 2019, to close at $29.72 per share, compared to the previous day's closing of $39.15 per

share, erasing $1.3 billion in market capitalization in a single day. The fallout would have been

worse without the Company's executives promising improvement that would never be delivered.

In fact, Fluor's unexpected charges and "adjustments" would only get worse.

        256.    On August 1, 2019, the Company filed the Q2 2019 Form 10-Q and issued an

earnings press release revealing that Fluor had recorded $714 million in pretax charges stemming

from various fixed-price projects. The press release explained "[t]hese charges were the result of

an operational and strategic review of Fluor's businesses, as well as project developments during

the quarter. This review included meetings with clients, subcontractors and suppliers, and

settlements of outstanding claims." These charges, the press release disclosed, included a $233

million charge in the Government segment on the Radford Plant "related to cost revisions for late

engineering changes, cost growth, and ongoing assessments of unapproved change orders." The

charges also included $286 million for a fixed-price offshore project, $109 million on three gas-

fired projects, $87 million for two fixed-price downstream projects, and $55 million resulting from

forecast revisions on several fixed-price infrastructure projects. Defendant Hernandez is quoted

in the press release noting "the magnitude of these results" and further explaining that "[t]hese

charges reflect our efforts over the past few months … to evaluate and address the status of our

current projects."




                                                - 121 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 122 of 153 PageID 122



       257.    On the same day, the Company held an earnings conference call with analysts and

investors to discuss its financial results. During his opening remarks, defendant Boeckmann

reported that in connection with his appointment as Executive Chairman and defendant

Hernandez's appointment as CEO, the Board "commissioned [them] to effect a complete review

of the business." He went on to state that, "for the last 3 months, we have been relentless in looking

into every aspect" of the Company's backlog, bidding and execution strategies, and leadership and

governance. Defendant Boeckmann announced that the Board reappointed defendant Steuert, who

served as the Company's CFO from 2001 to 2012, to the same position, and also appointed a

strategic advisor. Defendant Boeckmann went on to acknowledge that "the issues we are

discussing about today are serious," and that "[the] Board absolutely recognizes the gravity of

this announcement." He also effectively conceded that the Board had failed to fulfill its risk

oversight responsibilities, was not regularly monitoring compliance, and lacked the qualifications

and experience that Fluor required. In particular, defendant Boeckmann stated:

       Our Board absolutely recognizes the gravity of this announcement and has taken
       steps to improve our visibility into the contracting process, including the risks that
       we're assuming in new projects as well as how we are approaching and executing
       our existing risk projects.

       At yesterday's board meeting, the Board formed a risk committee, led by Jim
       Hackett. This committee's role is to assist the Board in fulfilling its risk oversight
       responsibilities. It will oversee and review with management the risk framework
       and regularly monitor compliance. We believe this committee will enhance the
       Board's exercise of its duties in keeping with our mandate of good corporate
       governance.

       And lastly, while we have a very strong board, the challenges and market conditions
       that Fluor is facing today require that we initiate a process to bring on individuals
       who have additional capital project and industry expertise. We will not be
       increasing the size of the Board, but expect to announce at least 2 new members by
       the end of September.




                                               - 122 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 123 of 153 PageID 123



       258.    Defendant Hernandez also commented on the Company-wide review during his

opening remarks while effectively admitting that, contrary to the Individual Defendant' repeated

assurances, Fluor did not have adequate project governance processes and controls. He revealed

that, "there are a few significant and common issues in many of [Fluor's] challenged projects." In

light of these systematic problems, defendant Hernandez stated it was "exceedingly clear" that the

Company "must take a more disciplined approach to risk management on [its] projects."

Specifically, defendant Hernandez stated:

       It has become apparent to me that there are a few significant and common issues
       in many of our challenged projects. In May, we immediately implemented a more
       rigorous framework to our pursuit process. We have already enacted changes in our
       bid/no bid process so that our future backlog will be comprised of high-quality
       projects with a contract structure and execution approach that will generate
       improved risk-adjusted margins.

                                     *      *       *

       With regard to our current backlog, one thing that has become exceedingly clear to
       me is that we must take a more disciplined approach to risk assessment on our
       projects. We have identified our challenges and outlined what needs to be done.
       Additionally, we're making changes to how we approach engineering and project
       management to ensure our projects are staying in sequence with work not
       commencing until the appropriate reviews are complete.

       259.    Although the Individual Defendants repeatedly assured that they conducted routine

project reviews at least every quarter, defendant Hernandez revealed there were several unresolved

matters that had been building up within Fluor's fixed-price projects.       He stated that "the

[C]ompany met with a number of our clients, subcontractors and suppliers" in order to resolve

"ongoing disputes, pending change orders, schedule extensions, close out items, unpaid

receivables, and our position on outstanding claims." Specifically, defendant Hernandez stated:

       During the second quarter, the company met with a number of our clients,
       subcontractors and suppliers, in an attempt to resolve a number of matters. These
       include ongoing disputes, pending change orders, schedule extensions, closeout
       items, unpaid receivables and our position on outstanding claims.



                                             - 123 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 124 of 153 PageID 124




       As a result of these discussions, client settlements and revised estimates to complete
       projects, the company evaluated its position on a number of projects, which resulted
       in a pretax charge of $714 million. These charges impact a broad range of projects,
       including certain projects that remain profitable.

       260.    On this news, Fluor's market capitalization fell by more than 26%, or $8.24 per

share, on August 2, 2019, to close at $22.67 per share, compared to the previous day's closing of

$30.91 per share, erasing $1.1 billion in market capitalization in a single day.

       261.    On September 24, 2019, the Company held its Strategic Review Webcast, during

which defendants Hernandez, Steuert, and Boeckmann discussed their strategic review of Fluor's

business and financial position.     During the webcast, defendant Hernandez announced the

Company was planning to sell its Government segment. He commented that the business "is not

strategically enabling to the rest of Fluor" and "[t]here is a favorable [mergers and acquisitions]

market with the opportunity to exit with low execution risk." Defendant Steuert then revealed the

decision to slash Fluor's quarterly dividend from $0.21 to $0.10 per share in order to "reset the

divided to a level that we currently feel is sustainable and appropriate with the level of earnings

post restructuring and post asset sales." Defendant Steuert also disclosed there would be further

charges on the Company's fixed-price projects, including the Radford Plant and the Warren

Project. However, he assured stockholders that he and defendants Hernandez and Boeckmann

were monitoring "everything in our backlog, and especially the fixed price lump sum projects"

"very, very carefully." Defendant Steuert further tempered stockholder concerns by stating,

"overall, we're very comfortable with the performance … of the rest of the backlog."

       262.    On the news of the dividend cut and additional charges, Fluor's market

capitalization fell by $244.8 million in a single day. The fallout would have been worse if

stockholders had known about the accounting errors, internal control issues, and SEC investigation




                                               - 124 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 125 of 153 PageID 125



that was already well underway. However, the Individual Defendants continued to suppress this

information.

       263.     The full truth about the Company's accounting and internal control issues finally

emerged on February 18, 2020, as Fluor issued a press release disclosing that the SEC had launched

an investigation into its "past accounting and financial reporting." In particular, the press release

revealed that the SEC "has requested documents and information related to the projects for which

the Company recorded charges in the second quarter of 2019." Additionally, Fluor announced that

it was conducting its own internal review of its previous financial reports and internal controls

while revealing that there may be material errors in its financial statements. The press release

further stated that, "[g]iven the ongoing internal review and recent developments on two projects,

the Company does not expect to complete and file its annual report on Form 10-K prior to the end

of February."

       264.     On the same day, the Company held an earnings conference call with analysts and

investors. During his opening remarks, defendant Boeckmann elaborated that the Company "is

looking at its prior revenue recognition charges and related control environment, focusing initially

on the Radford contract." He further explained that Fluor was investigating whether it had

recorded revenue and subsequent charges during the appropriate reporting period. Defendant

Boeckmann went on to state that "a special committee of the Board of Directors has been formed

and will complete a review with the assistance of external advisers." Defendant Hernandez also

announced on the call that the Company would no longer be selling the Government segment.

       265.     On this news, Fluor's market capitalization plunged more than 24%, or $4.75 per

share, on February 18, 2020, to close at $14.79 per share, compared to the previous trading day's

closing of $19.54 per share, erasing $655.8 million in market capitalization in a single day.




                                               - 125 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 126 of 153 PageID 126



       266.      On May 8, 2020, Fluor filed a Current Report on Form 8-K with the SEC disclosing

that it had received a subpoena from the DOJ. The Form 8-K stated that the DOJ subpoena "seek[s]

documents and information related to the second quarter 2019 charges; certain of the projects

associated with those charges; and certain project accounting, financial reporting and governance

matters."   The Individual Defendants further reported in the Form 8-K that both the SEC

investigation and internal review remain ongoing.

       267.      To date, the Company still has not filed its Annual Report for 2019.

                 REPURCHASES DURING THE PERIOD OF WRONGDOING

       268.      Throughout the period of wrongdoing, the Board approved repurchases of the

Company's common stock at artificially inflated prices that substantially damaged Fluor. In

particular, the Board approved the following stock repurchase plans:

            •    on November 3, 2011, for up to twelve million shares of common stock, with no

                 expiration date;

            •    on February 6, 2013, for an additional eight million shares of common stock;

            •    on February 6, 2014, for an additional six million shares of common stock;

            •    on November 18, 2014, for an additional ten million shares of common stock; and

            •    on February 4, 2016, for an additional ten million shares of common stock.

       269.      In total, the Company spent an aggregate amount of over $1.6 billion to repurchase

27.3 million shares of its own common stock at artificially inflated prices from November 2013 to

November 2018, at an average price of $61.29 per share, as detailed by the table below:


                Repurchase   Repurchased     Average Price          Approximate
                  Period       Shares         Per Share            Aggregate Cost
                  Nov-13      2,591,557         $77.17              $199,990,454
                  Jan-14       762,700          $79.60              $60,710,920
                  Feb-14       822,100          $77.65              $63,836,065
                  Mar-14       877,000          $77.16              $67,669,320


                                               - 126 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 127 of 153 PageID 127



               Apr-14        194,141           $76.70             $14,890,615
               May-14       1,183,020          $74.70             $88,371,594
               Jun-14        373,724           $75.76             $28,313,330
                Jul-14       110,135           $77.37              $8,521,145
               Aug-14        109,217           $73.40              $8,016,528
               Sep-14        999,151           $70.24             $70,180,366
               Oct-14        337,200           $66.05             $22,272,060
               Nov-14       2,982,361          $66.20             $197,432,298
               Dec-14       4,580,653          $60.16             $275,572,084
               Jan-15        714,841           $58.31             $41,682,379
               Feb-15        409,156           $56.17             $22,982,293
               Mar-15        816,000           $57.54             $46,952,640
               Apr-15        494,756           $58.75             $29,066,915
               May-15        488,097           $59.04             $28,817,247
               Jun-15        799,826           $55.86             $44,678,280
                Jul-15       570,013           $51.04             $29,093,464
               Aug-15        683,806           $46.26             $31,632,866
               Sep-15       1,912,036          $44.20             $84,511,991
               Oct-15        744,777           $44.01             $32,777,636
               Nov-15        773,500           $48.31             $37,367,785
               Dec-15       1,698,180          $47.04             $79,882,387
               Jan-16        202,650           $47.94              $9,715,041
               Nov-18       1,097,126          $45.57             $49,996,032
               TOTAL        27,327,723                           $1,674,933,734

       270.    Through the repurchases, the Director Defendants signaled to the market that they

believed Fluor's shares were undervalued and that the repurchases were the best use of the

Company's cash.     Because share repurchases lower the number of outstanding shares, the

repurchases also increased the Company's earnings per share, return on equity, return on assets,

and other metrics. Collectively, these actions artificially inflated Fluor's share price with each

repurchase, and increased the price for each subsequent repurchase.

       271.    When the truth about the Company's fixed-price project problems was fully

disclosed and after Fluor announced the SEC investigation, the Company's stock price fell to

approximately $14.79 per share. As a result, the 27.3 million shares the Company repurchased

between November 2013 and November 2018 were worth approximately $404.1 million, or




                                             - 127 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 128 of 153 PageID 128



approximately 25% of what the Company paid for them, an overpayment of approximately $1.2

billion.

             INSIDER SALES BY DEFENDANTS SEATON, STANSKI, PORTER,
                       SMALLEY, HERNANDEZ, AND CHOPRA

           272.   Rather than providing the market with correct information, the Insider Selling

Defendants used their knowledge of Fluor's material, nonpublic information to sell their personal

holdings while the Company's stock was artificially inflated. As officers and directors of Fluor,

defendants were privy to material, nonpublic information about the Company's true business

health.

           273.   While in possession of this knowledge, defendant Seaton sold 471,745 shares of his

personally held Fluor stock for proceeds of $30.9 million. Defendant Seaton's sales were timed to

maximize profit from Fluor's then artificially inflated stock price. In March 2018, for example,

defendant Seaton sold 50,000 shares at $56.72 per share. These sales are suspicious given that

they occurred just three months prior to May 3, 2018, when Fluor disclosed a $125 million charge

on the Citrus County Plant and defendant Seaton specifically admitted to "fatal flaws in the bidding

process," sending the Company's stock price down to $44.49 per share by May 7, 2018. Defendant

Seaton's additional sales also occurred while the Company's stock price traded at or near all-time

highs. Defendant Seaton's stock sales are further suspect given that they represented 57% of his

holdings as demonstrated by the table below:

                      Total Shares Before Sales                            94,716
                      Shares Sold During the Sales Period ("SP")          471,745
                      Shares Disposed (Other) During SP                   153,845
                      Total Shares Held During SP                         820,454
                      Shares Remaining SP                                 194,864
                      Total Proceeds from Sales                    $30,968,576.01
                      % of Total Ownership Sold During SP                 57.50%




                                                 - 128 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 129 of 153 PageID 129



       274.    While in possession of material, nonpublic information, defendant Stanski sold

63,488 shares of his personally held Fluor stock for proceeds of $4.2 million. Defendant Stanski's

sales were timed to maximize profit from Fluor's then artificially inflated stock price. Defendant

Stanski's stock sales are suspicious given that they represented 55% of his holding as demonstrated

by the table below:

                      Total Shares Before Sales                         11,992
                      Shares Sold During SP                             63,488
                      Shares Disposed (Other) During SP                 17,885
                      Total Shares Held During SP                      115,245
                      Shares Remaining SP                               33,872
                      Total Proceeds from Sales                  $4,249,001.40
                      % of Total Ownership Sold During SP              55.09%

       275.    While in possession of material, nonpublic information, defendant Porter sold

58,974 shares of his personally held Fluor stock for proceeds of $3.3 million. Defendant Porter's

sales were timed to maximize profit from Fluor's then artificially inflated stock price.

Suspiciously, these sales occurred when the Company's stock traded at or near all-time highs.

Defendant Porter's stock sales are suspicious given that they represented 41% of his holdings as

demonstrated by the table below:

                   Total Shares Before Sales                             10,799
                   Shares Sold During SP                                 58,974
                   Shares Disposed (Other) During SP                     26,634
                   Total Shares Held During SP                          143,736
                   Shares Remaining SP                                   58,128
                   Total Proceeds from Sales                      $3,382,461.07
                   % of Total Ownership Sold During SP                  41.03%

       276.    While in possession of material, nonpublic information, defendant Smalley sold

15,400 shares of his personally held Fluor stock for proceeds of $1 million. Defendant Smalley's

sales were timed to maximize profit from Fluor's then artificially inflated stock price.

Suspiciously, these sales occurred while Fluor's stock traded at or near all-time highs. Defendant




                                              - 129 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 130 of 153 PageID 130



Smalley's stock sales are further suspicious given that they represented 56% of his holding as

demonstrated by the table below:

                   Total Shares Before Sales                             18,589
                   Shares Sold During SP                                 15,400
                   Shares Disposed (Other) During SP                      2,005
                   Total Shares Held During SP                           27,099
                   Shares Remaining SP                                    9,694
                   Total Proceeds from Sales                      $1,064,925.45
                   % of Total Ownership Sold During SP                  56.83%

       277.    While in possession of material, nonpublic information, defendant Hernandez sold

44,054 shares of his personally held Fluor stock for proceeds of $2.8 million.           Defendant

Hernandez's sales were timed to maximize profit from Fluor's then artificially inflated stock price.

Suspiciously, these sales occurred while Fluor's stock traded at or near all-time highs. Several of

defendant Hernandez's sales occurred in late February 2018, when Fluor's stock continued to trade

at near all-time highs and shortly before the truth started to emerge. Defendant Hernandez's stock

sales are further suspicious given that they represented 25% of his holding as demonstrated by the

table below:

                   Total Shares Before Sales                             29,493
                   Shares Sold During SP                                 44,054
                   Shares Disposed (Other) During SP                     27,899
                   Total Shares Held During SP                          172,250
                   Shares Remaining SP                                  100,297
                   Total Proceeds from Sales                      $2,893,912.00
                   % of Total Ownership Sold During SP                  25.58%

       278.    While in possession of material, nonpublic information, defendant Chopra sold

11,242 shares of his personally held Fluor stock for proceeds of $640,506. Defendant Chopra's

sales were timed to maximize profit from Fluor's then artificially inflated stock price.

Suspiciously, these sales occurred while Fluor's stock traded at or near all-time highs. Several of

defendant Chopra's sales occurred in March 2018, when Fluor's stock continued to trade at near

all-time highs and shortly before the truth started to emerge. Defendant Chopra's stock sales are


                                              - 130 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 131 of 153 PageID 131



further suspicious given that they represented 33% of his holding as demonstrated by the table

below:

                    Total Shares Before Sales                               5,834
                    Shares Sold During SP                                  11,242
                    Shares Disposed (Other) During SP                       3,955
                    Total Shares Held During SP                            33,164
                    Shares Remaining SP                                    17,967
                    Total Proceeds from Sales                         $640,506.00
                    % of Total Ownership Sold During SP                   33.90%

         279.   In sum, the Insider Selling Defendants sold over $43 million worth of stock at

artificially inflated prices as detailed by the table below:

                               Transaction
    Insider Last Name                            Shares          Price              Proceeds
                                  Date
 CHOPRA                            3/14/2017         1,800            $53.85            $96,935.04
                                   2/23/2018         2,589            $57.48           $148,809.77
                                   2/23/2018         2,964            $57.49           $170,411.62
                                    3/9/2018         2,589            $57.71           $149,409.12
                                    3/9/2018         1,300            $57.65            $74,940.45
                                                    11,242     Total (Sales)           $640,506.00

 HERNANDEZ                         1/17/2014        13,797            $82.00         $1,131,354.00
                                   2/26/2018        30,257            $58.25         $1,762,558.00
                                                    44,054     Total (Sales)         $2,893,912.00

 PORTER                            11/3/2013        13,078            $76.83         $1,004,735.66
                                    5/3/2015         8,685            $58.70           $509,809.50
                                    2/5/2016        15,638            $44.84           $701,207.92
                                    3/6/2016         4,399            $49.17           $216,298.83
                                    2/6/2017        17,174            $55.34           $950,409.16
                                                    58,974     Total (Sales)         $3,382,461.07

 SEATON                            11/7/2013        9,195           $77.025            $708,244.88
                                   11/8/2013      132,131             $76.00        $10,041,956.00
                                   2/28/2014       29,732             $77.69         $2,309,879.08
                                   8/21/2014       92,384           $74.144          $6,849,719.30
                                   2/28/2015       27,889             $58.00         $1,617,562.00
                                    2/5/2016       58,282             $44.84         $2,613,364.88
                                    2/6/2017       72,132             $55.34         $3,991,784.88
                                    3/1/2018       50,000             $56.72         $2,836,065.00
                                                  471,745      Total (Sales)        $30,968,576.01

 SMALLEY                           11/5/2013         6,393        $75.6254             $483,473.18
                                   2/28/2014         2,099          $77.69             $163,071.31



                                                - 131 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 132 of 153 PageID 132



                                   5/6/2014        1,261       $74.2855                $93,674.02
                                  2/28/2015        1,764           $58.00             $102,312.00
                                  3/10/2015        3,883         $57.274              $222,394.94
                                                  15,400    Total (Sales)           $1,064,925.45

     STANSKI                      11/5/2013       35,247       $75.6908             $2,667,873.63
                                  2/28/2014        4,441           $77.69             $345,021.29
                                  2/28/2015        3,928           $58.00             $227,824.00
                                   2/5/2016        8,708           $44.84             $390,466.72
                                   2/6/2017       11,164           $55.34             $617,815.76
                                                  63,488    Total (Sales)           $4,249,001.40

                                                664,903     Total (Sales)          $43,199,381.92



   THE INDIVIDUAL DEFENDANTS FAIL TO HOLD AN ANNUAL MEETING OF
 STOCKHOLDERS IN VIOLATION OF FLUOR'S BYLAWS AND DELAWARE LAW

         280.   Article II, Section 2.01 of the Company's Amended and Restated Bylaws provides

that "the Board shall determine by resolution" the time, date, and place of "[a]nnual meetings of

the stockholders of the Corporation for the purpose of electing directors and for the transaction of

such other proper business." Further, under Section 211, Delaware corporations like Fluor are

required to hold an annual stockholders meeting within thirteen months of the previous meeting.19

         281.   The Company has not held an Annual Meeting of Stockholders since May 2, 2019,

thirteen months ago, and the Board has not filed a Proxy Statement or otherwise scheduled an

upcoming meeting of stockholders since then. Thus, Fluor is in violation of its Bylaws and

Delaware law, wrongfully denying the Company's stockholders their important rights to voice their

frustrations at annual meetings and withhold their votes for the directors that have breached their

fiduciary duties.




19
  Delaware law allows the Company to hold virtual stockholder meetings, negating any concerns
regarding the recent spread of COVID-19.



                                              - 132 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 133 of 153 PageID 133



       282.    The Company's Corporate Governance Guidelines state that the Board "is elected

by the shareholders" and that "[t]he Company's bylaws provide for majority voting in the election

of directors[.]" The Corporate Governance Guidelines also state that "[a]ll directors stand for

election annually." The Individual Defendants' failure to hold an annual meeting despite these

requirements is troubling given that stockholders have not had the opportunity to reelect, or even

elect, three current directors, effectively circumventing Fluor's mandates regarding stockholders'

annual election of directors. In particular, the Board appointed defendants Hernandez, Leppert,

and Constable to serve as directors after the 2019 Annual Meeting of Stockholders.20 Accordingly,

stockholders have been deprived of their authority to elect defendants Hernandez, Leppert, and

Constable to the Board.

                                     DAMAGES TO FLUOR

       283.    As a result of the Individual Defendants' improprieties, Fluor disseminated

improper, public statements concerning its bidding practices, project execution, financial results,

internal controls, and future prospects.     These improper statements have devastated Fluor's

credibility as reflected by the Company's stock price falling by 80% during the period of

wrongdoing, from its January 2014 high of $83.65 per share to its December 2019 low of $16.10

per share. Since then, investor confidence has only been further ruined, as Fluor still has not filed

its Annual Report for 2019. On March 18, 2020, the Company's stock price sunk to a low of just

$3.40 per share, representing an evaporation of 95%, or $13.1 billion in Fluor's market

capitalization since January 2014.




20
 Defendants Sultan, Swann, and Locklear all suspiciously resigned from the Board during the
month of August 2018.



                                               - 133 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 134 of 153 PageID 134



       284.    The Company's unlawful practices and the Individual Defendants' gross failures to

timely address, remedy, or even disclose such practice also damaged Fluor's reputation within the

business community and in the capital markets. In addition to price, Fluor's current and potential

clients consider a company's ability to accurately account for revenues, evaluate its own financial

results, and timely file its financial results. Businesses are less likely to award contracts to

companies that are uncertain about their own financial conditions and are unable to perform on

contracts. In addition, Fluor's ability to raise equity capital or debt on favorable terms in the future

is now impaired. The Company stands to incur higher marginal costs of capital and debt because

the improper statements and misleading projections disseminated by the Individual Defendants

have materially increased the perceived risks of investing in and lending money to the Company.

       285.    Further, as a direct and proximate result of the Individual Defendants' actions, Fluor

has expended, and will continue to expend, significant sums of money. Such expenditures include,

but are not limited to:

               (a)        costs incurred from the Company's internal investigations and review of its

accounting and insider sales;

               (b)        costs incurred from reviewing and potentially revising or restating the

Company's financial statements;

               (c)        costs incurred from defending and paying any settlement or adverse

judgment in the Securities Class Actions;

               (d)        costs incurred in complying with the investigations by the SEC and DOJ,

including any fines or penalties resulting therefrom;

               (e)        excessive sums paid to repurchase the Company's stock at inflated prices;




                                                - 134 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 135 of 153 PageID 135



               (f)        excessive compensation paid to the executives under Fluor's compensation

plan, including the VDI awards; and

               (g)        costs incurred from compensation and benefits paid to the defendants who

have breached their duties to Fluor.

                 DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       286.    Plaintiff brings this action derivatively in the right and for the benefit of Fluor to

redress injuries suffered, and to be suffered, by Fluor as a direct result of violation of securities

law, breaches of fiduciary duty, waste of corporate assets, unjust enrichment, and to compel an

Annual Meeting of Stockholders as well as the aiding and abetting thereof, by the Individual

Defendants. Fluor is named as a nominal defendant solely in a derivative capacity. This is not a

collusive action to confer jurisdiction on this Court that it would not otherwise have.

       287.    Plaintiff will adequately and fairly represent the interests of Fluor in enforcing and

prosecuting its rights.

       288.    Plaintiff was a stockholder of Fluor at the time of the wrongdoing complained of,

has continuously been a stockholder since that time, and is a current Fluor stockholder.

       289.    The current Board of Fluor consists of the following twelve individuals: defendants

Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera, McWhinney, Rose, Hackett,

Constable, and Leppert. Plaintiff has not made any demand on the present Board to institute this

action because such a demand would be a futile, wasteful, and useless act. Specifically, as set

forth below, a majority of the Board (i) faces a substantial likelihood of liability or (ii) otherwise

cannot impartially consider a demand.




                                               - 135 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 136 of 153 PageID 136



Demand Is Excused Because Defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery,
Bennett, Olivera, McWhinney, Rose, Hackett, Constable, and Leppert Face a Substantial
Likelihood of Liability for Their Misconduct
       290.    As alleged above, defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery,

Bennett, Olivera, McWhinney, Rose, Hackett, Constable, and Leppert breached their fiduciary

duties they owed to Fluor and its stockholders by failing to oversee the Company's risks and by

failing to remedy ongoing improper statements and accounting improprieties. As detailed above,

these fiduciaries adequately estimating project costs on an ongoing basis was critical to Fluor's

operational viability and compliance with relevant securities and accounting law and regulation.

Yet, the Board failed to implement a control system to enable its oversight of the Company's

current and prospective projects. The Board was also repeatedly warned about internal control

failures, bidding and execution problems, and accounting improprieties. Nonetheless, the Board

ignored these warnings and instead allowed the wrongdoing to continue for nearly seven years.

As a result, defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera,

McWhinney, Rose, Hackett, Constable, and Leppert face a substantial likelihood of liability for

acting in bad faith in breach of their fiduciary duty of loyalty by consciously failing to oversee

Fluor's major risks, ignoring red flags, and thereby allowing the Company to violate securities and

accounting law and regulation. As a result, demand upon them is futile.

       291.    As alleged above, defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery,

Bennett, Olivera, McWhinney, Rose, Hackett, and Constable breached their fiduciary duties of

loyalty by making improper statements in the Company's press releases, SEC filings, and during

earnings conference calls regarding Fluor's bidding and execution issues, financial results, and

internal controls. As indicated by the table below, defendants P. Fluor, Barker, Berkery, Bennett,

Olivera, McWhinney, Rose, and Hackett, each signed most, if not all, of the Company's Forms 10-

K from 2013 to 2018 and thus made the improper statements in those reports and detailed herein:


                                              - 136 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                          Page 137 of 153 PageID 137



                   The 2013          The 2014          The 2015      The 2016    The 2017     The 2018
 Defendant         Form 10-K         Form 10-K         Form 10-K     Form 10-K   Form 10-K   Form 10-K
     Barker            X                 X                 X             X           X           X
    Bennett            X                 X                 X             X           X           X
    Berkery            X                 X                 X             X           X           X
    P. Fluor           X                 X                 X             X           X           X
    Hackett            X                 X                 -             X           X           X
 McWhinney             -                 X                 X             X           X           X
     Olivera           X                 X                 X             X           X           X
       Rose            -                 X                 X             X           X           X
 *X indicates the subject defendant signed the form 10-K


Defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera, McWhinney,

Rose, Hackett, and Constable caused or allowed the improper statements detailed herein and

knowingly or recklessly misstated and/or omitted material, adverse facts concerning the

Company's bidding practices, project execution, financial performance and condition, as well as

the effectiveness of Fluor's internal controls and disclosure procedures. Accordingly, defendants

Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera, McWhinney, Rose, Hackett,

and Constable face a substantial likelihood of liability for their breaches of duty, making any

demand upon them futile.

         292.     Defendants Barker, Bennett, Olivera, McWhinney, Rose, Hackett, and Leppert, as

members of the Audit Committee, reviewed and approved Fluor's Annual Reports, Quarterly

Reports, and earnings press releases and guidance. The Audit Committee's Charter provides that

it is responsible for compliance with accounting, legal, and regulatory requirements. Thus, the

Audit Committee Defendants were responsible for knowingly or recklessly allowing the improper

statements related to the Company's earnings guidance and financial and disclosure controls.

Moreover, the Audit Committee Defendants reviewed and approved the improper press releases

made to the public.           Despite their knowledge or reckless disregard, the Audit Committee

Defendants caused these improper statements. Accordingly, the Audit Committee Defendants


                                                           - 137 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 138 of 153 PageID 138



breached their fiduciary duty of loyalty and good faith because they participated in the wrongdoing

described herein. Thus, defendants Barker, Bennett, Olivera, McWhinney, Rose, Hackett, and

Leppert face a substantial likelihood of liability for their breach of fiduciary duties so any demand

upon them is futile.

       293.    As explained above, defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery,

Bennett, Olivera, McWhinney, Rose, Hackett, and Constable authorized, permitted, or directed the

repurchase of $1.6 billion worth of the Company's stock at inflated prices while selling over $40

million worth of their personally held stock. Accordingly, defendants Hernandez, P. Fluor,

Boeckmann, Barker, Berkery, Bennett, Olivera, McWhinney, Rose, Hackett, and Constable face a

substantial likelihood of liability and cannot consider a demand.

       294.    Defendant Hernandez sold Fluor stock under highly suspicious circumstances.

Defendant Hernandez, as the current CEO and former Executive Vice President, Chief Legal

Officer and Secretary, possessed material, nonpublic company information and used that

information to benefit himself. Defendant Hernandez sold stock based on this knowledge of

material, nonpublic company information regarding the Company's bidding and execution issues,

inflated financial results, and internal control failures, and the impending decrease in the value of

his holdings of Fluor. Accordingly, defendant Hernandez faces a substantial likelihood of liability

for breach of his fiduciary duty of loyalty. Any demand upon defendant Hernandez is futile.

       295.    Any suit by the current directors of Fluor to remedy these wrongs would expose

defendants Hernandez, Steuert, Chopra, McSorley, Seaton, Stanski, Porter, and Smalley, and the

Company to liability for violations of the federal securities laws in the pending Securities Class

Actions, and would result in civil actions being filed against one or more of the other Individual

Defendants. The Securities Class Actions allege violations of sections 10(b) and 20(a) of the




                                               - 138 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                     Page 139 of 153 PageID 139



Exchange Act. If the Board elects for the Company to press forward with its right of action against

defendants Hernandez, Steuert, Chopra, McSorley, Seaton, Stanski, Porter, and Smalley in this

action, then Fluor's efforts would compromise its defense of the Securities Class Actions.

Accordingly, demand on the Board is excused.

       296.    Defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera,

McWhinney, Rose, Hackett, Constable, and Leppert have failed to hold the Annual Meeting of

Stockholders within the time period required under law in breach of their fiduciary duties.

Accordingly, demand upon them is futile.

Demand Is Excused on Defendant Hernandez Because He Lacks Independence

       297.    The principal professional occupation of defendant Hernandez is his employment

with Fluor, pursuant to which he has received and continues to receive substantial monetary

compensation and other benefits as alleged above. Accordingly, defendant Hernandez lacks

independence from defendants P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera,

McWhinney, Rose, Hackett, Constable, and Leppert due to his interest in maintaining his executive

position at Fluor. This lack of independence renders defendant Hernandez incapable of impartially

considering a demand to commence and vigorously prosecute this action. Fluor paid defendant

Hernandez the following compensation:

                                                     Non-Equity
                           Stock       Option      Incentive Plan      All Other
      Year     Salary     Awards      Awards       Compensation      Compensation      Total
      2018    $651,346   $2,942,476      -            $334,200         $124,827     $4,052,849
      2017    $630,032   $1,588,728   $643,788        $278,500         $117,117     $3,258,165
      2016    $630,032   $1,533,437      -            $380,300         $120,558     $2,664,327
      2015    $650,724   $1,474,183   $726,046        $562,300         $116,370     $3,529,623
      2014    $607,084   $1,340,212   $660,062        $613,500         $109,373     $3,336,578
      2013    $582,632   $1,000,099   $499,990        $559,800         $102,811     $2,745,332




                                                 - 139 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 140 of 153 PageID 140



Accordingly, defendant Hernandez is incapable of impartially considering a demand to commence

and vigorously prosecute this action because he has an interest in maintaining his principal

occupation and the substantial compensation he receives in connection with that occupation.

Demand is futile as to defendant Hernandez.

Demand Is Excused Against Defendants Boeckmann, Hackett, P. Fluor, and Leppert
Because They Cannot Act Impartially with Respect to Defendant Seaton

       298.    Defendants Boeckmann, Hackett, P. Fluor, and Leppert are each closely tied to

defendant Seaton, who is named as a defendant in the Securities Class Actions and is interested in

the outcome of this litigation. These ties, as detailed below, amount to conflicts that prevent

defendants Leppert, Hackett, Boeckmann, and P. Fluor from being able to independently consider

whether to commence litigation against defendant Seaton.

       299.    Defendant Boeckmann: Defendants Boeckmann and Seaton have known one

another since at least 1985, when defendant Seaton began serving various positions within the

Company. Defendant Boeckmann, who had been serving Fluor since 1974, began forming a close

relationship with defendant Seaton upon his arrival and their ties have strengthened over the years.

During the course of their thirty-five-year-old relationship and while he was serving as the

Company's Chairman and CEO, defendant Boeckmann was also a member of the National

Petroleum Council ("NPC"), from at least May 2002 to at least October 2011. Defendant

Boeckmann trusted defendant Seaton to succeed him as Fluor's CEO. As D CEO reported in its

May-June 2015 issue, defendant Seaton "credits [defendant] Boeckmann, who allowed him to

assume increasingly responsible management positions, for his ascension to the corner office." As

a result of these long-standing professional ties, as well as the mentorship role he played in

defendant Seaton's career, defendant Boeckmann is unable to independently consider whether to

initiate proceedings against defendant Seaton.



                                              - 140 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20               Page 141 of 153 PageID 141



          300.   Defendant Hackett:    Defendant Hackett lacks independence from defendant

Seaton for similar reasons. Defendants Hackett and Seaton have known one another for at least

twenty years and have developed strong professional ties with one another that continue to date

during that time. Defendant Hackett joined the Board in 2001, and concurrently served the

Company with defendant Seaton up until his abrupt resignation in May 2019.         In addition to

serving positions together at Fluor since 2001, defendants Hackett and Seaton also served

concurrent roles at the American Petroleum Institute ("API"). Formed in 1919, API is a standards-

setting organization that represents all segments of America's oil and natural gas industry.

Defendant Hackett served as an API Board member from at least December 2003 to at least August

2013. Defendant Seaton was also an API Board member, from at least November 2009 to at least

February 2012. In addition to Fluor and API, defendants Seaton and Hackett also concurrently

served as members of the NPC. The NPC is a federally chartered and privately funded advisory

committee established by the Secretary of the Interior in 1946 under the Truman Administration

and subsequently transferred to the Department of Energy in 1977. Defendant Hackett was a

member of the NPC from at least May 2002 to at least February 2020. Defendant Seaton was also

a member of the NPC from at least November 2011 to at least February 2020. Due to their

interwoven business relationship and prestigious advisory roles they share together, defendant

Hackett cannot act independently in considering whether to initiate proceedings against defendant

Seaton.

          301.   Defendant P. Fluor: As indicated by his last name, defendant P. Fluor is a

descendent of the Company's founder and has served on the Board for over thirty-five years.

During his tenure on the Board, defendant P. Fluor formed a close relationship with defendant

Seaton. When the Board appointed defendant Seaton to serve as the Company's CEO in 2011,




                                             - 141 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 142 of 153 PageID 142



defendant P. Fluor stated the Board was "especially pleased" to support defendant Seaton in his

new role, and added that "we have every confidence that he will lead the company to great places

in the future." In light of defendant P. Fluor's praise of defendant Seaton, as well as his confidence

in defendant Seaton to serve in the highest role of the Company founded by his ancestors,

defendant P. Fluor cannot impartially consider a demand with respect to defendant Seaton. In fact,

defendant P. Fluor's relationship with defendant Seaton has caused him to act nonindependently

before. In particular, defendant P. Fluor was the Chair of the Company's Organization and

Compensation Committee from at least 2012 to September 2020, when the Committee approved

and oversaw a nefarious executive compensation plan that directly benefited defendant Seaton for

obtaining "new awards."       Defendant P. Fluor permitted this compensation scheme despite

acknowledging that it was not tied to long-term value creation and even though it rewarded

defendant Seaton for underbidding on contracts at the Company's expense.

       302.    Defendant Leppert: Defendant Leppert unsuccessfully ran for the U.S. Senate in

2012 and previously served as the Mayor of Dallas from June 2007 to 2011. While defendant

Leppert was Mayor, Fluor was awarded a $416 million contract to construct a major transportation

project in the Dallas-Forth area. During the 2012 election cycle, the Fluor Corporation Political

Action Committee (the "Fluor PAC") made a $10,000 donation to defendant Leppert's Senate

campaign. According to the Company's Code, the Fluor PAC "was established by our employees

to make political contributions to organizations and campaigns that are viewed as being in the best

interests of Fluor." As revealed by OpenSecrets.org, the $10,000 contribution originated "from

members, employees, or owners of the organization, and those individuals' immediate family

members." In particular, defendants Seaton, Hernandez, Stanski, Smalley, Boeckmann, Steuert,




                                               - 142 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 143 of 153 PageID 143



P. Fluor, Barker, and Berkery, each made individual contributions to the Fluor PAC during the

2012 election cycle in the following amounts:

                           Individual Contributions ($200+) to the Fluor PAC
                          Made During the 2012 Election Cycle (2011 - 2012)
                        Donor                      Date                   Amount
               Alan L. Boeckmann                 3/4/2011                  $5,000
               Bruce A. Stanski                 3/31/2011                   $384
               Bruce A. Stanski                 2/28/2011                   $384
               Carlos M. Hernandez               3/4/2011                  $5,000
               David T. Seaton                   3/4/2011                  $5,000
               Gary G. Smalley                  2/28/2011                   $230
               Gary G. Smalley                  3/31/2011                   $230
               James T. Hackett                 5/10/2011                  $3,000
               D. Michael Steuert                3/4/2011                  $5,000
               Peter J. Fluor                   5/14/2012                  $5,000
               Peter J. Fluor                    5/4/2011                  $2,500
               Peter K. Barker                   6/1/2012                  $1,000
               Peter K. Barker                  5/10/2011                  $1,000
               Rosemary T. Berkery              7/11/2012                  $5,000
               Rosemary T. Berkery              5/10/2011                  $5,000

       303.    Each of these defendants, including defendant Seaton, therefore contributed to

defendant Leppert's Senate campaign through the Fluor PAC. In addition to the $10,000 donation

he received through the Fluor PAC, defendant Seaton made a separate $2,500 donation directly to

defendant Leppert's campaign on August 26, 2011. Defendant Boeckmann also made a separate

donation directly to his campaign in the same amount on March 21, 2011. These significant

donations confirm that defendant Leppert has close personal relationships with defendants Seaton

and Boeckmann. As a result, defendant Leppert is unable to impartially consider a demand and

therefore demand on him is excused.

       304.    Plaintiff has not made any demand on the other stockholders of Fluor to institute

this action since such demand would be a futile and useless act for at least the following reasons:

               (a)     Fluor is a publicly held company with over 140 million shares outstanding

and thousands of stockholders as of October 25, 2019;


                                               - 143 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 144 of 153 PageID 144



                 (b)    making demand on such a number of stockholders would be impossible for

plaintiff who has no way of finding out the names, addresses, or phone numbers of stockholders;

and

                 (c)    making demand on all stockholders would force plaintiff to incur excessive

expenses, assuming all stockholders could be individually identified.

                                            COUNT I

   Against the Individual Defendants for Violation of Section 10(b) of the Exchange Act

          305.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          306.   During the period of wrongdoing, the Individual Defendants disseminated or

approved false or misleading statements about Fluor, which they knew or recklessly disregarded

were false or misleading and were intended to deceive, manipulate, or defraud. Those false or

misleading statements and the Individual Defendants' course of conduct artificially inflated the

price of the Company's common stock.

          307.   At the same time that the price of the Company's common stock was inflated due

to the false or misleading statements made by the Individual Defendants, they caused the Company

to repurchase shares of its own common stock at prices that were artificially inflated due to their

false or misleading statements. The Individual Defendants engaged in a scheme to defraud Fluor

by causing the Company to purchase over $1.6 billion in shares of its stock at artificially inflated

prices.

          308.   The Individual Defendants violated section 10(b) of the Exchange Act and SEC

Rule 10b-5 in that they: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

statements of material facts or omitted to state material facts necessary in order to make the




                                              - 144 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                 Page 145 of 153 PageID 145



statements made, in light of the circumstances under which they were made, not misleading; and/or

(iii) engaged in acts, practices, and a course of business that operated as a fraud or deceit upon

Fluor in connection with the Company's purchases of its stock during the period of wrongdoing.

       309.    The Individual Defendants, individually and collectively, directly and indirectly,

by the use of means or instrumentalities of interstate commerce or of the mail: (i) engaged and

participated in a continuous course of conduct that operated as a fraud and deceit upon the

Company; (ii) made various false or misleading statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; (iii) made the above statements intentionally or with a

severely reckless disregard for the truth; and (iv) employed devices and artifices to defraud in

connection with the purchase and sale of Fluor stock, which were intended to, and did: (a) deceive

Fluor and its stockholders regarding, among other things, the Company's operations and financial

prospects; (b) artificially inflate and maintain the market price of Fluor stock; and (c) cause Fluor

to purchase its stock at artificially inflated prices and suffer losses when the true facts became

known. Throughout the period of wrongdoing, the Individual Defendants were in possession of

material, nonpublic information regarding the above.

       310.    The Individual Defendants were among the senior management and the directors

of the Company, and were therefore directly responsible for, and are liable for, all materially false

or misleading statements made during the period of wrongdoing, as alleged above.

       311.    As described above, the Individual Defendants acted with scienter throughout the

period of wrongdoing, in that they acted either with intent to deceive, manipulate, or defraud, or

with severe recklessness. The misstatements and omissions of material facts set forth in this

Complaint were either known to the Individual Defendants or were so obvious that they should




                                               - 145 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 146 of 153 PageID 146



have been aware of them. Throughout the period of wrongdoing, the Individual Defendants also

had a duty to disclose new information that came to their attention and rendered their prior

statements to the market materially false or misleading.

       312.    The Individual Defendants' false or misleading statements and omissions were

made in connection with the purchase of the Company's stock by the Company itself.

       313.    As a result of the Individual Defendants' misconduct, Fluor has and will suffer

damages in that it paid artificially inflated prices for its own common stock and suffered losses

when the previously undisclosed facts relating to the wrongdoing was disclosed.

       314.    Fluor would not have purchased these securities at the prices it paid, or at all, but

for the artificial inflation in the Company's stock price caused by the Individual Defendants' false

or misleading statements.

       315.    By reason of the Individual Defendants' wrongful conduct, they are liable to the

Company pursuant to section 10(b) of the Exchange Act and SEC Rule 10b-5.

       316.    Plaintiff brings this claim within two years of his discovery of the facts constituting

the violation and within five years of the violation.

                                             COUNT II

               Against the Individual Defendants for Breach of Fiduciary Duty

       317.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       318.    The Individual Defendants owed and owe Fluor fiduciary obligations. By reason

of their fiduciary relationships, the Individual Defendants owed and owe Fluor the highest

obligation of good faith, fair dealing, loyalty, and due care.




                                               - 146 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                  Page 147 of 153 PageID 147



       319.    The Individual Defendants and each of them, violated and breached their fiduciary

duties of candor, good faith, and loyalty. More specifically, the Individual Defendants violated

their duty of good faith by creating a culture of lawlessness within Fluor, and/or consciously failing

to prevent the Company from engaging in the unlawful acts complained of herein.

       320.    The Officer Defendants either knew, were reckless, or were grossly negligent in

disregarding the illegal activity of such substantial magnitude and duration.           The Officer

Defendants either knew, were reckless, or were grossly negligent in not knowing: (i) the Company

was aggressively bidding on fixed-price contracts and underestimating project costs; (ii) Fluor was

facing execution issues on those projects; (iii) the Company was overstating its revenues; (iv) Fluor

lacked adequate internal controls over accounting and financial reporting; and (v) as a result of the

foregoing, the Company's representations concerning its financial results, business prospects, and

internal controls were improper. The Officer Defendants further breached their duties by failing

to ensure the timely filing of Fluor's financial statements. Accordingly, the Officer Defendants

breached their duty of care and loyalty to the Company.

       321.    The Director Defendants, as directors of the Company, owed Fluor the highest duty

of loyalty. These defendants breached their duty of loyalty by recklessly permitting the improper

activity detailed herein. The Director Defendants knew or were reckless in not knowing that: (i)

(i) the Company was aggressively bidding on fixed-price contracts and underestimating project

costs; (ii) Fluor was facing execution issues on those projects; (iii) the Company was overstating

its revenues; (iv) Fluor lacked adequate internal controls over accounting and financial reporting;

and (v) as a result of the foregoing, the Company's representations concerning its financial results,

business prospects, and internal controls were improper.         The Director Defendants further




                                               - 147 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 148 of 153 PageID 148



breached their fiduciary duties by failing to ensure the timely filing of Fluor's financial statements.

Accordingly, these defendants breached their duty of loyalty to the Company.

       322.    The Audit Committee Defendants breached their fiduciary duty of loyalty by

approving the statements described herein which were made during their tenure on the Audit

Committee, which they knew or were reckless in not knowing contained improper statements and

omissions. The Audit Committee Defendants completely and utterly failed in their duty of

oversight, and failed in their duty to appropriately review financial results, as required by the Audit

Committee Charter in effect at the time.

       323.    The Insider Selling Defendants breached their duty of loyalty by selling Fluor stock

on the basis of the knowledge of the improper information described above before that information

was revealed to the Company's stockholders. The information described above was material,

nonpublic information concerning the Company's future business prospects. It was a proprietary

asset belonging to the Company, which the Insider Selling Defendants used for their own benefit

when they sold Fluor common stock.

       324.    As a direct and proximate result of the Individual Defendants' breaches of their

fiduciary obligations, Fluor has sustained significant damages, as alleged herein. As a result of

the misconduct alleged herein, these defendants are liable to the Company.

       325.    Plaintiff, on behalf of Fluor, has no adequate remedy at law.

                                            COUNT III

              Against the Individual Defendants for Waste of Corporate Assets

       326.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.




                                               - 148 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 149 of 153 PageID 149



       327.    As a result of the wrongdoing detailed herein, the Individual Defendants have

wasted corporate assets by forcing the Company to expend valuable resources in defending itself

in the Securities Class Actions that they brought on with their improper statements. In addition,

due to the Individual Defendants' mismanagement, the Company has been forced to interrupt its

business and dedicate its resources and attention to revisiting and potentially restating its financial

statements. Finally, as a result of the decision to allow the Company to operate in an environment

devoid of adequate internal and financial controls, the Individual Defendants have caused Fluor to

waste its assets by paying improper compensation and bonuses to certain of its executive officers

and directors that breached their fiduciary duty.

       328.    As a result of the waste of corporate assets, the Individual Defendants are liable to

the Company.

       329.    Plaintiff, on behalf of Fluor, has no adequate remedy at law.

                                            COUNT IV

                  Against the Individual Defendants for Unjust Enrichment

       330.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       331.    By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of Fluor. The Individual Defendants were unjustly

enriched as a result of the compensation and director remuneration they received while breaching

fiduciary duties owed to Fluor.

       332.    The Insider Selling Defendants sold Fluor stock while in possession of material,

nonpublic information that artificially inflated the price of Fluor stock. As a result, the Insider




                                               - 149 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                    Page 150 of 153 PageID 150



Selling Defendants profited from their misconduct and were unjustly enriched through their

exploitation of material and adverse inside information.

        333.       Plaintiff, as a stockholder and representative of Fluor, seeks restitution from these

defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits, and

other compensation obtained by these defendants, and each of them, from their wrongful conduct

and fiduciary breaches.

        334.       Plaintiff, on behalf of Fluor, has no adequate remedy at law.

                                               COUNT V

                Against Defendants Hernandez, P. Fluor, Boeckmann, Barker,
               Berkery, Bennett, Olivera, McWhinney, Rose, Hackett, Constable,
                  and Leppert to Compel an Annual Meeting of Stockholders

        335.       Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

        336.       The Company's last Annual Meeting of Stockholders was held on May 2, 2019.

        337.       Pursuant to Section 211, Fluor is required to hold an Annual Meeting of

Stockholders at least once every thirteen months. Further, the Company's Bylaws and Corporate

Governance Guidelines mandate that stockholders reelect directors during the Annual Meeting of

Stockholders.

        338.       As a result of the Individual Defendants' wrongdoing and failures, defendants

Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett, Olivera, McWhinney, Rose,

Constable, and Leppert have caused Fluor to fail to hold an Annual Meeting of Stockholders to

elect directors.

        339.       To remedy defendants Hernandez, P. Fluor, Boeckmann, Barker, Berkery, Bennett,

Olivera, McWhinney, Rose, Constable, and Leppert's decision to cause Fluor's foregoing violation




                                                  - 150 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                Page 151 of 153 PageID 151



of Delaware law and the Company's Bylaws, the Court should order the Board to promptly

schedule, provide notice of, and hold an Annual Meeting of Stockholders.

                                    PRAYER FOR RELIEF

         WHEREFORE, plaintiff, on behalf of Fluor, demands judgment as follows:

         A.    Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants' violation of securities law,

breaches of fiduciary duties, waste of corporate assets, unjust enrichment, and to compel an Annual

Meeting of Stockholders;

         B.    Directing Fluor to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect Fluor and its

stockholders from a repeat of the damaging events described herein, including, but not limited to,

putting forward for stockholder vote, resolutions for amendments to the Company's Bylaws or

Articles of Incorporation and taking such other action as may be necessary to place before

stockholders for a vote of the following corporate governance policies:

               1.     a proposal to strengthen the Board's oversight over Fluor's bidding

practices and cost estimates;

               2.     a proposal to strengthen the Company's controls over financial reporting

and disclosure procedures;

               3.     a proposal to strengthen the Board's supervision of operations and develop

and implement procedures for greater stockholder input into the policies and guidelines of the

Board;

               4.     a proposal to strengthen the Company's determination and approval of

executive compensation;




                                              - 151 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20                   Page 152 of 153 PageID 152



               5.      a provision to control insider selling; and

               6.      a provision to permit the stockholders of Fluor to nominate at least three

candidates for election to the Board;

       C.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

state statutory provisions sued hereunder, including attaching, impounding, imposing a

constructive trust on, or otherwise restricting the proceeds of defendants' trading activities or their

other assets so as to assure that plaintiff on behalf of Fluor has an effective remedy;

       D.      Awarding to Fluor restitution from defendants, and each of them, and ordering

disgorgement of all profits, benefits, and other compensation obtained by the defendants, including

all ill-gotten gains from insider selling by defendants;

       E.      Awarding to plaintiff the costs and disbursements of the action, including

reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

       F.      Granting such other and further relief as the Court deems just and proper.

                                          JURY DEMAND

       Plaintiff demands a trial by jury.

Dated: June 05, 2020                                 BALON B. BRADLEY LAW FIRM

                                                                  /s/Balon B. Bradley
                                                                 BALON B. BRADLEY
                                                     State Bar No. 02821700
                                                     11910 Greenville Avenue, Suite 220
                                                     Dallas, TX 75234
                                                     Telephone: (972) 992-1582
                                                     Facsimile: (972) 755-0424
                                                     E-mail: balon@bbradleylaw.com

                                                     ROBBINS LLP
                                                     BRIAN J. ROBBINS
                                                     CRAIG W. SMITH
                                                     SHANE P. SANDERS
                                                     JONATHAN D. BOBAK
                                                     5040 Shoreham Place
                                                     San Diego, CA 92122


                                                - 152 -
 Case 3:20-cv-01442-S Document 1 Filed 06/05/20     Page 153 of 153 PageID 153


                                       Telephone: (619) 525-3990
                                       Facsimile: (619) 525-3991
                                       E-mail: brobbins@robbinsllp.com
                                               csmith@robbinsllp.com
                                               ssanders@robbinsllp.com
                                               jbobak@robbinsllp.com

                                       Attorneys for Plaintiff
1438065




                                   - 153 -
